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                  EXHIBIT 6

    FILED UNDER SEAL
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1                     UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3                         SAN FRANCISCO DIVISION
4
      WAYMO LLC,
5
                         Plaintiff,
6                                                    Case
      vs.                                            No. 3:17-cv-00939-WHA
7
      UBER TECHNOLOGIES, INC.;
8     OTTOMOTTO LLC; OTTO TRUCKING LLC,
 9                       Defendants,
                                                      
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12
13
14
15           HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
16               VIDEOTAPED DEPOSITION OF JAMES HASLIM
17                          THURSDAY, MAY 4, 2017
18
19
20
21
22    Reported by:
23    Anrae Wimberley
24    CSR No. 7778
25    Job No. 2610396

                                                                 Page 1

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1                     UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3                         SAN FRANCISCO DIVISION
4
5     WAYMO LLC,
6                        Plaintiff,
                                                     Case
7     vs.                                            No. 3:17-cv-00939-WHA
8     UBER TECHNOLOGIES, INC.;
      OTTOMOTTO LLC; OTTO TRUCKING LLC,
 9
                         Defendants.
10                                                    
11
12
13           HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
14
15                  Transcript of video-recorded deposition of
16    JAMES HASLIM, taken at Quinn Emanuel Urquhart &
17    Sullivan LLP, 50 California Street, 22nd Floor, San
18    Francisco, California 94111, beginning at 10:16 a.m.
19    and ending at 7:11 p.m. on Thursday, May 4, 2017,
20    before Anrae Wimberley, Certified Shorthand Reporter
21    No. 7778.
22
23
24
25

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9                    Litigation, San Francisco for Uber
10                   Technologies.
11
12                                           - -oOo- -
13
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5     MR. KIM                                                             177
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8                              E X H I B I T S
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11    PLAINTIFF'S:
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13                       1 page
14
15    Exhibit 151        Declaration of James Haslim;                     47
16                       14 pages
17
18    Exhibit 152        Supplemental Declaration of James                61
19                       Haslim; 15 pages
20
21    Exhibit 153        Defendants' list of servers,                     105
22                       officers, directors and employees;
23                       6 pages
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2     EXHIBIT            DESCRIPTION                                  PAGE
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4                        4 pages
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6     Exhibit 155        Document entitled, "Exhibit B";                  113
7                        3pages
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 9    Exhibit 156        Fuji Data from Haslim Declaration                122
10                       Exhibit B; 1 page
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12    Exhibit 157        Document entitled, "Exhibit H";                  138
13                       19 pages
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15    Exhibit 158        E-mail chain of April 2017;                      148
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18    Exhibit 159        E-mail chain of June 2016;                       151
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21    Exhibit 160        E-mail chain of June 2016;                       157
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1                        E X H I B I T S (Cont'd)
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4     Exhibit 1060       Chart from Haslim Declaration                    177
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7     Exhibit 1061       Exhibit I to Mr. Boehmke's                       206
8                        Declaration; 12 pages
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1        THURSDAY, MAY 4, 2017; SAN FRANCISCO, CALIFORNIA;

2                             10:16 A.M.

3                                 - - -

4               THE VIDEOGRAPHER: Good morning.

5     We are on the record at 10:16 a.m. on May 4th,

6     2017.

7               This is the videotaped deposition of

8     Mr. James Haslim.                                            10:16:44

 9             My name is Ramon Perasa, here with our court        10:16:48

10    reporter, Anrae Wimberley.      We are here from Veritext    10:16:51

11    Legal Solutions at the request of counsel for the            10:16:54

12    plaintiff.                                                   10:16:54

13    This deposition is being held at Quinn Emanuel in            10:16:57

14    San Francisco.                                               10:16:58

15              The caption of this case is Waymo LLC versus       10:17:03

16    Uber Technologies.    Case No. 3-17-cv-00939-WHA.            10:17:12

17    Please note that audio and video recording will              10:17:15

18    take place unless all parties have agreed to go              10:17:18

19    off the record.   Microphones are sensitive and may          10:17:19

20    pick up whispers or private conversations.

21             At this time, counsel, please identify              10:17:26

22    yourselves for the record and state whom you                 10:17:28

23    represent.                                                   10:17:29

24        MR. JAFFE:    Jordan Jaffe of Quinn Emanuel on           10:17:29

25    behalf of the plaintiff, Waymo.                              10:17:29

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1         MR. McCAULEY: John McCauley of Quinn Emanuel also 10:17:29

2     on behalf of Waymo.                                           10:17:36

3         MR. KIM: Rudy Kim of Morrison Foerster on behalf          10:17:39

4     of Uber Technologies and Auto Moto LLC.                       10:17:42

5         MR. BERGSTROM: Aaron Bergstrom with Uber.                 10:17:44

6                THE VIDEOGRAPHER: The court reporter may now 10:17:46

7     swear in the witness.                                         10:17:47

8                             JAMES HASLIM,

 9                sworn as a witness by the Certified

10             Shorthand Reporter, testified as follows:

11                            EXAMINATION                           10:17:47

12    BY MR. JAFFE:                                                 10:17:47

13        Q.    Good morning.                                       10:18:09

14        A.    Good morning.                                       10:18:10

15        Q.     Welcome back. We've spoken before.                 10:18:14

16               This is your second deposition in this case;       10:18:19

17    right?                                                        10:18:19

18        A.     Right.                                             10:18:19

19        Q.    Did you have time to prepare -- realize a           10:18:28

20    short amount of time -- to prepare with your counsel          10:18:30

21    for purposes of today's deposition?                           10:18:33

22        A.     Yes.                                               10:18:33

23        Q.     Is there any reason you can't give your full       10:18:35

24    and truthful testimony today?                                 10:18:37

25        A.    No.                                                 10:18:37

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 1        Q.    Just like in your last deposition, you              10:18:40

2     understand that you are under oath; correct?                  10:18:41

3         A.    Correct.                                            10:18:41

4         Q.    All right. Last time -- in your last                10:18:53

 5    deposition, I asked you when was the first time you           10:18:56

6     ever spoke with lawyers from Morrison E. Foerster, And 10:18:59

 7    my recollection is you said sometime in 2017; is that         10:19:04

 8    right?                                                        10:19:04

 9        A.    Yes.                                                10:19:05

10         Q.   I have a different question.                        10:19:08

11              Are you familiar with a firm called Stroz           10:19:11

12    Friedberg?                                                    10:19:13

13        A.    I have a little familiarity. I believe Stroz 10:19:17

14    Friedberg is the firm that is taking laptops and              10:19:22

15    computers and imaging hard drives for us.                     10:19:25

16        Q.    When was the first time you ever spoke with         10:19:28

17    someone from Stroz Friedberg or a representative of           10:19:31

18    Stroz Friedberg?                                              10:19:32

19        A.    First time I spoke with someone from Stroz          10:19:35

20    I don't know how to pronounce the name -- Friedberg           10:19:37

21    would be when I handed off my two laptops to them.            10:19:44

22        Q.    Approximately when in time was that?                10:19:46

23        A.    That would be approximately mid April, around 10:19:49

24    the time of my deposition.                                    10:19:53

25        Q.    Of this year?                                       10:19:56

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 1        A.     Of this year.                                      10:19:56

2         Q.     Did you speak with anyone from Stroz               10:20:00

 3    Friedberg as part of the due diligence process for            10:20:04

4     Uber buying Otto?                                             10:20:06

 5        A,     No,                                                10:20:06

6         Q.     Do you know if anyone spoke with Stroz             10:20:11

 7    Friedberg during that due diligence process on the            10:20:15

 8    LiDAR team?                                                   10:20:17

 9        A.     No.                                                10:20:17

10        Q.     That wasn't something that you were aware of?      10:20:20

11        A.      Correct.                                          10:20:20

12        Q.     Okay.    All right.    I'm going to go             10:20:33

13    through -- you understand that we had a preliminary           10:20:35

14    injunction hearing yesterday with the judge; right?           10:20:39

15        A.     Right.                                             10:20:39

16         Q.    There are certain questions that the judge         10:20:42

17    had that I'm going to get your testimony on so we can         10:20:45

18    then report back to the judge, just so we're all kind         10:20:47

19    of clear.

20               One of the questions that the judge had was,       10:20:50

21    "What is the significance of using 64 channels in a           10:20:54

22    LiDAR as opposed to 65 or so on?"                             10:20:59

23                Can you answer that, please?                      10:21:01

24        A.      Yes.   I'm trying to collect my thoughts on       10:21:04

25    that.     I don't have a strong feeling that there is a       10:21:06

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 1    strong significance to the specific number of                 10:21:09

2     channels.                                                     10:21:13

3                                                                   10:21:17

4                                                                   10:21:21

5                                                                   10:21:26

6         Q.      What is the significance of the powers of         10:21:28

 7    two?                                                          10:21:29

 8        A.     The significance of powers of two can be           10:21:32

 9    assessed to the convenience of using computing devices 10:21:41

10    that are binary in nature that have data fields that          10:21:44

11    are some fixed number of bits wide, and it just               10:21:48

12    becomes convenient in that aspect.                            10:21:50

13        Q.     Thank you. All right.                              10:21:55

14               Does Mr. Levandowski have an assistant?            10:22:00

15        A.     I don't know if he has an assistant.               10:22:03

16        Q.     Does he have a secretary?                          10:22;05

17        A.     I'm not sure.                                      10:22:06

18        Q.     Has he ever had an assistant or a secretary,       10:22:10

19    to your knowledge?                                            10:22:12

20        A.     Yes. Early -- I'm not sure when this was no        10:22:18

21    longer the case. He had an assistant that I believe           10:22:22

22    he shared with Lior Ron. I believe the assistant's            10:22:28

23    name is Mason Feldman.                                        10:22:30

24        Q.     And what is the time period that Mr. Feldman       10:22:35

25    was Mr. Levandowski's assistant?                              10:22:40

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1         A.     My recollection is shaky. I want to say            10:22:43

2     shortly after joining Otto, I can recall Mason being          10:22:49

3     around at that time frame. And when it ended I'm not          10:22:53

4     sure, but that would have been maybe in the                   10:22:56

5     past -- let me try to bookend this -- past -- this is         10:23:03

6     very hard because I don't remember. I believe as              10:23:07

7     shortly as a few, couple months ago, perhaps. And             10:23:13

8     this could also be found pretty readily. Mr. Feldman          10:23:17

 9    was reporting to a facilities manager.                        10:23:22

10        Q.     Does Mr. Feldman still work for Uber or Otto? 10:23:26

11        A.     Yes.                                               10:23:27

12        Q.     What does he do now?                               10:23:29

13        A.     I understand he's working for a facilities         10:23:31

14    manager.                                                      10:23:33

15        Q.     When you say "facilities manager," what do         10:23:35

16    you mean by that?                                             10:23:36

17        A.     I wish I knew better in detail, but I don't.       10:23:41

18    We have somebody on staff that I believe would be             10:23:44

19    called a facilities manager, perhaps manages what goes 10:23:48

20    on with buildings, facilities' needs, be it the need          10:23:55

21    for air-conditioning, a repair, something of that             10:23:59

22    nature.                                                       10:23:59

23        Q.     Where is Mr. Feldman located?                      10:24:02

24        A.     To my knowledge, he has a desk in our offices 10:24:07

25    in San Francisco.                                             10:24:09

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1         Q.    Other than Mr. Feldman, who are you aware of        10:24:20

2     that most closely works with Mr. Levandowski on a             10:24:27

3     day-to-day basis?                                             10:24:29

4         A.    On a day-to-day basis, the only other               10:24:32

5     employee I'm aware of that works closely with him I           10:24:35

6     would say is Eric Meyhofer.                                   10:24:44

7         Q.    Mr. Meyhofer, how do you know him?                  10:24:50

8         A.    Eric is my boss.                                    10:24:52

 9        Q.    How long have yourself and Mr. Meyhofer known 10:24:59

10    each other?                                                   10:25:00

11        A.    I met Eric Meyhofer -- I don't remember when, 10:25:09

12    but I can tell you it was when he visited Tyto LiDAR          10:25:13

13    with Scott Boehmke, and they visited to evaluate our          10:25:20

14    products.                                                     10:25:21

15        Q.    And you said you didn't remember when this          10:25:26

16    meeting was.                                                  10:25:30

17              Can you give it a year?                             10:25:31

18        A.    It was prior to acquisition by Otto, but a          10:25:40

19    significant time went by between our meeting and being 10:25:46

20    acquired by Otto. So I don't even want to hazard the          10:25:52

21    year, because it could be off.                                10:25:55

22        Q.    So there was a meeting between Mr. Meyhofer,        10:26:03

23    Mr. Boehmke and Tyto LiDAR; is that right?                    10:26:08

24        A.    That's right.                                       10:26:09

25        Q.    And it was sometime before the acquisition of 10:26:12

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1     Tyto by Otto; correct?                                        10:26:15

2         A.    Correct.                                            10:26:15

3         Q.    Who else was at that meeting?                       10:26:19

4         A.    That would have included Brent Schwarz. I'm         10:26:26

5     not certain whether Mike Karasoff would have been at          10:26:30

6     that meeting as well.                                         10:26:32

7         Q.    Anybody else?                                       10:26:32

8         A.    I don't recall.                                     10:26:33

 9        Q.    Was Mr. Levandowski at that meeting?                10:26:37

10        A.    Not that I recall.                                  10:26:38

11        Q.    You're not sure, though?                            10:26:41

12        A.    I'm fairly sure that he was not. That would         10:26:45

13    have been awkward.                                            10:26:48

14        Q.    You said, "That would have been awkward."           10:26:50

15              Why do you say that?                                10:26:52

16        A.    Well, he wasn't an employee of Tyto.                10:26:57

17        Q.    Mr. Levandowski.                                    10:26:57

18        A.    That's what I meant.                                10:26:59

19        Q.    So you're saying it would have been awkward         10:27:02

20    for Mr. Levandowski to be involved in a meeting               10:27:06

21    between Tyto and Uber because he wasn't involved in           10:27:10

22    Tyto; is that right?                                          10:27:12

23        A.    It would be awkward because he was not an           10:27:14

24    employee, yes.                                                10:27:15

25        Q.    So I see you changed words there a little           10:27:17

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1     bit --                                                        10:27:17

2         A.    I did.                                              10:27:19

3         Q.    -- and I just want to clarify that.                 10:27:20

4               Why did you change -- my question was about         10:27:23

5     whether he was involved, and you answered about               10:27:26

6     whether he was an employee.                                   10:27:27

7               Why did you do that?                                10:27:28

8         A.    Because I would need clarification on the           10:27:31

 9    word "involved." We would occasionally have dinner,           10:27:38

10    chat, see how the business was going on a friendly            10:27:41

11    term.                                                         10:27:42

12        Q.    What is your understanding as to                    10:27:43

13    Mr. Levandowski's involvement in Tyto LiDAR?                  10:27:48

14        A.    My understanding of his involvement with Tyto 10:27:53

15    LiDAR was he was providing us a place of work when we         10:27:58

16    were still Odin Wave, early -- when we were getting           10:28:02

17    started. He sourced contract employees. He was a              10:28:11

18    friend who would stop by occasionally for chats.              10:28:15

19        Q.    Chats about what?                                   10:28:16

20        A.    What we're working on, what would the next          10:28:21

21    product be if we finished the current product.                10:28:24

22        Q.    Why were you chatting with Mr. Levandowski          10:28:26

23    about what you were working on at Tyto LiDAR?                 10:28:29

24        A.    I couldn't tell you -- if your question is          10:28:34

25    why that was appropriate or why that was something            10:28:41

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1     that was to discuss, the question came up, he would           10:28:45

2     ask, we would talk.                                           10:28:47

3         Q.    Was there anyone else that you would have           10:28:50

4     these kind of chats with, that weren't employees,             10:28:53

5     about your work at Tyto?                                      10:28:58

6         A.    Not that I recall.                                  10:29:02

7         Q.    Did you ever raise to any of your fellow            10:29:05

8     employees at Tyto LiDAR, hey, why are we talking with         10:29:10

 9    Mr. Levandowski about the work that we're doing?              10:29:14

10        A.    No.                                                 10:29:14

11        Q.    Never came up?                                      10:29:16

12        A.    Not to my recollection.                             10:29:17

13        Q.    You never asked anyone?                             10:29:18

14        A.    No.                                                 10:29:18

15        Q.    You didn't think it was odd that this person        10:29:21

16    who doesn't work for the company was talking about            10:29:23

17    your work with you?                                           10:29:24

18        A.    No.                                                 10:29:25

19        Q.    Did you know that Mr. Levandowski was working 10:29:27

20    on LiDAR at Waymo at the time?                                10:29:31

21        A.    I knew he was working for Google at the time, 10:29:35

22    and I didn't know the details of what specifically he         10:29:39

23    was working on.                                               10:29:41

24        Q.    Have you ever spoken with Mr. Levandowski           10:29:44

25    about                                                         10:29:51

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1         A.    Yes.                                                10:29:51

2         Q.    When?                                               10:29:52

3         A.    This would be some date, I can't recall when, 10:30:01

4     at Tyto LiDAR.                                                10:30:05

5         Q.    And what did you guys talk about?                   10:30:12

6         A.    We talked about our need to design our own          10:30:15

7     fiber laser in order to eliminate costs and lead time. 10:30:21

8     And he gave me what I would call a tech tutorial on           10:30:29

 9    fiber lasers.                                                 10:30:31

10        Q.    What did he say?                                    10:30:35

11        A.    I don't remember the words of our                   10:30:37

12    conversation.                                                 10:30:38

13        Q.    Tell me everything you remember about that          10:30:40

14    conversation, please.                                         10:30:41

15        A.    He -- trying to recall -- described a               10:30:53

16    schematic, a layout, an approach for

                             generally how they work. Told me 10:31:03

18    to go find a YouTube video from a professor on lasers         10:31:09

19    in general. I believe he recommended some suppliers.          10:31:18

20        Q.    Who are the suppliers?                              10:31:20

21        A.    I believe he recommended

                 And I believe he recommended                       10:31:41

23        Q. And              that's the same vendor used for       10:31:47

24    the fiber in the Spider design; right?                        10:31:51

25        A.    Yes.                                                10:31:51

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1         Q.    Sorry I interrupted.                                10:31:55

2               Are you finished telling me everything that         10:31:57

3     you remember about that conversation?                         10:31:58

4               MR. JAFFE: Can you get me a piece of paper?         10:32:07

5         MR. McCAULEY: (Hands document.)                           10:32:15

6          THE WITNESS: I recall he was telling me to hurry         10:32:18

7     up and order the                 because they were long       10:32:25

8     lead items. I think he suggested some



                                    I don't recall any more         10:32:46

11    than that.                                                    10:32:48

12    BY MR. JAFFE:                                                 10:32:48

13        Q.    Thank you.                                          10:32:49

14              So we talked about that conversation, and you 10:32:53

15    said you didn't remember when it was. I just want to          10:32:56

16    see if we can bound that time with any more                   10:32:59

17    specificity.                                                  10:33:00

18        A.    Ooh. I recall it occurred at our -- after we 10:33:09

19    moved out of Berkeley, so this was in San Leandro.            10:33:16

20    This would have been prior to my starting to develop          10:33:22

21    the fiber lasers, so it had to be relatively                  10:33:25

22    shortly -- I would say -- this is all qualitative, I'm 10:33:32

23    sorry -- shortly after that move to San Leandro.              10:33:34

24        Q.    All right. So based on those kind of                10:33:36

25    considerations, what approximate timeline did you guys 10:33:42

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1     move to San Leandro?                                          10:33:43

2         A.    There's a lot of years between here and             10:33:45

3     there. It's tractable [sic] from other information            10:33:52

4     sources, but I don't have it in my head right now.            10:33:55

5         Q.    2015?                                               10:33:56

6         A.    Could be. I don't know.                             10:33:57

7         Q.    So sitting here today, you can't give me any        10:34:00

8     more specificity as to the time of that conversation?         10:34:03

 9        A.    I cannot.                                           10:34:04

10        Q.    I'm going to hand you this.                         10:34:06

11        MR. JAFFE: And we're going to mark it as -- now           10:34:09

12    I've lost what exhibit we're at, so I'm just going to         10:34:14

13    say 150 so we don't run over another exhibit.

14              (Plaintiff's Exhibit 150 was marked.)

15    BY MR. JAFFE:

16        Q.    Can you please draw the schematic that              10:34:17

17    Mr. Levandowski provided to you during that                   10:34:20

18    conversation. And here I'll hand you my pen.                  10:34:25

19        A.    I can do my best.                                   10:34:26

20              So I want to state, as I'm going to attempt         10:34:56

21    to do this for you, that there is a very real risk            10:35:00

22    that I'm going to take information that I know now,           10:35:03

23    after having built the fiber laser, and get that              10:35:06

24    somehow accidently contaminated into a vague                  10:35:13

25    recollection of what schematic he gave me.                    10:35:16

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1         Q.    I just want your best recollection of the                 10:35:18

2     schematic that he gave you.                                         10:35:19

3         A.    I understand that.

4         Q.    That's all I'm asking for.                                10:35:21

5         A.    I understand that.                                        10:35:23

6               (Witness draws diagram.)                                  10:35:31

7               (Pause in proceedings.)

8               MR. KIM: Just going to object on form                     10:35:39

 9    grounds here, for the record.                                       10:35:41

10              THE WITNESS:    Okay.    I think this is the best         10:38:17

11    of my recollection.      I put a note on here there's

                     I don't know what the order was in his               10:38:24

13    recommendation.                                                     10:38:25

14    BY MR. JAFFE:

15        Q.    Can I take a look at it?                                  10:38:31

16        A.    Yes.    And I've drawn                          And I     10:38:35

17    don't know if he recommended                         And I can      10:38:37

18    explain any abbreviations.                                          10:38:39

19        Q.    Sure.                                                     10:38:40

20              So I'm just going -- just want to talk a                  10:38:45

21    couple things here.                                                 10:38:46

22              So          what does that stand for?                     10:38:49

23        A.                                                              10:38:52

24        Q.    Okay.   And then              here on Exhibit 150,        10:38:54

25    what does that stand for?                                           10:38:56

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1         A.                                               .        10:39:04

2         Q.    And in terms -- I again want to talk about          10:39:07

3     the timing of this briefly.                                   10:39:09

4               Do you know before -- whether it was before         10:39:12

5     or after 2011?                                                10:39:14

6         A.    I don't know.                                       10:39:24

7         Q.    So did you talk about

                             at this time?                          10:39:40

 9        A.    I don't recall.                                     10:39:41

10        Q.    Did you talk about                                  10:39:44

11    at this time?                                                 10:39:45

12        A.    Yes.                                                10:39:46

13        Q.    What did you talk about?                            10:39:48

14        A.    We talked about the need to optimize

                            and that that could be done             10:39:58

16    through an experimental approach.                             10:40:01

17        Q.    What was the experimental approach that             10:40:03

18    Mr. Levandowski told you about?                               10:40:05

19        A.    He didn't give a lot of detail. He called it 10:40:09

20    a            I can't remember how he called it. But as 10:40:15

21    he described it,




                                                                    10:40:34

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1         Q.    Did you and Mr. Levandowski discuss the             10:40:39

2

                                                                    10:40:49

4         A.    Possibly, yeah. I think there -- he may have 10:40:54

5     described the relationship between -- almost the              10:40:58

6     equivalence.



                                                                    10:41:07

 9        Q.    All right. After you had this conversation          10:41:16

10    with Mr. Levandowski, did you build the fiber laser           10:41:22

11    that he described?                                            10:41:23

12        A.    Yeah.                                               10:41:23

13        Q.    And when you had this conversation with him,        10:41:27

14    did you ask him whether he was allowed to reveal this         10:41:29

15    information to you?                                           10:41:31

16        A.    No.                                                 10:41:31

17        Q.    Why not?                                            10:41:35

18        A.    I can't recall what I was feeling or thinking 10:41:37

19    at the time, but this looks like general information          10:41:41

20    to me.                                                        10:41:42

21        Q.    So you didn't think, when he provided a             10:41:44

22    schematic on how to build a fiber laser, that this            10:41:48

23    could have been confidential information of Google?           10:41:52

24        A.    I wouldn't say so.                                  10:41:54

25        Q.    That didn't cross your mind?                        10:41:56

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1           A.   I don't recall what crossed my mind.               10:41:57

2           Q.   So you're not denying that it could have           10:42:00

3     happened?                                                     10:42:02

4           A.   It didn't happen that I recall --                  10:42:04

5           Q.   Did you --

6           A.    -- but it's not impossible.                       10:42:07

7           Q.   Sorry. I didn't mean to interrupt.                 10:42:09

8                Did you ever discuss with anyone any question 10:42:11

 9    in your mind as to whether Mr. Levandowski was allowed 10:42:14

10    to reveal this information to you?                            10:42:17

11          A.   No.                                                10:42:17

12          Q.   Didn't cross your mind?                            10:42:20

13          A.   There's enough prior art. As I began to            10:42:26

14    study this online, it looked pretty plain vanilla to          10:42:32

15    me.                                                           10:42:33

16          Q.   All right. So we talk about

                       and you built this fiber laser.              10:42:38

18               Is this the resulting design -- or the basis       10:42:41

19    for the design that is in the fiber laser in Spider?          10:42:45

20          MR. KIM: Objection; form.                               10:42:48

21          THE WITNESS: I would be willing to say that this        10:42:53

22    was a starting point for my development of the fiber          10:42:57

23    laser that did end up in the Owl sensor and later the         10:43:03

24    Spider.                                                       10:43:04

25    BY MR. JAFFE:                                                 10:43:04

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1         Q.    Right.

2               So, for example, the fiber laser in Spider,            10:43:08

3                                    right?                            10:43:10

4         A.    Yes.                                                   10:43:10

5         Q.    And the

                            right?                                     10:43:16

7         A.    Right.                                                 10:43:16

8         Q.    And it's                                               10:43:20

 9    right?                                                           10:43:20

10        A.    Right.                                                 10:43:20

11        Q.    And all those elements are described here in           10:43:23

12    Exhibit 150, the drawing that you described; right?              10:43:26

13        A.    Right.                                                 10:43:26

14        Q.    And you determined

                                                          based on     10:43:39

16    Mr. Levandowski's kind of guidance with you on the               10:43:44

17    experimental approach to take; right?                            10:43:46

18        MR. KIM: Objection; form.                                    10:43:48

19         THE WITNESS: I would say that his guidance on a             10:43:57

20                         put me on the right direction to            10:44:01

21    develop                         for this, yes.                   10:44:05

22    BY MR. JAFFE:                                                    10:44:05

23        Q.    So we talked about                                     10:44:08

24              What was the next conversation that you had            10:44:10

25    with Mr. Levandowski about LiDAR?                                10:44:18

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1         A.    I don't know.                                       10:44:20

2         Q.    You can't say?                                      10:44:22

3         A.    I could not recall the next conversation we         10:44:25

4     had.                                                          10:44:25

5         Q.    Why not?                                            10:44:26

6         A.    It was a long time ago.                             10:44:28

7         Q.    Well, when is the next conversation that you        10:44:31

8     recall between yourself and Mr. Levandowski relating          10:44:34

 9    to LiDAR?                                                     10:44:36

10        A.    I recall him stopping by for dinner, asking         10:44:43

11    how we're doing, how we're making progress and saying, 10:44:47

12    what is the next product that we should work on. He           10:44:50

13    was curious what we thought we should work on. If             10:44:54

14    this product is successful, what is the next one?             10:44:58

15        Q.    And what did he say?                                10:45:00

16        A.    I'm not sure it was his suggestion. I               10:45:06

17    believe Brent was suggesting we could be looking at           10:45:08

18    doing a terrestrial laser scanner because it leveraged 10:45:14

19    very close to the product we had already built and            10:45:17

20    wouldn't require a lot of design work and there's a           10:45:22

21    mature market ready for it.                                   10:45:24

22        Q.    What's the mature market you're talking             10:45:27

23    about?                                                        10:45:28

24        A.    Terrestrial laser scanning is used widely in        10:45:33

25    construction and applications like that.                      10:45:36

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1         Q.    Do you remember anything else from                  10:45:41

2     Mr. Levandowski in that conversation, anything else he 10:45:44

 3    said about LiDAR or anything?                                 10:45:47

4         A. No. No.                                                10:45:48

5         Q.    When is the next conversation you had?              10:45:50

6         A.    I have no recollection of what the next             10:45:56

 7    conversation was.                                             10:45:57

8         Q.    When is the next conversation that you              10:45:59

9     recall?

10              MR. KIM: Objection; form.                           10:46:03

11        THE WITNESS: I can't recall when these                    10:46:05

12    conversations took place. I would say we had dinner           10:46:10

13    occasionally, and he would generally just ask how             10:46:14

14    we're doing.                                                  10:46:15

15



                                                                    10:46:25

18    LiDAR techniques?                                             10:46:28

19         MR. KIM: Objection; form.                                10:46:42

20        THE WITNESS: At this point, I'm leaning towards           10:46:44

21    saying when I joined Otto.                                    10:46:46

22

          •
                                                                    10:46:54

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1         A.    It would have been something to the nature          10:47:01

2     that we need to take -- possibly take the Owl design          10:47:09

3     and convert that into a multichannel LiDAR sensor that 10:47:16

4     could be used on autonomous vehicles.                         10:47:18

5         Q.    And what did Mr. Levandowski say?                   10:47:23

6         A.    I think he wanted to know what the plan would 10:47:27

7     be. I had started -- had sometime in that time frame          10:47:33

8     started working on a CAD model for a design I was             10:47:36

 9    going to propose. And at that time or at a later              10:47:45

10    time, we started to discuss two different design              10:47:49

11    approaches that looked promising to take.                     10:47:53

12        Q.    What were those two approaches?                     10:47:55

13        A.    One approach was to take the Owl and somehow 10:48:00

14    multiply the channels to get a multichannel LiDAR that 10:48:07

15    could be used on a truck. The other approach was to           10:48:10

16    basically take the Velodyne style of design and build         10:48:14

17    a sensor in that approach.                                    10:48:19

18        Q.    Before we move forward with those two, you          10:48:25

19    said you had built a CAD design for something that you 10:48:29

20    were going to propose.                                        10:48:30

21        A.    Yes.                                                10:48:30

22        Q.    What was the name of that, just for purposes        10:48:34

23    of our conversation?                                          10:48:35

24        A.    It had no name. Perhaps if I described it.          10:48:39

25        Q.    Sure.                                               10:48:40

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1         A.    It was -- I intended to design a LiDAR sensor 10:48:47

2     similar to the Owl, based on the design of the Owl            10:48:51

3     optical cavity. It was a bistatic LiDAR design. It            10:48:57

4     would incorporate eight laser sources that would              10:49:00

5     transmit out a transmit lens.                                 10:49:03

6               It would have eight avalanche photodiodes           10:49:08

7     that would receive through the receive lines. That            10:49:14

8     would project onto a mirror that could spin that could 10:49:18

 9    help scan those beams. It was intended in my mind to          10:49:26

10    augment something like a Velodyne sensor to provide a         10:49:29

11    longer range, tighter packed field of view.                   10:49:32

12        Q.    So what you were coming up with was a               10:49:36

13    long-range sensor that would supplement a mid-range           10:49:42

14    sensor on a self-driving car; is that fair?                   10:49:46

15        MR. KIM: Objection; form.                                 10:49:47

16         THE WITNESS: It was meant to supplement the              10:49:49

17    Velodyne-type sensor, yes.                                    10:49:53

18    BY MR. JAFFE:                                                 10:49:53

19        Q.    Did you have any discussions with                   10:49:54

20    Mr. Levandowski in coming up with that design?                10:49:59

21        A.    I don't recall having any discussion with           10:50:08

22    Anthony Levandowski regarding this design. I want to          10:50:11

23    say that idea came from earlier talks with Eric               10:50:15

24    Meyhofer and Scott Boehmke when they visited. At that 10:50:20

25    time, Brent Schwarz was proposing to them that we had         10:50:28

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1     a sensor that was capable of long-range performance           10:50:31

2     and that they would need a sensor for long-range              10:50:35

3     viewing on an autonomous vehicle.                             10:50:40

4               And so our angle with Uber at the time was we 10:50:44

5     think we can build such a sensor, but we're not               10:50:47

6     working on it right now. Our company is open for              10:50:51

7     acquisition.                                                  10:50:55

8         Q.    So the sensor that you were coming up with,         10:51:00

 9    that was going to be a bistatic design; right?                10:51:03

10        A.    Yes.                                                10:51:05

11        Q.    At some point, Spider came about and                10:51:12

12    transformed it to a monostatic design; right?                 10:51:15

13        A.    True.                                               10:51:17

14        Q.    Do you know who was responsible for the             10:51:19

15    change from what you were coming up with, which was a         10:51:22

16    bistatic design, to the monostatic design in Spider?          10:51:26

17        A.    I don't recall who among the team was               10:51:34

18    involved in our conversations first to move away from 10:51:39

19    supplemental design to one design that would cover all 10:51:44

20    the way from directly in front of the vehicle out to          10:51:47

21    long range. But that was a decision that was made             10:51:50

22    that pretty much negated the proposal I had made of           10:51:56

23    using a tight-packed purely long-range sensor.                10:52:00

24        Q.    So you shifted into the passive voice there.        10:52:05

25              You're talking about -- who is making these         10:52:07

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1     decisions?                                                    10:52:08

2         A.    Exactly. I'm trying to recall. I don't              10:52:10

3     know, of all the people that were involved, who was in 10:52:14

4     those conversations. So it would include me. It               10:52:17

5     would include most likely Anthony Levandowski. I              10:52:23

6     believe it would also include Daniel Gruver. And I'm          10:52:28

7     not sure if there's anyone else.                              10:52:30

8         Q.    And do you know, in the context of those            10:52:35

 9    communications, who just said, Hey, James, your design 10:52:44

10    looks great, but we're going to go with the monostatic 10:52:46

11    design and we think it's better?                              10:52:50

12        MR. KIM: Objection; form.                                 10:52:50

13         THE WITNESS: The monostatic design that uses one         10:52:56

14    lens for transmit and receive, I don't know who came          10:52:59

15    up with that. At some point I saw it, seemed okay to          10:53:05

16    me, it seemed compact, let's use it.                          10:53:09

17    BY MR. JAFFE:                                                 10:53:09

18        Q.    So you don't know -- you have no information        10:53:12

19    of who came up with the monostatic design in Spider?          10:53:15

20        A.    True.                                               10:53:16

21        Q.    Okay. So we were still -- going back to our         10:53:25

22    chron of conversations with Mr. Levandowski, when is          10:53:28

23    the next conversation that you had with                       10:53:31

24    Mr. Levandowski about LiDAR that you can recall?              10:53:34

25        A.    It's very hard for me to recall specific            10:53:43

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1     conversations, especially in sequence. At this point, 10:53:47

2     I report to Anthony Levandowski.                              10:53:50

3         Q.     And just for purposes of the record, when          10:53:52

4     you're talking about "this point," what date are you          10:53:54

5     talking about?                                                10:53:55

6         A.     I'm talking about immediately following            10:53:56

7     Tyto's acquisition by Otto -- or I should say Otto's          10:54:03

8     acquisition of Tyto. We joined -- at that time, I             10:54:08

 9    reported to Anthony Levandowski. There would be               10:54:12

10    regular staff meetings. Since my team is working on           10:54:19

11    LiDAR, LiDAR would definitely come up in conversations 10:54:22

12    with him, at that point, on a probably fairly routine         10:54:25

13    basis, like weekly basis.                                     10:54:28

14        Q.     And what did you and Mr. Levandowski discuss? 10:54:31

15        A.     Progress, approach, schedule or timing,            10:54:39

16    volumes.                                                      10:54:41

17        Q.     Can you tell me any more specifics about the       10:54:44

18    routine and regular conversations you were having with 10:54:48

19    Mr. Levandowski about LiDAR?                                  10:54:49

20        A.     He would ask about what the design was             10:54:56

21    looking like, how we were approaching it. Beyond              10:55:00

22    that, I don't recall specifics of our conversations.          10:55:03

23        Q.     So sitting here today, in this time period         10:55:06

24    that you're talking about, after you joined Otto in           10:55:10

25    May of 2016, you would have regular conversations with 10:55:15

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1     Mr. Levandowski about LiDAR, but you can't recall any         10:55:18

2     specifics of those conversations; is that fair?               10:55:21

3         A.    That's fair to say I cannot recall beyond the 10:55:26

4     details I already told you.                                   10:55:28

5         Q.    I see.                                              10:55:29

6               When is the next -- moving forward in time          10:55:34

7     here, when is the next substantive conversation with          10:55:38

8     Mr. Levandowski about LiDAR that you recall?                  10:55:40

 9        A.    I don't know.                                       10:55:56

10        Q.    You don't know?                                     10:55:57

11        A.    I don't know.                                       10:55:57

12        Q.    I'm not trying to do a memory test here. If         10:56:02

13    there's just too many conversations for you to recall, 10:56:05

14    that's fine, and you can just tell me that. But               10:56:08

15    otherwise I'm just going to keep asking.                      10:56:10

16        MR. KIM: Objection; form.                                 10:56:10

17         THE WITNESS: Most of our conversations, that is          10:56:21

18    between me and Anthony Levandowski, were not                  10:56:24

19    substantive in LiDAR design per se. So I'm having a           10:56:30

20    hard time remembering further conversations or                10:56:35

21    specifics.                                                    10:56:35

22              Most of the time, he wanted to know where           10:56:38

23    we were in our progress, and he may have asked                10:56:41

24    what the design was shaping up like.                          10:56:44

25              I do recall one more.                               10:56:49

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1               He was visiting Uber. He got me on the phone 10:56:56

2     and was starting to describe using eight fiber                10:57:02

3     lasers -- that's right -- eight fiber lasers,                 10:57:08

4     splitting their outputs to multiply the number of             10:57:12

5     channels and then routing a fiber from each fiber             10:57:17

6     laser into a number of optical cavities.                      10:57:24

7               There was also, at that time frame, a               10:57:26

8     document published or shared with the team. I think           10:57:31

 9    that came from Scott Boehmke. So this would be                10:57:38

10    substantive in terms of shaping up what Spider would          10:57:43

11    eventually become.                                            10:57:44

12    BY MR. JAFFE:                                                 10:57:44

13        Q.    And you said Mr. Levandowski called you from        10:57:48

14    Uber in Pittsburgh; is that right?                            10:57:53

15        A.    My understanding he was either at Uber or in        10:57:55

16    transit to or from Uber in Pittsburgh.                        10:57:58

17        Q.    Approximately what time period was this?            10:58:01

18        A.    This would be relatively early in the               10:58:04

19    development of the Spider. Beyond that, I would defer 10:58:08

20    to e-mails. I don't remember.                                 10:58:10

21        Q.    When you say you would "defer to e-mails,"          10:58:12

22    are there e-mails about this conversation?                    10:58:15

23        A.    There were e-mails -- I should say there was        10:58:19

24    an e-mail with a document that was published that             10:58:24

25    contained the substance of what he was describing.            10:58:27

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1         Q.    What was the name of that document?                 10:58:29

2         A.    I think it had the name like LiDAR Thoughts.        10:58:36

3         Q.    And that was authored by Mr. Levandowski?           10:58:39

4         MR. KIM: Objection; form.                                 10:58:39

5          THE WITNESS: I don't know that Anthony authored          10:58:43

6     that or if Scott authored that.                               10:58:46

7     BY MR. JAFFE:                                                 10:58:46

8         Q.    Mr. Levandowski had design input into what -- 10:58:49

 9    the LiDAR described in that document, though; is that         10:58:53

10    fair?                                                         10:58:54

11        MR. KIM: Objection; form.                                 10:58:54

12         THE WITNESS: That's a good question. He                  10:58:58

13    described it to me, but I don't know whether he was           10:59:02

14    describing his idea or Scott's idea. I don't know.            10:59:06

15    BY MR. JAFFE:                                                 10:59:06

16        Q.    So just to back up, Mr. Levandowski called          10:59:14

17    you and provided some thoughts on how to do the fiber         10:59:20

18    laser design in Spider. And he was describing                 10:59:23

19    something that was in a document called LiDAR                 10:59:25

20    Thoughts; is that fair?                                       10:59:27

21        A.    He was describing something that was later          10:59:30

22    published in an e-mail with LiDAR Thoughts.                   10:59:34

23        Q.    And at this time, Otto was an independent           10:59:41

24    company; right?                                               10:59:43

25        A.    Yes.                                                10:59:43

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1         Q.    Why was Mr. Levandowski at Uber?                    10:59:46

2         A.    As I understood it, we were considering             10:59:52

3     selling our LiDAR sensors to Uber.                            10:59:56

4         Q.    When you say "As I understood it," what was         10:59:59

5     the basis for that understanding?                             11:00:01

6         MR. KIM: Just caution you not to reveal                   11:00:04

7     privileged communications with lawyers. If you can            11:00:07

8     answer it without doing that, you can do so.                  11:00:10

 9         THE WITNESS: Um-hum.                                     11:00:11

10              I don't recall the exact timing and                 11:00:15

11    sequencing. At some point, engineers from Uber                11:00:23

12    Pittsburgh visited our office. And I have a vague             11:00:33

13    recollection Anthony telling us to be helpful, to             11:00:41

14    share information freely. It seemed almost like a             11:00:48

15    partnership. Around the time, Anthony put an                  11:00:56

16    e-mail to the entire company saying we were going             11:00:59

17    to be working with them, providing sensor to them,            11:01:03

18    possibly involving autonomous software as well.               11:01:09

19        MR. JAFFE: Counsel, I don't think that e-mail has 11:01:12

20    been produced, and we ask that it be produced                 11:01:14

21    immediately.                                                  11:01:16

22        MR. KIM: I don't know which e-mail that                   11:01:17

23    specifically refers to. I believe we produced a bunch 11:01:21

24    of e-mails that are similar to that description, but          11:01:24

25    we can confirm.                                               11:01:26

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1         MR. JAFFE: Appreciate that.                               11:01:28

2     BY MR. JAFFE:                                                 11:01:28

3         Q.    So your understanding that Otto was going to        11:01:32

4     be providing LiDAR technology to Uber came from               11:01:35

5     Mr. Levandowski; is that true?                                11:01:37

6         A.    Yes.                                                11:01:38

7         Q.    And when Otto was in discussions to buy Tyto, 11:01:50

8     did you know at that time, as a Tyto employee, that           11:01:53

 9    you were going to be supplying LiDAR to Uber?                 11:01:58

10        A.    No.                                                 11:01:58

11        Q.    It was only after you joined Otto that you          11:02:03

12    found out that Otto was going to be supplying LiDAR to 11:02:06

13    Uber; is that right?                                          11:02:07

14        A.    Yes.                                                11:02:07

15        Q.    Did that surprise you?                              11:02:10

16        A.    Yes.                                                11:02:10

17        Q.    Why?                                                11:02:12

18        A.    I had a nice meeting with Eric Meyhofer and         11:02:17

19    Scott Boehmke when we were at Tyto. A long time had           11:02:22

20    transpired, and it was a pleasant surprise to see that 11:02:25

21    we were going to be making LiDAR sensors for them             11:02:29

22    after all.                                                    11:02:30

23        Q.    So it was a pleasant surprise?                      11:02:32

24        A.    It was.                                             11:02:33

25        Q.    I see. I see.                                       11:02:34

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1               All right. Are there any other substantive          11:02:40

2     conversations regarding LiDAR with Mr. Levandowski            11:02:43

3     that you can recall?                                          11:02:47

4         MR. KIM:    Objection; form.                              11:02:50

5          THE WITNESS:    I'm not sure I would consider the        11:03:11

6     pivot to Fuji a conversation that was substantive, but        11:03:18

7     he did provide input into the Fuji and that he wanted         11:03:26

8     to make sure it first operated as well or better than         11:03:33

 9    Velodyne and suggested that we ignore concerns from           11:03:38

10    the Pittsburgh office regarding size and weight and           11:03:41

11    not to be constrained by that.                                11:03:43

12    BY MR. JAFFE:                                                 11:03:43

13        Q.    Anything else?                                      11:03:44

14        A.    I don't recall.                                     11:03:52

15        Q.    Just to be clear, is there any other                11:04:00

16    conversation that you had with Mr. Levandowski about          11:04:04

17    LiDAR design that you can recall, sitting here today?         11:04:10

18        MR. KIM:    Objection; form.                              11:04:11

19         THE WITNESS:    I don't recall any more.                 11:04:48

20    BY MR. JAFFE:                                                 11:04:48

21        Q.    No more?                                            11:04:53

22        A.    I don't recall any more.       I'm sorry.           11:04:56

23        Q.    And this is apart from the regular                  11:04:58

24    conversations that you had with Mr. Levandowski               11:05:00

25    regarding status and updates; right?                          11:05:03

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1         A.     This would be distinct from status and             11:05:08

2     updates.                                                      11:05:09

3         Q.     Okay. I just want that to be clear.                11:05:10

4                Okay. When you joined Tyto, when did you           11:05:14

5     first hear that Mr. Levandowski would be your boss on         11:05:19

6     the LiDAR team?                                               11:05:21

7         A.     I believe my offer letter for joining Otto         11:05:28

8     would have indicated that he would be my manager, I           11:05:33

 9    believe.                                                      11:05:33

10        Q.     So Mr. Levandowski decided that you                11:05:41

11    were -- that he was -- you were going -- excuse me --         11:05:44

12    that he was going to be your boss on the LiDAR team           11:05:47

13    when you joined Otto; right?                                  11:05:48

14        A.     I presumed that, yes.                              11:05:51

15        Q.     Do you think the LiDAR team needed                 11:05:56

16    Mr. Levandowski to accomplish its goals?                      11:06:01

17        MR. KIM: Objection; form.                                 11:06:01

18         THE WITNESS: Honestly, no.                               11:06:08

19    BY MR. JAFFE:                                                 11:06:08

20        Q.     Why not?                                           11:06:09

21        A.     We have a team that probably could have come       11:06:13

22    up with a number of different LiDAR sensors without           11:06:17

23    his input.                                                    11:06:18

24        Q.     But that's not what happened; right?               11:06:20

25        A.     That's not what happened.                          11:06:22

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1         Q.    So when was the first time you worked with          11:06:32

2     Max Levandowski on LiDAR?                                     11:06:35

3         A.    That would be immediately following my              11:06:38

4     joining Otto.                                                 11:06:39

5         Q.    And what is your working relationship with          11:06:43

6     Max Levandowski?                                              11:06:45

7         A.    He reports to me.                                   11:06:47

8         Q.    He reports to you. I see.                           11:06:49

 9              So, actually, let's go back in time to when         11:06:56

10    you first joined Otto.                                        11:06:58

11              And you're having regular interactions with         11:07:00

12    Mr. Levandowski; right?                                       11:07:02

13        A.    Um-hum.                                             11:07:03

14        Q.    What devices are you aware of him using at          11:07:06

15    that time in terms of computers?                              11:07:09

16        A.    I believe he had a laptop, probably a               11:07:12

17    Macintosh.                                                    11:07:14

18        Q.    Is that his personal laptop?                        11:07:17

19        MR. KIM: Objection; form.                                 11:07:17

20         THE WITNESS: I don't know.                               11:07:19

21    BY MR. JAFFE:                                                 11:07:19

22        Q.    What about a phone? Was he using a phone?           11:07:22

23        A.    Sure. I don't know if he had one phone,             11:07:24

24    multiple phones. I didn't really pay attention, but           11:07:27

25    I'm sure he had a phone.                                      11:07:28

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1         Q.    How often did Mr. Levandowski bring his             11:07:32

2     personal laptop to work with him?                             11:07:35

3         MR. KIM: Objection; form.                                 11:07:35

4          THE WITNESS: I couldn't possibly know.                   11:07:37

5     BY MR. JAFFE:                                                 11:07:37

6         Q.    Every day?                                          11:07:39

7         MR. KIM: Objection; form.                                 11:07:39

8          THE WITNESS: The reason I couldn't possibly know         11:07:42

 9    is I don't know whether the laptop he may have carried 11:07:45

10    was his personal laptop or the work laptop.                   11:07:48

11    BY MR. JAFFE:                                                 11:07:48

12        Q.    I see. All right. So let's just talk about          11:07:51

13    the one laptop that you know about.                           11:07:53

14              How often did he bring that laptop to work          11:07:55

15    with him?                                                     11:07:56

16        MR. KIM: Objection; form.                                 11:07:56

17         THE WITNESS: I don't know. I have no idea.               11:08:02

18    BY MR. JAFFE:                                                 11:08:02

19        Q.    You saw him at work with the personal laptop; 11:08:06

20    right?                                                        11:08:06

21        A.    I'm sure I've seen him at work with a laptop. 11:08:10

22        Q.    And that was a regular occurrence; right?           11:08:12

23        MR. KIM: Objection; form.                                 11:08:14

24         THE WITNESS: I hardly paid attention to how often 11:08:18

25    he was carrying a laptop.                                     11:08:20

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1     BY MR. JAFFE:                                                 11:08:20

2         Q.     I understand you're saying that you hardly         11:08:23

3     pay attention to this. The judge specifically asked           11:08:25

4     to find out this information, and that's the reason           11:08:27

5     I'm asking this question. I just want that to be              11:08:30

6     clear.                                                        11:08:31

7                How often -- so let me just pause there,           11:08:34

8     okay, and I'm going to ask my question again.                 11:08:36

 9               How often did you see Anthony Levandowski          11:08:38

10    with his Macintosh laptop at Otto?                            11:08:42

11        MR. KIM: Objection; form.                                 11:08:42

12         THE WITNESS: I don't recall how often.                   11:08:48

13    BY MR. JAFFE:                                                 11:08:48

14        Q.     Every day?                                         11:08:53

15        MR. KIM: Objection; form.                                 11:08:53

16         THE WITNESS: Not necessarily.                            11:08:55

17    BY MR. JAFFE:                                                 11:08:55

18        Q.     Four, five days a week; is that fair?              11:08:58

19        A.     I don't know.                                      11:09:03

20        Q.     You're not willing to tell me any sort of          11:09:06

21    numbers?                                                      11:09:07

22        MR. KIM: Objection; form.                                 11:09:07

23         THE WITNESS: I can't give you any number for how         11:09:12

24    often I can recall seeing him carrying a laptop. And          11:09:16

25    I would also mention he spent a lot of time traveling         11:09:20

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1     to the Pittsburgh office, and I would have no idea how 11:09:23

2     often he carried a laptop for that as well.                   11:09:26

3     BY MR. JAFFE:                                                 11:09:26

4         Q.     Fair.                                              11:09:27

5                I'm not trying to ask you -- I'm only asking       11:09:28

6     for your understanding based on your interactions with 11:09:31

7     him.                                                          11:09:32

8                Understand?                                        11:09:32

 9        A. Understand.                                            11:09:33

10        Q.     Would you agree that you probably saw              11:09:36

11    Mr. Levandowski with his laptop three days a week,            11:09:41

12    approximately?                                                11:09:42

13        MR. KIM: Objection to form. Same objection.               11:09:49

14           THE WITNESS: I really don't recall. I really do        11:09:51

15    not recall.                                                   11:09:52

16    BY MR. JAFFE:                                                 11:09:52

17        Q.     All right. Let me come at this the other           11:09:55

18    way.                                                          11:09:56

19               You saw him at least once with the laptop;         11:09:58

20    right?

21        A.     Sure.                                              11:09:59

22        Q.     At least, let's say, 50 times?                     11:10:01

23        MR. KIM: Objection to form.                               11:10:02

24           THE WITNESS: At least some number of times. I          11:10:06

25    don't know.                                                   11:10:06

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1     BY MR. JAFFE:

2         Q.    Okay. You're aggressively resisting giving          11:10:09

3     any sort of number. And the judge asked for this, so          11:10:12

4     I'm just going to press on this a little bit longer?          11:10:13

5     Okay?

6         MR. KIM: Objection to form.                               11:10:17

7     BY MR. JAFFE:                                                 11:10:17

8         Q.    More than 30 times?                                 11:10:20

 9        A.    Possibly.                                           11:10:21

10        Q.    Would you dispute if someone said to the            11:10:22

11    court that he -- you saw his laptop at least 30 times         11:10:27

12    when you were working at Otto before the Uber

13    acquisition?

14        MR. KIM: Objection to form.                               11:10:30

15         THE WITNESS: If someone claimed to see him with a 11:10:32

16    laptop 30 times, I would not object to that.                  11:10:34

17    BY MR. JAFFE:                                                 11:10:34

18        Q.    And just talking about regularly, if we were        11:10:38

19    going to put an approximate amount, would you say             11:10:41

20    approximately two to four times a week you saw him            11:10:44

21    with a laptop at Otto? Is that fair?                          11:10:46

22        MR. KIM: Objection; form.                                 11:10:46

23         THE WITNESS: I don't know if kept his laptop with 11:10:50

24    him everywhere he went in the office, so --                   11:10:53

25    BY MR. JAFFE:

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1         Q.    I'm just asking about what you saw with your        11:10:56

2     own eyes.                                                     11:10:57

3         A.    So I would say a few times a week when he was 11:11:04

4     spending that week in the office.                             11:11:07

5         Q.    Fair.                                               11:11:08

6               So just to clean that up for purposes of the        11:11:12

7     record, your testimony, based on your personal                11:11:17

8     knowledge, is you approximately saw Mr. Levandowski           11:11:21

 9    when he was in San Francisco with his Macintosh laptop 11:11:27

10    a few times a week --                                         11:11:29

11        MR. KIM: Objection; form.                                 11:11:31

12    BY MR. JAFFE:                                                 11:11:31

13        Q.    -- is that fair?                                    11:11:33

14        MR. KIM: Objection; form.                                 11:11:34

15         THE WITNESS: It's fair as long as we emphasize           11:11:37

16    approximately.                                                11:11:39

17    BY MR. JAFFE:                                                 11:11:39

18        Q.    Okay. All right. Did you ever get e-mails           11:11:45

19    from Mr. Levandowski while he was working from home?          11:11:51

20        A.    I don't know.                                       11:11:54

21        Q.    Why don't you know?                                 11:11:57

22        A.    I would occasionally get e-mails from Anthony 11:12:00

23    Levandowski, but I don't know how to tell you where he 11:12:03

24    was when he sent those e-mails.                               11:12:05

25        Q.    So there's no instance where you're sitting         11:12:09

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1     in the office and you look around and he's not there          11:12:11

2     and he hasn't been there all day and he's sending             11:12:16

3     e-mails? That's never happened?                               11:12:19

4         A.    Incorrect.                                          11:12:19

5         Q.    So can you please explain then.                     11:12:21

6         A.    He travels a lot. So I quite likely got             11:12:25

7     e-mails from him when I didn't see him in the office.         11:12:30

8         Q.    So you don't know where he is a lot of the          11:12:32

 9    time; is that fair?                                           11:12:33

10        A.    That's fair.                                        11:12:34

11        Q.    So you got e-mails from Mr. Levandowski when        11:12:37

12    you were working at Otto, but he wasn't sitting with          11:12:39

13    you in the office; right?                                     11:12:40

14        A.    I believe that's true, yes.                         11:12:45

15        Q.    So he wasn't in the office, you don't know          11:12:47

16    where he is, but he's e-mailing you about Otto; is            11:12:50

17    that fair?                                                    11:12:52

18        A.    That's fair.                                        11:12:53

19        Q.    And was that something that happened on a           11:12:58

20    regular basis?                                                11:12:59

21        MR. KIM: Objection; form.                                 11:12:59

22         THE WITNESS: I think that's fair.                        11:13:04

23    BY MR. JAFFE:                                                 11:13:04

24        Q.    So I want to talk about Fuji for a second           11:13:11

25    here.                                                         11:13:13

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1               In the Fuji design -- and we'll just go             11:13:17

2     cavity by cavity.                                             11:13:18

3               But for the mid-range cavity, there are three 11:13:20

4     transmit boards; right?                                       11:13:21

5         A.    Right.                                              11:13:23

6         Q.    And in the mid-range cavity, there are three        11:13:27

7     transmit boards and they are pointed -- and they're           11:13:30

8     parallel to one another; right?                               11:13:31

 9        A.    Right.                                              11:13:31

10        Q.    The transmit lens for the mid-range cavity is 11:13:37

11    less in width than the width of the transmit boards;          11:13:43

12    right?                                                        11:13:44

13        MR. KIM: Objection; form.                                 11:13:44

14         THE WITNESS: Could you clarify. I'm confused             11:13:50

15    which lens you're referring to.                               11:13:52

16    BY MR. JAFFE:                                                 11:13:52

17        Q.    Yes. Let me just mark something and make            11:13:56

18    this easier.                                                  11:13:57

19        MR. JAFFE: And we'll have this be 151.                    11:14:04

20              (Plaintiff's Exhibit 151 was marked.)

21        MR. KIM: At some point -- we've been going for I          11:14:10

22    think over an hour -- if we can take a break. You can 11:14:12

23    ask your line of questions. I'm just saying at a              11:14:15

24    convenient time.                                              11:14:16

25        MR. JAFFE: Sure.                                          11:14:16

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1     BY MR. JAFFE:                                                 11:14:16

2         Q.    So if you can turn to page 4.                       11:14:23

3         MR. KIM: What are we looking at? Is this marked? 11:14:29

4         MR. JAFFE: Yes, I just marked it as 151.                  11:14:34

5         MR. KIM: Do you have an extra copy or --                  11:14:34

6         MR. JAFFE: Oh, I thought I handed it to you.

7     Apologies. Here you go.

8         MR. KIM: Thanks.

 9    BY MR. JAFFE:                                                 11:14:34

10        Q.    So if you can turn to page 4, please.               11:14:39

11              This is a depiction of the CAD drawing of the 11:14:44

12    Fuji design; right?                                           11:14:45

13        A.    Right.                                              11:14:45

14        Q.    So let's take the right-hand side.                  11:14:47

15              Do you see there's the transmit path?               11:14:49

16        A.    Yes.                                                11:14:49

17        Q.    And there are three boards and they're              11:14:52

18    parallel to one another?                                      11:14:53

19        A.    Yes.                                                11:14:53

20        Q.    And then do you see the transmit lens at the        11:14:56

21    top?                                                          11:14:57

22        A.    Yes.                                                11:14:57

23        Q.    The width of the transmit lens is smaller           11:15:01

24    than -- you know, if you were to go from one -- from          11:15:09

25    the leftmost transmit board to the rightmost transmit         11:15:13

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1     board; right?                                                 11:15:13

2         A.    They look very close.                               11:15:17

3         Q.    But they're not very close?                         11:15:19

4         MR. KIM: Objection; form.                                 11:15:21

5          THE WITNESS: If you're telling me the transmit           11:15:22

6     lens is smaller, I would not dispute that.                    11:15:25

7     BY MR. JAFFE:                                                 11:15:25

8         Q.    I'm not trying to tell you anything.      I'm

 9    trying to ask you because you helped come up with this        11:15:29

10    design.   So if you don't know, that's fine, but I'm          11:15:32

11    just trying to ask the question here.                         11:15:34

12        A.    Yes, the transmit lens appears to be what I         11:15:42

13    would say narrower than the grouping of transmit              11:15:46

14    boards.                                                       11:15:47

15        Q.    Great.                                              11:15:48

16              My question is, how do you get the beams to         11:15:50

17    go into the transmit lens if the transmit lens is             11:15:55

18    narrower than the width of the transmit boards?               11:15:58

19        MR. KIM:    Objection; form.                              11:15:58

20    BY MR. JAFFE:                                                 11:15:58

21        Q.    In the Fuji design.                                 11:16:01

22        A.    (Indecipherable.)

23         THE REPORTER:    I'm sorry?                              11:16:08

24         THE WITNESS:    The fast-axis collimation lens           11:16:15

25    collimates the light coming out of the laser diodes           11:16:21

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1                                                                   11:16:25

2     BY MR. JAFFE:                                                 11:16:25

3         Q.    What do you mean, "necessarily"?                    11:16:26

4         A.    Any time you have a lens placed in                  11:16:32

5     relationship to the source of light, the lateral              11:16:38

6     resolution -- wrong word -- the lateral relationship          11:16:42

7     between a light source and a lens will dictate the            11:16:47

8     exit angle of the light coming out of that lens.              11:16:50

 9              So if you want the light to go straight, you        11:16:54

10    have to carefully place the FAC lens, or fast-axis            11:16:59

11    collimation lens, in a position that will cause the           11:17:04

12    light to exit perhaps parallel to the board, if you           11:17:07

13    want that.                                                    11:17:08

14        Q.    So in the Fuji design -- and we'll call it          11:17:11

15    the FAC lens for the benefit of the court reporter            11:17:13

16    here --



                                          is that fair?             11:17:26

19        MR. KIM: Objection; form.                                 11:17:26

20         THE WITNESS: Maybe I don't like the word

                                                             And 11:17:38

22    so to clarify, the FAC lens precollimates the light           11:17:44

23                                                                  11:17:47

24    BY MR. JAFFE:                                                 11:17:47

25        Q.                                                        11:17:49

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                            right?                                       11:17:50

2         MR. KIM: Objection; form.                                      11:17:50

3     BY MR. JAFFE:                                                      11:17:50

4         Q.    That's all I mean by                                     11:17:54

5         MR. KIM: Objection; form.                                      11:17:54

6          THE WITNESS: On two of our laser boards, the                  11:17:59

7



                                                                         11:18:11

10    BY MR. JAFFE:                                                      11:18:11

11        Q.    Okay. So I don't have real-time, so I'm                  11:18:18

12    going to try and just repeat back to make sure I                   11:18:21

13    understand what you said.                                          11:18:22

14              The fast-axis collimation -




                                                            true?        11:18:42

18        MR. KIM: Objection; form.                                      11:18:42

19         THE WITNESS: True as long as we clarify                       11:18:48

20    horizontal is horizontal in the drawing.                           11:18:51

21    BY MR. JAFFE:                                                      11:18:51

22        Q.    So if anyone testified or said that there's              11:18:57

23                                                        that would     11:19:01

24    be wrong; right?                                                   11:19:02

25        MR. KIM: Objection; form.                                      11:19:02

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1          THE WITNESS: Not necessarily. The word                   11:19:05

2                 in LiDAR often means

                                                                    11:19:13

4     BY MR. JAFFE:                                                 11:19:13

5         Q.    I see.                                              11:19:13

6               So it's just kind of -- if they said there's        11:19:18

7                   they could be right, but they could be          11:19:21

8     wrong?                                                        11:19:21

 9        MR. KIM: Objection; form.                                 11:19:21

10         THE WITNESS: Could.                                      11:19:23

11    BY MR. JAFFE:                                                 11:19:23

12        Q.    And if someone said



                                      ; right?                      11:19:32

15        MR. KIM: Objection; form.                                 11:19:32

16         THE WITNESS: Too many words at once. Could you           11:19:36

17    repeat your last question.                                    11:19:38

18        MR. JAFFE: Why don't we just have the court               11:19:47

19    reporter repeat it.

20              (Record read by reporter as follows:

21              "Question: And if someone said it's

22



                                 right?")                           11:19:47

25        MR. KIM: Objection; form.                                 11:19:47

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1            THE WITNESS: If they say it's                  yes, they 11:19:52

2     are not necessarily denying the fact that

                                                                       11:19:57

4     BY MR. JAFFE:                                                    11:19:57

5         Q.     Sorry. There was a missing word there.                11:19:59

6                If they say it's not                  --              11:20:01

7         A.     Oh.

8         Q.     -- they're not denying that it

                                                                       11:20:08

10    true?                                                            11:20:08

11        MR. KIM: Objection; form.                                    11:20:08

12           THE WITNESS: If I were to say it's not                    11:20:18

13    I would not be denying that                                I     11:20:21

14    can't tell you what they would say.                              11:20:22

15        MR. JAFFE: Okay. Why don't we take our first                 11:20:27

16    break.                                                           11:20:28

17           THE VIDEOGRAPHER: We are off the record at 11:20          11:20:31

18    a.m.                                                             11:20:31

19               (Recess taken.)                                       11:20:31

20           THE VIDEOGRAPHER: We're back on the record at             11:33:47

21    11:33 a.m.                                                       11:33:49

22    BY MR. JAFFE:                                                    11:33:49

23        Q.     Welcome back.                                         11:34:13

24        A.     Thank you.                                            11:34:14

25        Q.     Last Thursday it was reported in the press            11:34:19

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1     that Mr. Levandowski was demoting himself in some way. 11:34:26

2               Are you familiar with that?                         11:34:27

 3        A.    I'm familiar with the announcement that his         11:34:31

4     position was changing. I only take issue with your            11:34:37

 5    comment -- or your phrase that says he was demoting           11:34:40

6     himself. I don't know who decided his position should 11:34:45

 7    change.                                                       11:34:45

8         Q.    I see.                                              11:34:45

9               So you don't know who actually decided that         11:34:49

10    his position should change?                                   11:34:51

11        A.    Correct.                                            11:34:51

12        Q.    And do you take issue with the idea that he         11:34:54

13    was demoted in some way?                                      11:34:56

14        A.    Not necessarily.                                    11:34:58

15        Q.    Okay. So if I call it his demotion, that's a 11:35:03

16    fair statement?                                               11:35:03

17        A.    I won't argue with that.                            11:35:05

18        Q.    So how did you find out about                       11:35:09

19    Mr. Levandowski's demotion?                                   11:35:12

20        A.    I received an e-mail. I believe the whole           11:35:16

21    company received an e-mail describing that change.            11:35:21

22              I want to say Anthony sent the e-mail, but          11:35:25

23    I'm not 100 percent positive on that.                         11:35:28

24

                                                                    11:35:36

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 1                                                                  11:35:38

2                                                                   11:35:43

 3                                                                  11:35:46

4

1         •
I

I

1
I




                                                                    11:36:13

13    BY MR. JAFFE:                                                 11:36:13

14        Q.    Before that e-mail on Thursday, there was no        11:36:18

15    sort of company policy excluding Mr. Levandowski from         11:36:23

16    providing input onto LiDAR; right?                            11:36:27

17         MR. KIM:   Objection; form.                              11:36:27

18        THE WITNESS:    I'm not aware of any policy before        11:36:31

19    that date regarding excluding him from any aspect of          11:36:35

20    any work at the company.                                      11:36:36

21    BY MR. JAFFE:                                                 11:36:36

22        Q.    Including LiDAR?                                    11:36:41

23        A,    Including LiDAR,                                    11:36:41

24        Q.    So you never received any sort of special           11:36:45

25    instructions about what you could and couldn't do             11:36:47

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1     working with Mr. Levandowski before last Thursday; is         11:36:52

2     that fair?                                                    11:36:53

3         A.    That seems -- yeah, that's a true statement.        11:36:58

4         Q.    Are you aware of anyone else receiving              11:37:00

5     special instructions about what they could and                11:37:02

6     couldn't do in working with Mr. Levandowski before            11:37:05

7     last Thursday?                                                11:37:06

8         MR. KIM: Objection; form.                                 11:37:06

 9         THE WITNESS: I'm not aware of anything like that. 11:37:10

10    BY MR. JAFFE:                                                 11:37:10

11        Q.    So before last Thursday Mr. -- as far as you        11:37:14

12    know, Mr. Levandowski was free to provide input into          11:37:18

13    all parts of the self-driving project, including LiDAR 11:37:20

14    and other parts; right?                                       11:37:24

15        MR. KIM: Objection; form.                                 11:37:24

16         THE WITNESS: That's my understanding.                    11:37:26

17    BY MR. JAFFE:                                                 11:37:26

18        Q.    And today as of right now, he's free to             11:37:32

19    provide input into all parts of the self-driving              11:37:36

20    project except for LiDAR?                                     11:37:38

21        MR. KIM: Objection; form.                                 11:37:38

22         THE WITNESS: I don't recall if there was any             11:37:45

23    other restrictions, but definitely LiDAR was mentioned 11:37:48

24    specifically.                                                 11:37:52

25    BY MR. JAFFE:                                                 11:37:52

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 1        Q.    You don't recall whether there were any other 11:37:54

2     restrictions in the e-mail?                                   11:37:56

 3        A.    In the e-mail, correct.                             11:37:57

4         Q.    I see. Okay. So let me try this again.              11:38:00

 5              So apart from the restrictions that are             11:38:02

6     stated in the e-mail, you're not -- today you're not          11:38:04

 7    aware of any other limitations on Mr. Levandowski's           11:38:08

 8    input into the self-driving project?                          11:38:11

 9        A.    Correct, I'm not aware of any such additional 11:38:13

10    limitations.                                                  11:38:14

11        •
                                                                    11:38:20

13         MR. KIM: Objection; form.                                11:38:22

14        THE WITNESS:                                              11:38:23

15    BY MR. JAFFE:                                                 11:38:23

16



                                                                    11:38:32

19         MR. KIM: Objection; form.                                11:38:36

20        THE WITNESS:                                              11:38:38

21    BY MR. JAFFE:                                                 11:38:38

22        Q-

23

24

25        ■                                                         11:38:47

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 1         MR. KIM: Objection; form.                                11:38:48

2     BY MR. JAFFE:                                                 11:38:48

3                                                                   11:38:52

4                                                                   11:38:54

 5         MR. KIM: Objection; form.                                11:38:55

6         THE WITNESS:                                              11:38:56

7

                                                                    11:39:02

 9    BY MR. JAFFE:

10




          •

          ■                                                         11:39:22

19               Just for the purposes of the record, can you       11:39:23

20    just explain what you mean by that for a lay audience. 11:39:26

21        A.     So again, my understanding of how our              11:39:29

22    autonomous software works, is limited -- with that            11:39:34

23    preface, I would suggest my understanding of the              11:39:37

24    perception team is to take LiDAR and other sources of         11:39:42

25    data and determine what objects exist outside the             11:39:50

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1     vehicle.                                                      11:39:52

2                If you refer generically to a compute team,        11:39:58

3     there may be other aspects of software after or               11:40:01

4     downstream in the data path after perception that             11:40:05

5     would need to use data that the perception software           11:40:09

6     generates in order to determine the car's proper              11:40:15

7     driving course.                                               11:40:17

8           Q.   So even today -- well, actually, let me back       11:40:22

 9    up.                                                           11:40:22

10               What is "perception" in this context?              11:40:25

11          A.   In this context, my use of the word                11:40:29

12    "perception" would be software that takes sensored            11:40:36

13    data input from LiDAR, camera, radar, possibly                11:40:42

14    inertial measurement sensors, wheel sensors, to               11:40:49

15    identify distinct objects in the world around it and          11:40:54

16    possibly classify those objects in terms of perhaps,          11:41:00

17    for example, being a person, a pedestrian, another car 11:41:06

18    or a bus and passing that information to the next             11:41:12

19    layers of software that could exist.                          11:41:15

20          Q.   And in the context of our conversation, what       11:41:18

21    does the compute team do?                                     11:41:20

22          A.   So this would be a vague term. I can only          11:41:24

23    guess what you might be hinting at, but I know that           11:41:27

24    there are other software and software groups writing          11:41:32

25    software that operate on an autonomous vehicle.               11:41:37

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 1        Q.      What is a software that decides when to turn      11:41:39

2     and when to stop? What is that called within Uber?            11:41:43

 3        A.     If I'm not mistaken, I believe that is called 11:41:45

4     planning.                                                     11:41:46

5

I                                                                   11:41:51

 7         MR. KIM: Objection; form.                                11:41:53

 8        THE WITNESS:                                              11:41:57

 9

                                                                    11:42:04

11    BY MR. JAFFE:                                                 11:42:04

12        Q.     And you understand that the planning software 11:42:06

13    leverages LiDAR data; right?                                  11:42:09

14         MR. KIM: Objection; form.                                11:42:13

15        THE WITNESS: I want to be specific and say I              11:42:16

16    don't know whether the planning software leverages            11:42:19

17    native LiDAR data or data that's output from the              11:42:24

18    perception software. I just don't know.                       11:42:28

19    BY MR. JAFFE:                                                 11:42:28

20        Q.     Let's be clear, though.                            11:42:29

21               The planning software leverages data that          11:42:32

22    came from the LiDAR?                                          11:42:34

23        A.     Yes.                                               11:42:34

24        Q.     You don't dispute that; right?                     11:42:36

25        A.     No.                                                11:42:36

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1         Q.    Okay.                                               11:42:39

2         MR. JAFFE: Let's mark -- this will be 152.                11:43:26

3          THE REPORTER: Correct.                                   11:43:26

4     It's the supplemental declaration, 152?

5         MR. JAFFE: Correct.

6          THE REPORTER: I think you need this one.

7               (Plaintiff's Exhibit 152 was marked.)               11:43:29

8     BY MR. JAFFE:                                                 11:43:29

 9        Q.    Did I give you two copies?                          11:43:55

10        A. Yeah.

11        Q.    Mr. Haslim, whose idea was it for you to            11:44:05

12    write this supplemental declaration?                          11:44:08

13        MR. KIM: Objection to the extent it calls for             11:44:12

14    privileged information.                                       11:44:14

15              Instruct you not to answer or                       11:44:18

16    reveal -- answer to the extent it reveals any                 11:44:23

17    privileged communications with any attorneys.                 11:44:27

18         THE WITNESS: So I would say the legal team               11:44:33

19    working for Uber instructed this.                             11:44:37

20    BY MR. JAFFE:

21        Q.    And I don't want to get into properly               11:44:40

22    privileged conversations. All I want to ask is, in            11:44:46

23    terms of this document, 152, your declaration, was it         11:44:49

24    something where you said, I want to put in a new              11:44:52

25    declaration or someone approached you and said, we            11:44:54

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1     want a new declaration?                                       11:44:56

2         MR. KIM: And, again, you can answer whether or            11:44:59

3     not it was done at the direction of counsel, but don't 11:45:03

4     reveal any privileged communications with counsel.            11:45:07

5          THE WITNESS: Okay. So this was generated at the          11:45:11

6     instruction of counsel.                                       11:45:12

7     BY MR. JAFFE:                                                 11:45:12

8         Q.    Okay. So we're clear, the lawyers -- and I          11:45:17

 9    don't want to get into the substance of any                   11:45:18

10    communications here, but just for the purposes of the         11:45:21

11    record, your supplemental declaration was put together 11:45:26

12    at the request of Uber's lawyers; fair?                       11:45:30

13        A.    Yes.                                                11:45:30

14        Q.    Since our last deposition, have you discussed 11:45:39

15    any content of your declarations or the deposition            11:45:42

16    with any nonlawyers?                                          11:45:50

17        A.    I don't recall any substantive discussion           11:45:53

18    with nonlawyers.                                              11:45:55

19        Q.    Have you spoken with Mr. Levandowski about          11:45:58

20    the subject matter of this case?                              11:46:01

21        A.    Not in any substantive way.                         11:46:06

22        Q.    At all?                                             11:46:07

23        A.    It's probably -- yes.                               11:46:11

24        Q.    What did you and Mr. Levandowski discuss?           11:46:14

25        MR. KIM: And I want to caution you -- if you had          11:46:17

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1     any of these discussions in the presence of lawyers,          11:46:20

2     would caution you not to reveal any privileged                11:46:22

 3    communications.                                               11:46:25

4         THE WITNESS:    This jovial, high-level,                  11:46:30

5     nonsubstantive discussion -- "discussion" is almost a         11:46:35

6     strong term.    How about, how are you doing, how are         11:46:39

 7    you feeling?                                                  11:46:40

8     BY MR. JAFFE:                                                 11:46:40

9         Q.    Please tell me everything that you remember         11:46:44

10    about the conversations that you had with                     11:46:46

11    Mr. Levandowski about the subject matter of this case?        11:46:50

12




                                                                    11:47:15

18         MR. KIM: Objection; form.                                11:47:17

19        THE WITNESS:                                              11:47:17

20    BY MR. JAFFE:                                                 11:47:17

21




                                                                    11:47:26

25        Q. Sorry. Continue.                                       11:47:30

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 1                                                                      IN—

 2                                                                  •         11:47:41

I                                                                             11:47:44

 4                                                         Ir----             11:47:45

 5         Q.   Anything else?                                                11:47:46

 6        N
I
I                                                          I

I
II        •

II
II                                                                            11:48:13

13         Q.   Anything else?                                                11:48:15

14        A. No.                                                              11:48:15

15        •




18        II III                                                              11:48:25

19         Q.   Why not?                                                      11:48:26

20        A.    I don't know.                                                 11:48:29

21         Q.   You don't care?                                               11:48:30

22        A.    No.                                                           11:48:31

          •




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 1                                                                  11:48:40

 2                                                                  11:48:44

 3                                                                  11:48:54

 4

1

I                             N
I         N
1         •
I

II

II

II        N
II        N
II

II                                                                  11:49:32

16           Q.   You're aware that Mr. Levandowski, when asked 11:49:36

17    whether these files were at tXber, pled the Fifth             11:49:41

18    Amendment to avoid self-incrimination; right?                 11:49:46

19           MR. KIM: Objection; form.                              11:49:47

20           THE WITNESS: I've read articles that said that,        11:49:48

21    yes.                                                          11:49:49

22    BY MR. JAFFE:                                                 11:49:49

23        II



                                                                    11:49:59

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1         MR. KIM: Objection; form.                                 11:50:00

2          THE WITNESS: I'm sorry.                                  11:50:01

3     BY MR. JAFFE:                                                 11:50:01

4         Q.    You think it's a joke?                              11:50:02

5         A.    I think it's impossible, in my opinion, that        11:50:07

6     those files would be at Uber.                                 11:50:10

7         Q.    How can you possibly know?                          11:50:14

8         A.    I cannot know, but it strikes me as                 11:50:18

 9    ridiculous.                                                   11:50:19

10        Q.    It strikes you as ridiculous?                       11:50:21

11        A.    Yeah.                                               11:50:21

12        Q.    You think it's ridiculous that                      11:50:24

13    Mr. Levandowski pleads his constitutional right to            11:50:26

14    avoid self-incrimination when asked where these files

15    are and it's ridiculous for us to ask where they are;         11:50:32

16    that's what you think?                                        11:50:34

17        MR. KIM: Objection; form.                                 11:50:36

18         THE WITNESS: You're asking my personal opinion.          11:50:38

19    I think it's extremely unlikely to the point of               11:50:43

20    ridiculous that those files are on a computer somehow         11:50:47

21    at Uber after all of the forensics that were done on          11:50:53

22    Anthony's computer, as it was described to us, after          11:50:58

23    all the searching of all the hard drives that we can          11:51:02

24    come up with.                                                 11:51:03

25    BY MR. JAFFE:                                                 11:51:03

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 1           Q.   You do know that no one has searched              11:51:07

2     Mr. Levandcwski's personal computer; right?                   11;51:10

 3           MR. KIM: Objection; form.                              11:51:10

4            THE WITNESS: I have read that in an article or         11:51:12

      two.                                                          11;51;14

 5    BY MR. JAFFE:                                                 11;51;14

 7           Q.   And he's refusing to turn those over, again       11:51:17

 8    based on his rights to avoid incriminating himself?           11:51:23

 9           MR. KIM: Objection; form.                              11:51:24

10           THE WITNESS: That's my understanding.                  11:51:25

11    BY MR. JAFFE:                                                 11:51:25

12

                                                                    11;51:31

14           MR. KIM: Objection; form.                              11:51:31

15



                                                                    11:51:40

18    BY MR. JAFFE:                                                 11:51:40

19



                                                                    11:51:48

22           MR. KIM: Objection; form.                              11:51:50

23           THE WITNESS: Is that a question?                       11;51;51

24    BY MR. JAFFE:                                                 11;51;51

25                                                                  11:51:53

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 1         MR. KIM: Objection; form.                                11:51:54

2         THE WITNESS:                                              11:51:55

 3    BY MR. JAFFE:                                                 11:51:55

4         Q.    Do you take intellectual property rights            11:51:59

 5    seriously?                                                    11:52:01

6         A.    Yes.                                                11:52:01

 7        Q.    Do you think it's wrong for one company to          11:52:03

 8    steal another company's intellectual property rights?         11:52:07

 9        A.    Yes.                                                11:52:07

10        Q.    Do you think that's a joke?                         11:52:10

11        A.    No.                                                 11:52:10

12        Q.    Do you think that's something that should be        11:52:12

13    taken seriously?                                              11:52:15

14        A.    Yes.                                                11:52:15

15



                                                                    11:52:31

18         MR. KIM: Objection; form.                                11:52:35

19        THE WITNESS:                                              11:52:36

20    BY MR. JAFFE:                                                 11:52:36

21        Q.                                                        11:52:40

22         MR. KIM: Same objection.                                 11:52:42

23         THE WITNESS:                                             11:52:44

24

                                                                    11:52:49

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 1    BY MR. JAFFE:                                                 11:52:49

2         •
3                                                                   11:52:56



                                                                    11:53:02

6          MR. KIM: Objection; form.                                11:53:05

 7        THE WITNESS: I don't know.                                11:53:06

 8    BY MR. JAFFE:                                                 11:53:06

 9        Q.    You don't know?                                     11:53:07

10




                                                                    11;53:28

17        Q.    Okay. Turning back to your supplemental             11:53:38

18    declaration, which is 151. Let's go to paragraph 13.          11:53:46

19              Actually, before we get there, start with           11:53:51

20    paragraph 7.                                                  11:53:53

21              Here you're talking about the fiber lasers in 11:54:00

22    the Spider design; right?                                     11:54:01

23        A.    Sorry. 152 or 151?                                  11:54:05

24         Q.   152. Excuse me.                                     11:54:07

25        A.    Sorry.                                              11:54:08

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1                (Witness reviews document.)                             11:54:26

2         A.     Repeat your question, please.                           11:54:27

3         Q.     Paragraph 7 of your supplemental declaration, 11:54:30

4     Exhibit 152, is talking about the design of the fiber              11:54:32

5     laser in the Spider?                                               11:54:36

6         A. Yes. Yes.                                                   11:54:37

7         Q.     You don't mention Mr. Levandowski's                     11:54:40

8     involvement in paragraph 7, do you?                                11:54:43

 9        A.     No.                                                     11:54:43

10        Q.     You don't mention that Mr. Levandowski                  11:54:45

11    pointed you to            right?                                   11:54:52

12        A.     No.                                                     11:54:52

13        Q.     You don't mention his role in the design of             11:54:55

14    the laser at all in paragraph 7, do you?                           11:54:58

15        A.     No.                                                     11:55:00

16        Q.     All right. Let's go to paragraph 13, talking 11:55:13

17    about Fuji again. So here you're pointing -- you                   11:55:27

18    excerpt a document that you say discusses beam spacing 11:55:32

19    and angles for the Fuji design; is that right?                     11:55:35

20        A.     Yes.                                                    11:55:36

21        Q.     And just looking at what's depicted here,               11:55:41

22    where is                                            mentioned?     11:55:47

23        A. Neither                  are mentioned, nor

                                  However, it can be implied             11:56:00

25    from                             and it can be implied             11:56:06

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1     from

                                                                       11:56:14

3         Q.     Again, there's no mention in what you're              11:56:20

4     depicting here of

                        right?                                         11:56:25

6         A.      There's no depiction of

                 There's no depiction of

                                                                       11:56:41

 9           THE REPORTER:                                             11:56:41

10           THE WITNESS:    Two cavities.

11           THE REPORTER:    Two cavities.      T-o?

12           THE WITNESS:    T-w-o.

13           THE REPORTER:    Thank you.

14    BY MR. JAFFE:                                                    11:56:41

15        Q.      The Fuji project, who came up with the idea          11:56:51

16    to have 64 channels?                                             11:56:53

17        A.      I'm not sure.    I believe early on we               11:57:04

18    discussed making a Velodyne replacement that has 64              11:57:09

19    beams.    At some point, I was considering whether we            11:57:12

20    could put more channels on to make it better.          And I     11:57:17

21    believe, if my recollection serves, working with                 11:57:19

22    Scott, came to the conclusion that more beams would              11:57:26

23    change the timing between subsequent shots of the same           11:57:31

24    laser and would have an effect on the horizontal                 11:57:34

25    spacing of those measurements.                                   11:57:37

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1         Q.    Who came up with                                    11:57:45

2     for Fuji?                                                     11:57:46

3         A.    I would say that was a decision reached by me 11:57:56

4     with collaboration with my electrical engineer Florin         11:58:00

5     Ignatescu.                                                    11:58:02

6         Q.    Anyone else?                                        11:58:07

7         A.    I believe the discussion of the                     11:58:13

8     also involved Gaetan as it pertains to the performance 11:58:20

9     of his lens and how it would work with                        11:58:25

10    I'm sure we informed other people. Scott may have             11:58:34

11    been in the office when we were making this decision          11:58:36

12    as well. Dan Gruver would probably be informed as             11:58:41

13    well, but I don't recall Dan playing any role in that         11:58:45

14    decision.                                                     11:58:45

15        Q.    Who was involved in coming up with

                                                                    11:58:50

17        MR. KIM: Objection; form.                                 11:58:53

18         THE WITNESS: In coming up with                   I       11:58:57

19    would say that was primarily me and the electrical            11:59:00

20    engineer, Florin.                                             11:59:02

21    BY MR. JAFFE:

22        Q.    And then you discussed it with the LiDAR            11:59:05

23    team?                                                         11:59:07

24        MR. KIM: Objection; form.                                 11:59:09

25         THE WITNESS: Yes.                                        11:59:09

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1     BY MR. JAFFE:                                                 11:59:09

2         Q.    And did you ever discuss the idea to use

                        with Mr. Levandowski?                       11:59:19

4         A.    No, not that I recall.                              11:59:22

5         Q.    So when you were presenting the pivot to            11:59:27

6     Mr. Levandowski, it never came up how many transmit           11:59:30

7     boards there would be?                                        11:59:31

8         A.    No.                                                 11:59:31

 9        Q.    He had no idea?                                     11:59:33

10        A.    He had no idea.                                     11:59:34

11        Q.    And you never discussed with Mr. Levandowski        11:59:40

12    the details of the Fuji design in terms of the number         11:59:43

13    of transmit boards; is that true?                             11:59:45

14        A.    I don't recall having any discussion like           11:59:48

15    that at all.                                                  11:59:49

16        Q.    So you're saying you don't recall? I just           11:59:53

17    want to be clear.                                             11:59:55

18        A.    Yes.                                                11:59:56

19        Q.    So I'll ask my question again.                      11:59:58

20              Have you ever discussed with Mr. Levandowski        12:00:01

21    the number of transmit boards in the Fuji design?             12:00:05

22        MR. KIM: Objection; form.                                 12:00:07

23         THE WITNESS: I don't recall having any discussion 12:00:11

24    about the number of transmit boards.                          12:00:14

25    BY MR. JAFFE:                                                 12:00:14

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1         Q.    Are you aware of any conversations between          12:00:17

2     Mr. Gruver or Mr. Pennecot and Mr. Levandowski                12:00:20

3     regarding the number of transmit boards in the Fuji           12:00:24

4     design?                                                       12:00:24

5         MR. KIM: Objection; form.                                 12:00:26

6          THE WITNESS: I am not aware.                             12:00:28

7     BY MR. JAFFE:                                                 12:00:28

8         Q.    So it's possible that they have discussed           12:00:29

 9    this issue with them, you wouldn't know that; right?          12:00:32

10        A.    I wouldn't know that.                               12:00:34

11        Q.    So you're not saying that Mr. Levandowski has       12:00:36

12    never had discussions or input into the idea to use           12:00:40

13                           right?                                 12:00:43

14        MR. KIM:    Objection; form.                              12:00:46

15         THE WITNESS:   What I am saying is that Anthony          12:00:48

16    never had input into my decision with my electrical           12:00:55

17    engineer to put                                               12:01:00

18    BY MR. JAFFE:                                                 12:01:00

19        Q.    Right.                                              12:01:00

20              But you talked about that decision with             12:01:02

21    Mr. Gruver, for example; right?                               12:01:03

22        A.    I think discussions with Gruver came later,         12:01:07

23    yeah.                                                         12:01:07

24        Q.    Or Mr. Pennecot, for example?                       12:01:10

25        A.    Mr. Pennecot was probably consulted in that         12:01:13

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1     process as well.                                              12:01:14

2         Q.    And you're not aware and you can't testify,         12:01:16

3     sitting here today, whether either of those two               12:01:19

4     gentleman discussed this idea with Mr. Levandowski; is 12:01:23

5     that right?                                                   12:01:24

6         MR. KIM: Objection; form.                                 12:01:25

7          THE WITNESS: I couldn't say.                             12:01:25

8     BY MR. JAFFE:

 9        Q.    So in your declaration or in anywhere, can't        12:01:28

10    say that Mr. Levandowski had no input into the number         12:01:32

11    of boards because you don't know all the conversations 12:01:35

12    that Mr. Levandowski had; fair?                               12:01:37

13        MR. KIM: Objection; form.                                 12:01:37

14         THE WITNESS: No, I disagree with that.                   12:01:39

15    BY MR. JAFFE:                                                 12:01:39

16        Q.    Why?                                                12:01:41

17        A.    When you go so far as to say input into the         12:01:44

18    design, I don't see how some conversation with Anthony 12:01:49

19    could have influenced what I saw as a need to split           12:01:53

20    the lasers

                                                                    12:01:58

22        Q.    So where did you get that idea from?                12:02:01

23        A.    I don't recall where the idea came from, but        12:02:12

24    it seemed like a requirement from the beginning.              12:02:16

25        Q.    What does that mean?                                12:02:17

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          A.      We knew that we were placing edge-emitting          12:02:22

      laser diodes on a flat PCB.                                     12:02:26

          Q.    And that was the PCB that Mr. Pennecot                12:02:29

      designed; right?                                                12:02:29

          A.      Yes.                                                12;02:29

          Q.    And that's the board that eventually was sent         12:02:35

      to Gorilla in December?                                         12:02:38

          A.    That was one of the boards.                           12:02:40

                  So when we knew we were placing these boards        12:02:48

10    flat onto a PCB, edge-emitting diodes, and we realized          12:02:53

11    they

                                                                 as   12:03:01

13    I recall,

                                                was obvious.          12:03:08

15         Q      I see.                                              12:03:08

16                Sc you got the board design from Mr. Pennecot       12:03:13

17    and you knew you wanted 64 channels because you                 12:03:17

18    were -- wanted to do something similar to what                  12:03:21

19    Velodyne was doing and then derivative from that is             12:03:25

20    how you got to                     7                            12:03:28

21         MR. KIM:      Objection; form.                             12:03:29

22         THE WITNESS:      That's taking it actually out of         12:03:32

23    sequence.                                                       12:03:33

24    BY MR. JAFFE:                                                   12:03:33

25        Q.    Okay.      Can you put it in sequence, please.        12:03:36

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 1            A.    Yes.                                                  12:03:36

2                     We knew we needed a laser circuit, so I had         12;03;40

 3        Florin design multiple laser circuits onto a board for 12:03:45

4         test and evaluation. We picked one of those circuits            12:03:48

 5        that we thought performed the best.         He began            12;03:51

6         considering the size of his circuit in one of those -- 12:03:56

 7        I believe it was 10 different circuits. The one we              12:03:59

 8        chose, he could look at the design of it and tell me            12:04:02

 9        the size.                                                       12;04;04

10                  So at this point, as I recall, Gaetan did not 12:04:10

11        have a laser board design in his CAD model. He had a            12:04:20

12        lens design. He may have had -- I even doubt he had             12:04:26

13        taken that into CAD yet.                                        12;04:29

14            Q.    So I'm a little bit confused.                         12:04:32

15                    Where did the idea to have                 come     12:04:34

16        from?                                                           12;04;35

17   I        •
■                                                             The need to 12:04:49

19                                   developed quickly between            12:04:56

20        Florin and I looking at the size of the circuit,                12;04:59

21        knowing when Scott Boehmke defines a certain

                                                  when Gaetan has         12:05:08

23        designed a lens that has a 150 millimeter focal                 12;05;13

24        length, it becomes apparent that the

                                                                          12:05:19

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1

                                                                       12:05:24

3                It was obvious to me that wasn't going to             12:05:26

4     work and we would have to

                 Later we went back and looked closer, and I           12:05:33

6     realized, wait a minute,

               So we can't put circuits on



                                                                       12:05:47

10               Furthermore, we were starting to look at              12:05:50

11    components on the receiver. We saw components on the             12:05:53

12    receiver that were themselves                                    12:05:58

13    Those were high voltage components.         They needed          12:06:00

14    additional space between them as well.          So it seemed     12:06:01

15    pretty clear at the time                               was not   12:06:05

16    going to work, so we said                            Florin      12:06:09

17    thought he could                            .                    12:06:14

18              So that ended up with

                 We already had decided two cavities to make           12:06:20

20    64 channels, so that ended up with                               12:06:24

21    in the sensor.                                                   12:06:25

22        Q.     Where are the documents that reflect the              12:06:27

23    discussions that you were just talking about?                    12:06:31

24        A.     We did not document our discussions.                  12:06:33

25        Q.    Okay.   So there are no -- there's no                  12:06:35

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1     documentary evidence to evidence -- to support what                12:06:39

2     you just said?                                                     12:06:40

3           MR. KIM: Objection; form.                                    12:06:42

4     BY MR. JAFFE:                                                      12:06:42

5           Q.   Is that fair?                                           12:06:42

6           A.   Not quite.                                              12:06:43

7                We have documents showing and indicating to             12:06:47

8     us what the vertical angles were to be for the sensor              12:06:52

 9    as specified by Scott Boehmke. We have a lens design               12:06:57

10    that's documented from Gaetan. We have the original                12:07:03

11    circuit Florin had developed for testing out lasers.               12:07:10

12               At that point, the documentation stopped.               12:07:14

13    And we don't have documents for discussions describing 12:07:22

14    how

                                                                         12:07:27

16          Q.   Okay. So I just want to run through that                12:07:30

17    real quick.                                                        12:07:30

18               So you're saying that you got the idea for              12:07:34

19                 based on three things. One is the

                 of the diodes that you wanted. Two is the               12:07:43

21                               And three is the

                                                                         12:07:49

23               Generally, is that fair?                                12:07:53

24          A.   I'd like you to add a fourth, which is the              12:07:56

25                                                    and possibly a     12:08:04

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1

             .                                                        12:08:10

3         Q.     So that's part of the circuitry, though?             12:08:12

4         A. Yeah.

5         Q.     So if we say number 3 is the

                   would that capture everything that you're          12:08:19

7     talking about?                                                  12:08:20

8         A.     With the clarification that circuitry                12:08:22

 9    involves a channel, both receive and transmit, then I           12:08:26

10    can agree to that.                                              12:08:27

11        Q.     Fair enough.                                         12:08:28

12               So there were three, generally, things, now          12:08:29

13    that we've kind of established our terminology, that            12:08:33

14    you say --                                                      12:08:36

15        A.     Sorry. Did you include the focal length of           12:08:40

16    the lens Gaetan was designing?                                  12:08:41

17        Q.     No.                                                  12:08:41

18        A.     That's important.                                    12:08:43

19        Q.     Okay. So add that as number 4, focal length          12:08:48

20    of lens. All right.                                             12:08:51

21               So the                       that you're talking     12:08:54

22    about -- the issue that you're talking about there is           12:08:58

23    that



                       right?                                         12:09:08

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1         A.     I think you misspoke. The resulting



                                                                      12:09:20

4         Q.     I see.                                               12:09:21

5                So the fact that you needed to have the              12:09:23

6

                                                is that basically     12:09:31

8     it or am I messing it up again?                                 12:09:34

 9        MR. KIM: Objection; form.                                   12:09:35

10         THE WITNESS: It was the

                           --                                         12:09:39

12    BY MR. JAFFE:

13        Q.     I see.                                               12:09:39

14        A.     -- that required them eventually to

                                                                      12:09:45

16        Q.     And the

                          is that right?                              12:09:49

18        A. The



                                                                      12:09:59

21        Q.     And -- okay. And the spacing, that's what            12:10:08

22    Mr. Boehmke -- continue to mispronounce his name                12:10:14

23    probably correctly -- he provided to you in November            12:10:16

24    of 2016?                                                        12:10:17

25        A.     Yes, he provided the angular spacing, if I           12:10:20

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1     may.                                                               12:10:21

2            Q    Okay. We'll get to that a little bit later.            12:10:25

 3                Mr. Boehmke didn't provide you how many                12:10:29

4     boards to use; right?                                              12:10:30

 5        A.      Right.                                                 12:10:30

6            Q.   And then the FAC lens, that was provided by            12:10:35

 7    Mr. Pennecot; right?                                               12:10:36

8         A.      That is my understanding.                              12:10:39

9            Q.   He came up with the FAC lens design; right?            12:10:42

10        A.      That's my understanding.                               12:10:44

11           Q.   And it's a                        FAC lens; right?     12:10:47

12           MR. KIM: Objection; form.                                   12:10:48

13           THE WITNESS: It'S                                           12:10:51

14    BY MR. JAFFE:                                                      12:10:51

15           Q.   That's larger than -- sorry.                           12:10:53

16        A.      It's

                                                                         12:10:59

18           Q.   Do you know how large the FAC lenses are for           12:11:03

19    Velodyne's devices?                                                12:11:05

20        •
                                                                         12:11:16

23           Q.   Do you know how large it is?

24        A.      Are you asking diameter or are you asking

25    length?

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            Q.     To compare it to                                         12:11:17

            A.     To compare it to

                                                                            12:11:24

4           Q.     And so that lens design came from                        12:11:30

 5    Mr. Pennecot and the circuitry came from Florin; is                   12:11:33

6     that right?                                                           12:11:34

 7          A.      Yes.                                                    12:11:34

 8          Q.      So none of those folks came up with

                                                     right?                 12:11:45

10          MR. KIM:       Objection; form.                                 12:11:47

11          THE WITNESS:       They were certainly involved in the          12:11:49

12    decision to go to                                       because I     12:11:53

13    had to consult with them in terms of what would be                    12:11:56

14    possible for circuit spacing, in the case of Florin.                  12:12:00

15    And to make sure that Gaetan's group lens can handle                  12:12:06

16    the                                                                   12:12:09

17    BY MR. JAFFE:

18          Q.     And just to go back to your declaration here,            12:12:12

19    this diagram that you're showing in Figure 6 in                       12:12:16

20    paragraph 13, there's no discussion in here of

                                      right?                                12:12:22

22          A.     There's no discussion of

                 in Figure 6.    Although if you understand Figure          12:12:31

24    6, it could be easily derived.                                        12:12:36

25          Q.     That wasn't my question.                                 12:12:36

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1               My question is, there's no discussion o

                                          right?                    12:12:40

3         A.    Yes.                                                12:12:40

4         Q.    All right. So . . . is there any evidence           12:12:55

5     that you're aware of that Uber was considering a              12:13:03

6                 device before November 2016?                      12:13:12

7         A.    I'm not aware of anything.                          12:13:28

8         MR. JAFFE: This is going to be 153.                       12:13:31

 9    Actually . . . acutally, I'll come back to that.

10    BY MR. JAFFE:                                                 12:13:31

11        Q.    All right. Let's go to 151, your original           12:14:05

12    declaration, in particular, paragraph 18.                     12:14:15

13              So here you mention some custom beam spacing        12:14:39

14    provided by Mr. Boehmke on November 4th, 2016.                12:14:44

15              Do you see that?                                    12:14:44

16        A.    Yes.                                                12:14:44

17        Q.    And then later you said, "My team imported          12:14:48

18    this data."                                                   12:14:50

19        A. Um-hum. Yes.                                           12:14:57

20        Q.    You don't cite -- in your declaration, you          12:15:00

21    don't cite any contemporaneous document to support            12:15:05

22    this idea; right?                                             12:15:06

23        A.    Are you referring to the idea of importing          12:15:09

24    the data?                                                     12:15:10

25        Q.    Right.                                              12:15:11

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1         A.    That would be documented in CAD files.              12:15:27

2         Q.    That's not my question.                             12:15:29

3               My question is, here in your original               12:15:31

4     declaration, you don't provide any evidence how what          12:15:36

5     Mr. Boehmke provided to you became or formed the basis 12:15:40

6     of the beam spacing in Fuji; is that fair? It's just          12:15:47

7     your testimony.                                               12:15:47

8         A.    Right. So this does not -- I agree that the         12:15:53

 9    declaration does not reference other documents to             12:15:56

10    support that path of data.                                    12:15:59

11        Q.    So the only evidence that we have that what         12:16:01

12    Mr. Boehmke provided you in November 2016 that                12:16:04

13    became -- that that information formed the basis of           12:16:09

14    the beam spacing in the Fuji design is based on this          12:16:14

15    part of your declaration?                                     12:16:16

16        MR. KIM: Objection; form.                                 12:16:19

17         THE WITNESS: I would have to . . . I will agree          12:16:30

18    that Scott Boehmke's contribution to the angles is            12:16:40

19    cited in paragraph 18. I don't see it cited                   12:16:44

20    elsewhere. And there's an exhibit, I believe -- is            12:17:00

21    that correct? No, it doesn't seem to be cited in this 12:17:19

22    paragraph.                                                    12:17:22

23        MR. JAFFE: Can you just repeat my question,               12:17:25

24    please.                                                       12:17:25

25              (Record read by reporter as follows:

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1               "Question: So the only evidence that we have

2               that what Mr. Boehmke provided you in

3               November 2016 -- that that information formed

4               the basis of the beam spacing in the Fuji

5               design is based on this part of your

6               declaration?")                                      12:17:25

7         MR. KIM: Objection; form.                                 12:17:48

8          THE WITNESS: I would say, no, I believe you have         12:17:50

 9    other evidence that not only shows the document that          12:17:55

10    Scott generated, but also you have the laser boards           12:17:58

11    themselves.                                                   12:17:59

12    BY MR. JAFFE:                                                 12:17:59

13        Q.    Right.                                              12:17:59

14              And what I'm saying is, tying the two               12:18:01

15    together, the only evidence we have is what's here in         12:18:05

16    your declaration; right?                                      12:18:06

17        MR. KIM: Objection; form.                                 12:18:10

18         THE WITNESS: I can only say I'm not aware that           12:18:12

19    you have other evidence to tie those two together.            12:18:15

20    BY MR. JAFFE:                                                 12:18:15

21        Q.    And so let's just talk about evidence that we 12:18:18

22    do have, which is your declaration here.                      12:18:20

23        A. Okay.

24        Q.    So you said you imported the data into Zemax; 12:18:24

25    right?                                                        12:18:24

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1         A.     Yes.                                               12:18:24

2         Q.     And then you used software to, quote,              12:18:27

3     "determine the resultant emitting points of the laser         12:18:31

4     diodes."                                                      12:18:32

5                Do you see that?                                   12:18:33

6         A.     I see that.                                        12:18:33

7         Q.     What were the resultant emitting points on         12:18:39

8     the laser diodes that you determined based on the data 12:18:43

 9    from Scott?                                                   12:18:43

10        A.     Two answers. The resulting emitting points         12:18:48

11    would be the coordinates of the front center emitting         12:18:52

12    surface of the laser diodes in three-dimensional space 12:18:57

13    behind the lens. And I think it's worth pointing out          12:19:00

14    that, since this declaration, I've had a conversation         12:19:04

15    with Gaetan to better understand the details of this          12:19:07

16    process that I describe briefly here.                         12:19:11

17        Q.     I appreciate that answer. My question was          12:19:15

18    hopefully a little bit more specific.                         12:19:18

19               What were the -- what were the resulting           12:19:21

20    emitting points of the laser diodes that you're               12:19:26

21    referring to in this paragraph in your declaration?           12:19:28

22        A.     The resulting emitting points would consist        12:19:32

23    of coordinates for each laser diode.                          12:19:35

24        Q.     And what are those coordinates?                    12:19:39

25        A.     They're defined in the number of files --          12:19:43

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1     there's a file that defines them for the purpose of           12:19:46

2     doing the actual die attach and they're defined in the 12:19:50

3     laser PCB file package that was sent to Gorilla.              12:19:56

4         Q.    Sorry. I want to try and focus us again.            12:20:00

5               I'm asking you, sitting here today --               12:20:02

6         A.    Yes.

7         Q.    -- what are the resultant emitting points of        12:20:07

8     the laser diodes that you refer to here, the numbers?         12:20:09

 9        A.    I don't have them off the top of my head.

10        Q.    So you can't, sitting here today, tell me           12:20:13

11    what the resulting emitting points of the laser diodes 12:20:16

12    are; fair?                                                    12:20:17

13        A.    Fair, with caveat, I can find them from a           12:20:20

14    document in a straightforward manner.                         12:20:22

15        Q.    And then the data that was exported to the          12:20:32

16    SolidWorks CAD software, you don't cite or attach that 12:20:37

17    to your original declaration either; right?                   12:20:40

18        A.    I don't.                                            12:20:42

19        Q.    And the specific resulting emitting diodes          12:20:45

20    that you referred to in the prior sentence, you don't         12:20:48

21    cite or attach that to your declaration; right?               12:20:50

22        A.    Sorry, I lost you there. Could you repeat           12:20:54

23    the question.                                                 12:20:55

24        Q.    The resultant emitting points of the laser          12:20:58

25    diodes that you referred to on line 26 of your                12:21:01

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1     declaration, you don't cite or attach that to your            12:21:03

2     declaration; right?                                           12:21:04

3           A.   I don't believe they're in this declaration,       12:21:09

4     no.                                                           12:21:09

5           Q.   Can you tell me, for the resulting emitting        12:21:20

6     points of the laser diodes, whether those resultant           12:21:23

7     emitting points that you refer to in your declaration         12:21:27

8     were for                                              ?       12:21:31

 9          A.   Yes, they are.                                     12:21:36

10          Q.   Okay. And how do you know that?                    12:21:39

11          A.   I know that because I know -- I've looked          12:21:46

12    at -- independent of this declaration, I have looked          12:21:50

13    at the file that defines the coordinate locations for         12:21:55

14

                                                  I know these also 12:22:04

16    by finding the similar values in the PCB file that was 12:22:09

17    sent to Gorilla for one of those boards.                      12:22:12

18          Q.   So the initial optical cavity designs that         12:22:26

19    are referred to on the next page of your declaration,         12:22:31

20    what are you referring to there?                              12:22:33

21          A.   This would be CAD file. The optical cavity         12:22:50

22    is the mechanical housing that holds the lens. We             12:22:53

23    eventually have a CAD model that includes the housing, 12:22:56

24    the lens, PCBs with coordinates for the laser diodes          12:23:04

25    in one CAD file.                                              12:23:05

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1          Q.   So just going back to what we were talking            12:23:09

2     about earlier, you're saying that Mr. Boehmke provided 12:23:12

3     you the custom beam spacing and you imported that data 12:23:17

4     into Zemax to determine the resultant emitting points           12:23:23

5     of the laser diodes, and those you just picked as a             12:23:28

6     first matter,                                                   12:23:32

7          MR. KIM: Objection; form.                                  12:23:36

8          THE WITNESS: We didn't pick it as first matter.            12:23:38

 9    We discussed this already, that I would have loved to           12:23:41

10                            and we found we couldn't do             12:23:45

11    that.                                       We decided we had 12:23:45

12    to

                                               That decision went     12:23:58

14    into the first -- earliest CAD designs of the optical           12:24:04

15    cavity for Fuji.                                                12:24:06

16    BY MR. JAFFE:                                                   12:24:06

17         Q.   So you didn't do any sort of other Zemax              12:24:08

18    simulations of other board and diode arrangements?              12:24:14

19         A.   I'm not aware. I don't recall doing any CAD           12:24:19

20    designs for other board arrangements.                           12:24:23

21         Q.   So by November 4th, 2016, you and your team           12:24:29

22    had already arrived at

                              is that right?                          12:24:35

24         A.   It's possible that that was by November 4th.          12:24:40

25    It's also possible that it was shortly after the 4th.           12:24:44

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1         Q.    So you -- sorry.                                    12:24:46

2         A.    There's a potential for a time lag from             12:24:50

3     Scott's prescribed beam angles and when we actually           12:24:55

4     did the determination of six total boards and got             12:24:59

5     those into a CAD model.                                       12:25:01

6         Q.    And you only started the Fuji project at the        12:25:03

7     end of October; right?                                        12:25:05

8         A.    Yes.

 9        Q.    So you came up with the

                 design in a week, approximately?                   12:25:14

11        MR. KIM: Objection; form.                                 12:25:16

12         THE WITNESS: I don't know if it was exactly a            12:25:17

13    week. Or could have been more than a week, but it was 12:25:20

14    something on the order of a week.                             12:25:22

15    BY MR. JAFFE:                                                 12:25:22

16        Q.    About a week?                                       12:25:24

17        A.    Within some small multiple of one week. One         12:25:30

18    week, two weeks, three weeks possible, yes, on a very         12:25:34

19    short time scale.                                             12:25:36

20        Q.    And you didn't -- after receiving these beam        12:25:41

21    spacings from Mr. Boehmke, you didn't even consider           12:25:44

22    other designs other than

                        right?                                      12:25:51

24        A.    That feels a little out of sequence. So I           12:25:59

25    believe we got the angles from Scott for our sensor.          12:26:05

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1     The decision for how many boards to place them on             12:26:08

2     would have to occur after we knew what those angles           12:26:12

3     were.                                                         12:26:13

4         Q.    So you got the custom beam spacing from             12:26:32

5     Mr. Boehmke; and then one to three weeks later, you           12:26:37

6     knew you were doing

           ?                                                        12:26:43

8         A.    Yes.                                                12:26:43

9         Q.    And at that time, in between receiving              12:26:46

10    Mr. Boehmke's custom beam spacing, you didn't                 12:26:50

11    consider -- even consider any other designs other than 12:26:52

12                                                                  12:26:57

13    right?                                                        12:26:57

14        A.    No. When Scott gave us the prescribed               12:27:02

15    angles, we had to first consider

                And that was the process we've already              12:27:07

17    discussed to arrive at                   but that's after     12:27:11

18    Scott originally told us what the angles would be.            12:27:14

19        Q.    But I'm confused.                                   12:27:15

20              Because when we were talking earlier about          12:27:17

21    after you received the data, you said you only                12:27:19

22    provided one summary into Zemax and that was

                                                                    12:27:24

24        A.    Yes.                                                12:27:24

25        Q.    So you didn't even -- when you were looking         12:27:27

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1     at other options, you didn't even do one simulation of 12:27:30

2     another option?                                               12:27:31

3         A.    I don't think we did. I don't recall doing          12:27:34

4     any others.                                                   12:27:35

5         Q.    So must have been a pretty short decision to        12:27:38

6     arrive at                                              if     12:27:42

7     you didn't even simulate another option?                      12:27:46

8         A.    Yeah. It didn't take a long time to find out 12:27:49

 9

10        Q.    Because you had the custom beam spacing from        12:27:52

11    Mr. Boehmke, the FAC lens, the size of the circuitry          12:27:54

12    and the focal length of the lens designed by                  12:27:56

13    Mr. Pennecot; right?

14        A.    Already had those.                                  12:27:59

15        Q.    So because you had all that information, you        12:28:00

16    were steered very quickly to

                           do you agree with that?                  12:28:07

18        MR. KIM: Objection; form.                                 12:28:09

19         THE WITNESS: I would agree that it was a very            12:28:11

20    quick decision to arrive at                                   12:28:14

21    yeah.                                                         12:28:14

22    BY MR. JAFFE:                                                 12:28:14

23        Q.    And would you say that if one of those              12:28:18

24    factors was more important than another in arriving at 12:28:21

25    that design, that it drove that design more than any          12:28:25

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 1    others of the four that we talked about?                      12:28:27

2         A.    It's hard to -- if all of those are required        12;28;35

 3    elements, it's hard to say one would be more                  12:28:39

4     important, but if you want to say one was more                12:28:43

 5    important, it could have a stronger influence.                12;28;46

6         Q.    Which one would that be?                            12:28:48

 7        A.    I don't believe these are necessarily --            12:28:51

 8        Q.    And you're looking at my handwriting. Don't         12:28:53

 9    look at my handwriting. I'm happy to go through these 12;28:58

10    things with you.                                              12:28:59

11        A.    Let's list them off.                                12:29:02

12                               we had that originally             12:29:04

13    designed sometime, quite a while earlier, a long lead         12;29;07

14    time.

15        Q.    What do you mean quite a while earlier?             12:29:09

16        A.    In our previous discussion -- deposition, we        12;29;12

17    talked about -- I think we called it                 or       12:29:17

18    something like that. So basically shortly after               12:29:20

19    joining Otto, Gaetan was working on this FAC lens.            12:29:24

20        Q.    Why was he working on it?                           12;29;25

21        A.    I presume, but I don't know, that they were         12:29:28

22    considering a design like this even before I joined.          12:29:32

23        Q.    And did you have any idea as to any                 12;29;38

24    commonalities between the FAC lens that Mr. Pennecot          12;29;43

25    was working on and Mr. Levandowski's prior work at            12:29:46

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1     Google?                                                       12:29:47

2         A.    No.                                                 12:29:47

3         Q.    You didn't have any understanding?                  12:29:49

4         A.    No.                                                 12:29:49

5               Shall we go back to our list in terms of            12:29:56

6     elements that are important?                                  12:29:57

7         Q.    Let me see if I can short-circuit this.             12:30:00

8               My understanding is you're saying they were         12:30:02

 9    all required, so one isn't more important than the            12:30:06

10    other; is that fair?                                          12:30:07

11        A.    That's fair.                                        12:30:08

12        Q.    So then we don't need to go through them.           12:30:11

13              Let's turn to page 17 of your declaration.          12:30:14

14        A.    Page or paragraph?                                  12:30:17

15        Q.    Excuse me. Paragraph 17.                            12:30:21

16        A.    Okay.                                               12:30:21

17        Q.    It's on page 11.                                    12:30:23

18        A.    Thank you.                                          12:30:24

19        Q.    And I'm in your supplemental declaration,           12:30:28

20    which is 152.                                                 12:30:30

21        MR. KIM: What paragraph?                                  12:30:34

22        MR. JAFFE: 17. It's the long paragraph, so it's           12:30:38

23    page 11 if you're looking for it.                             12:30:40

24    BY MR. JAFFE:                                                 12:30:40

25        Q.    So there are two things labeled here, Figure        12:30:45

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1     8A and 8B.                                                    12:30:48

2               Do you see that?                                    12:30:49

3         A.    Yes.                                                12:30:49

4         Q.    So just for clarification here, the letters         12:30:55

5     that are on there, those are letters that you added           12:30:58

6     for purposes of your declaration; right?                      12:30:59

7         A.    Yes, those were added for this declaration.         12:31:04

8         Q.    In the document as it was created in November 12:31:06

 9    2016, it did not have these letters on it; right?             12:31:09

10        A.    Right.                                              12:31:09

11        Q.    So this is a modified version for your              12:31:12

12    declaration?                                                  12:31:13

13        A.    Yes.                                                12:31:14

14        Q.    And if we go to the November 2016 data that         12:31:22

15    you were looking at that formed the basis of this, it         12:31:28

16    did not include these letterings; right?                      12:31:29

17        A.    Right.                                              12:31:29

18        Q.    So in November 2016, there was no --                12:31:36

19    Mr. Boehmke did not provide the distribution of these         12:31:40

20    beams onto particular boards; right?                          12:31:43

21        A.    Right.                                              12:31:43

22        Q.    So the November 2016 data from Mr. Boehmke,         12:31:55

23    that did not provide any information as to how these          12:31:59

24    beams would be distributed

                                           right?                   12:32:04

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1         A.    It provided no prescription for that                12:32:07

2     distribution.                                                 12:32:09

3         Q.    Let's go to the next page here at the end of        12:32:17

4     paragraph 17.                                                 12:32:18

5               So this chart here at the end of paragraph          12:32:22

6     17, again, this is something you generated for your           12:32:26

7     declaration; right?                                           12:32:26

8         A.    Yes.                                                12:32:27

 9        Q.    This isn't some document that you're just           12:32:31

10    showing? This is something that you generated for             12:32:33

11    this case?                                                    12:32:34

12        A.    Um-hum. That's right.                               12:32:35

13        Q.    Now, what is being shown here in this table?        12:32:40

14        A.    So this table is showing the vertical beam          12:32:46

15    angles in a November 16th document from Scott Boehmke         12:32:51

16    in this first white column. The next column labeled           12:32:57

17    "Current" contains the angles that we actually used.          12:33:03

18    And the green shows the discrepancy between them.             12:33:07

19        Q.    Okay. And again the

                    that's all information that you added           12:33:20

21    later?                                                        12:33:21

22        A.    Added later for clarity, yes.                       12:33:22

23        Q.    That's not information that came from the           12:33:24

24    November 16th document provided by Mr. Boehmke; right? 12:33:27

25        A.    Right.                                              12:33:27

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1           Q.   So no one should be confused as to whether         12:33:30

2     this data is originally from November 2016 in terms of 12:33:35

3     the                 right?                                    12:33:37

4           A.   Nobody should be confused that the                 12:33:41

5     had come from Scott, because it did not.                      12:33:43

6           Q.   Right. You added it in here for purposes of        12:33:45

7     your declaration?                                             12:33:46

8           A.   Yeah.                                              12:33:46

 9          Q.   All right. So you've mentioned -- I want to        12:33:50

10    just clarify a little bit of terminology here. What's 12:33:55

11    shown here at the end of paragraph 17 is talking about 12:34:00

12    angles; right?                                                12:34:01

13          A.   Right.                                             12:34:01

14          Q.   And what angle are we talking about?               12:34:04

15          A.   We're talking about the vertical angle             12:34:08

16    reference to a horizontal plane measured in degrees           12:34:12

17    such that positive numbers are above horizontal,              12:34:18

18    negative numbers are below horizontal.                        12:34:20

19          Q.   Okay. Are you familiar with the concept of         12:34:23

20    beam spacing?                                                 12:34:24

21          A.   Perhaps you could clarify.                         12:34:26

22          Q.   Let's go back to the prior page. And to page 12:34:35

23    10. The heading, do you see it says "Beam spacing in          12:34:41

24    Fuji"?                                                        12:34:41

25          A.   Um-hum.                                            12:34:42

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1          Q.    "Beam spacing," what do you mean?                      12:34:44

2          A.    So beam spacing can be used to refer to the            12:34:49

3

                             Since it refers to



                                                                        12:35:10

7          Q.    When you are saying                 -- what you're     12:35:12

8      saying -- when you're talking about



                                                   is that fair?        12:35:20

11         A.    That's fair.                                           12:35:20

12         Q.    Just to be clear, again, when -- we're going           12:35:24

13     back to the end of paragraph 17.        You are not talking      12:35:27

14     about

                right?                                                  12:35:33

16         MR. KIM:    Objection; form.                                 12:35:36

17         THE WITNESS:    This does not refer to the absolute          12:35:38

18     positions of the diodes.     I'm referring to the end of         12:35:40

19     paragraph 17.     The figure refers to the angular               12:35:44

20     prescribed angles.                                               12:35:47

21     BY MR. JAFFE:                                                    12:35:47

22         Q.    So I want to introduce a new term here.                12:35:50

23               You're familiar -- when we have the diodes,            12:35:53

24     one way that they're represented, they're position is            12:35:56

25     X and Y; right?                                                  12:35:58

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1          A.    Right.                                             12:35:58

2          Q.    And I want to refer to the difference between 12:36:02

3      two diodes on the Y axis as vertical spacing.                12:36:07

4                Do you understand what I'm referring to?           12:36:08

5          A.    Yes.                                               12:36:08

6          Q.    What you're talking about here in paragraph        12:36:10

7      17 does not show the differences in the vertical             12:36:12

8      spacing between the diodes; right?                           12:36:16

 9         MR. KIM: Objection; form.                                12:36:17

10         THE WITNESS: Agreed, paragraph 16 does not refer         12:36:20

11     to vertical --                                               12:36:22

12     BY MR. JAFFE:                                                12:36:22

13         Q.    17.                                                12:36:22

14         A.    Sorry. In paragraph 17, we are not referring 12:36:26

15     to --

16         MR. KIM: Same objection.                                 12:36:28

17         THE WITNESS: -- the vertical dimension on a laser 12:36:30

18     board.                                                       12:36:31

19     BY MR. JAFFE:

20         Q.    So the                                    that's   12:36:35

21     here at the end of 17, that's not referring to the           12:36:36

22                                                                  12:36:39

23     in Fuji; right?                                              12:36:40

24         MR. KIM: Objection; form.                                12:36:42

25         THE WITNESS: That's right.                               12:36:43

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1          MR. KIM: We've been going over an hour. Can we           12:37:24

2      break for lunch?                                             12:37:26

3          MR. JAFFE: Yes, we can break.                            12:37:28

4             THE VIDEOGRAPHER: We are off the record at 12:37      12:37:30

5      p.m.                                                         12:37:30

6                 (Lunch recess was taken at 12:37 p.m.)            12:37:30

7                 (Nothing omitted or deleted. See next page).

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 1        AFTERNOON SESSION                                   1:38 P.M.

2

 3         THE \TIDEOGRAPHER: We are back on the record at                   13:38:23

4      1:38 p.m.                                                             13:38:24

 5                         EXAMINATION RESUMED                               13:38:24

6      BY MR. JAFFE:                                                         13:38:24

 7         Q.      Welcome back.                                             13:38:28

 8         A.    Thank you.                                                  13:38:28

 9         Q.      I want to turn to your original declaration.              13:38:31

10     I think it's 151. And in particular, in paragraph 20, 13:38:39

11     you state, "There are approximately =employees                        13:38:41

12     currently working on the Fuji project."                               13:38:44

13              Is that right?                                               13:38:45

14         A.    Yes, I see it.                                              13:38:48

15         Q.    How many employees are working at Uber on                   13:38:54

16     LiDAR-related responsibilities?                                       13:38:56

17         MR. KIM: Objection; form.                                         13:39:02

18         THE WITNESS: There would be approximately.                        13:39:03

19     employees at Uber working on LiDAR responsibilities                   13:39:06

20     that I'm aware of.                                                    13:39:10

21     BY MR. JAFFE:                                                         13:39:10

22         Q.    Your understanding is that there are only.                  13:39:12

23     employees at Uber with LiDAR-related responsibilities; 13:39:16

24     is that right?                                                        13:39:17

25         MR. KIM: Objection; form.                                         13:39:19

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1          THE WITNESS: When I came up with the number, I           13:39:22

2      wanted to pick ones -- employees that had primary            13:39:26

3      responsibilities on LiDAR.                                   13:39:29

4      BY MR. JAFFE:                                                13:39:29

5          Q.    So let me ask my question again then.              13:39:32

6                What is the number of employees at Uber that       13:39:37

7      have LiDAR-related responsibilities or projects?             13:39:43

8          MR. KIM: Objection; form.                                13:39:43

 9         THE WITNESS: I don't know off the top of my head         13:39:46

10     how many more employees have minor LiDAR                     13:39:48

11     responsibilities.                                            13:39:50

12     BY MR. JAFFE:                                                13:39:50

13         Q.    So when you're talking about this number of        13:39:52

14     employees here, you're not talking about the number of 13:39:54

15     employees working on LiDAR entirely at Uber; right?          13:39:59

16         MR. KIM: Objection; form.                                13:40:02

17         THE WITNESS: Correct. I believe there may be a           13:40:07

18     few more employees that also have some minor                 13:40:11

19     responsibility for LiDAR activities.                         13:40:15

20     BY MR. JAFFE:                                                13:40:15

21         Q.    What LiDAR technology are they working on?         13:40:18

22         A.    They're not working on LiDAR technology.           13:40:21

23     They're working on perhaps sourcing components, just         13:40:26

24     general supply chain people.                                 13:40:28

25         Q.    Okay. Are there any other LiDAR projects           13:40:32

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 1     within Uber other than the Fuji project?                       13:40:35

2          A.    No, there's not.                                     13:40:37

 3         Q.    You're not working on building LiDARs with           13:40:40

4      third-party companies?                                         13:40:42

 5         MR. KIM: Objection; form.                                  13:40:44

6          THE WITNESS: I'm not working on LiDAR projects             13:40:48

 7     with third-party companies.                                    13:40:50

 8     2Y MR. JAFFE:                                                  13:40:50

 9         Q.    Right. So let me ask my question a little            13:40:53

10     bit differently.                                               13:40:53

11              Is Uber working on designing LiDARs with              13:40:58

12     third-party companies?                                         13:40:59

13         MR. KIM: Objection; form.                                  13:41:00

14         THE WITNESS: I think Scott Boehmke is working              13:41:05

15     with some third-party LiDAR suppliers.                         13:41:09

16     2Y MR. JAFFE:                                                  13:41:09

17         Q.    Who's he working with?                               13:41:12

18         A.    I am aware of                                        13:41:13

19         Q. Um-hum.

20         A.    There's                There is -- and I'll say      13:41:31

21     this confidential information. There's                         13:41:35

22     I'm not aware of any others at this point.                     13:41:40

23         MR. KIM: At this point I'll just designate the             13:41:42

24     transcript attorneys' eyes only.                               13:41:46

25         MR. JAFFE: What number are we at?                          13:41:48

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 1         THE REPORTER: 153.                                       13:41:50

2          MR. JAFFE: Okay. So this is going to be 153.             13:41:53

 3                (Plaintiff's Exhibit 153 was marked.)             13:42:07

4      BY MR. JAFFE:

 5         Q.     So I'll just tell you for the record, this        13;42;09

6      was a document that Uber's lawyers prepared and              13;42;13

 7     submitted to the court. That's where we got this             13;42;17

 8     from.                                                        13:42:18

 9         A.     Um-hum.                                           13;42:19

10         Q.     Now, you were talking earlier about -folks        13:42:23

11     working on the Fuji project and that that's the only         13:42:26

12     LiDAR project. If you look at Section 2 here -- and          13:42:29

13     you can see my handwriting on this copy. Actually, I         13;42;33

14     hope my math is right, but on the bottom, on the             13:42:36

15     second page, I totaled it up. And I counted about II         13:42:40

16     employees here that said that they have LiDAR-related        13;42;43

17     responsibilities or projects.                                13:42:45

18         A.     Okay.                                             13:42:46

19         Q.     What are those other folks doing?                 13:42:48

20         A.     I don't know what all these other people are      13;42:56

21     doing. So, for instance -- shall we just go down the         13:43:06

22     list?                                                        13:43:06

23         Q.     Well, let me ask generally.                       13;43;09

24                If they're not working on Fuji, but they're       13;43;11

25     working on LiDAR, what are they working on?                  13:43:15

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 1         A.     If they're not working on Fuji .         . so let's 13:43:20

2      take -- I don't know if Phillip Haban, I don't know            13:43:26

 3     what he's working on. I don't know Jacob Fischer. I            13:43:31

4      don't know what he's working on. Robert Doll,                  13:43:34

 5     he's -- I know he's an employee for the Pittsburgh             13:43:40

6      team, He's related to the hardware group or some               13:43:47

 7     manufacturing aspect of that, but I don't know what            13:43:50

 8     he's working on.                                               13:43:52

 9                Sean Chin, I don't know who that is. Not            13:44:07

10     sure who Jay Kuvelker is and what he's working on.             13:44:13

11     Anthony Levandowski, he's a manager. I don't know how 13:44:19

12     he's working on Fuji or what he's working on. I would 13:44:23

13     say he's not working on Fuji, but we already                   13:44:27

14     established that.                                              13:44:28

15         Q.     Actually, why don't we pause there for a            13:44:30

16     second.                                                        13:44:30

17                For theilliemployees in your declaration,           13:44:32

18     does that include Mr. Levandowski?                             13:44:34

19         A.     No.                                                 13:44:34

20         Q.     So if he has LiDAR-related responsibilities         13:44:37

21     or projects here in Section 2 of this document, you            13:44:42

22     don't know what those are; is that fair?                       13:44:44

23         A.     I would say so.                                     13:44:45

24                And if I can be more clear about the=               13:44:53

25     employees currently working on the Fuji project, I do          13:44:56

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 1     mean people working directly on the Fuji project. I          13:45:00

2      did not include people who were some levels of               13;45;03

 3     management up who had some sort of dotted line or            13:45:06

4      eventual path of ownership or responsibility. I was          13:45:12

 5     Coming up with II as people tha I felt I c uld               13:45:14

6      solidly say would be adversely affected if the Fuji          13:45:19

 7     project ended.                                               13:45:21

 8               So there's still a lot of names on here. For 13;45:29

 9     instance, take Ana Rayo, she's in a supply chain             13:45:32

10     group. She's responsible, I think, for some aspects          13:45:36

11     of receiving material. I would not have counted her          13;45:39

12     as primarily working on Fuji.                                13;45;41

13         Q.    Let me actually just stop you and ask a            13;45;44

14     different question, which is, how many of these people 13:45:47

15     you don't know what they're doing in terms of LiDAR          13:45:51

16     work. Can you just provide me a count?                       13:45:54

17         A.    Yep.                                               13:45:55

18         Q.    And, actually, why don't we do this, I'm           13:46:01

19     going to hand you a pen. And why don't you just mark         13;46;04

20     the people that you don't know what they're doing with 13;46:06

21     LiDAR.                                                       13:46:07

22         A.    With LiDAR in general. Okay.                       13;46:09

23         Q.    Well, let me state it this way; You don't          13;46;11

24     know why they're on this list of "Defendants'                13:46:15

25     Officers, Directors, and Employees with LiDAR-Related        13:46:17

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 1     Responsibilities Or Projects"?                                   13:46:18

2          A.     Okay. I will mark those.                              13:46:20

 3                (Witness complies.)                                   13:46:20

4                 Okay. So these -- I've marked --                      13:48:19

 5         Q.      Can I have my pen back.                              13:48:21

6          A.     Sorry,                                                13:48:21

 7                I've marked those for whom I don't know what          13:48:24

 8     they're working on.                                              13:48:25

 9         Q.      Can you just tell me how many you've marked?         13:48:28

10         A.     Sorry.                                                13:48:29

11                Thirteen.

12         Q.     So those are 13 employees that Uber's lawyers 13:48:40

13     said had LiDAR-related responsibilities or projects              13:48:43

14     and they don't work on the Fuji, but you don't know              13:48:46

15     what they work on?                                               13:48:47

16         A.     That's correct, to my knowledge.                      13:48:50

17         Q.     And then you mentioned that Uber was working          13:48:52

18     with some suppliers, third parties, on LiDAR and you             13:48:56

19     mentioned                                And then what else?     13:49:00

20         A.                                                           13:49:01

21         Q.                                                           13:49:02

22                Anyone else?                                          13:49:05

23         A.     Perhaps, yeah.                 I don't think I'm      13:49:28

24     aware of any other development activities.                       13:49:32

25         Q.     So let's look at Section 3 here. You see it           13:49:37

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 1     says, "List of defendant suppliers and consultants who 13:49:40

2      have LiDAR-related responsibilities or projects"?                   13:49:42

3          A.    Okay.                                                     13:49:43

4          Q.    Is              listed ere?                               13:49:59

5          A.    Nape.                                                     13:49:59

6          Q.    So              is a Li AR supplier that's not 13:50:03

7      listed on this list of defendant suppliers?                         13:50:07

 8         MR. KIM: Objection; form.                                       13:50:10

 9         THE WITNESS: Yes.                                               13:50:11

10     BY MR. JAFFE:                                                       13:50:11

11         Q.    What about          is that on here?                      13:50:15

12         A.    Nope.                                                     13:50:22

13         Q.    Okay. And what about                      is that on      13:50:29

14     here?                                                               13:50:29

15         A.    Nope.                                                     13:50:34

16         Q.    And then I think              actually is on here; 13:50:38

17     right?                                                              13:50:38

18         A.    Yes.                                                      13:50:41

19         Q.    And what are you guys doing with                          13:50:45

20         A.    I believe -- I believe we're buying some demo 13:50:51

21     units or some early evaluation units.                               13:50:54

22         Q.    You're working with them on designing a                   13:50:58

23     custom LiDAR; right?                                                13:50:59

24         A.    They're developing a new LiDAR.           I don't know 13:51:02

25     that it's custom for us or just -- I don't know that                13:51:05

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1      detail.

2          Q.    Are you providing them any Uber confidential        13:51:09

3      information.

4          A.    I'm not aware of that happening, no.                13:51:12

5          Q.    So there is no Uber confidential information        13;51;16

6      that is going from Uber to                 is that true?      13;51;21

7          A.    I'm not aware of any.                               13:51:23

8          MR. JAFFE: Let's mark -- where is that thing?             13:51:31

9      This one? No. It's this one. This is going to be              13:51:45

10     Exhibit . .                                                   13:51:48

11         THE REPORTER: 154.                                        13:51:50

12         MR. JAFFE: -- 154.                                        13:51:50

13               Thank you.                                          13;51:52

14               (Plaintiff's Exhibit 154 was marked.)               13:52:13

15     BY MR. JAFFE:

16         Q.    So I've marked as Exhibit 159 [sic] a               13;52:15

17     document that's heavily redacted. But I just want to          13:52:17

18     ask --

19         MR. KIM: 159?                                             13:52:21

20         MR. JAFFE: Yeah, Exhibit 159.                             13:52:24

21         MR. KIM: 154.                                             13:52:25

22         MR. JAFFE: Oh, my handwriting is off.                     13:52:27

23     BY MR. JAFFE:                                                 13:52:27

24         Q.    154 is a document that's heavily redacted.          13:52:31

25               Is this an e-mail exchange with                     13:52:36

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 1         A.    If it is, I'm not aware.                           13:52;43

2          Q.    You can't tell because of the redaction;           13;52;44

 3     right?                                                       13:52:45

4          A.   I'm also looking at the names. The name             13:52:50

 5     addresses. And I can't say it's an exchange with             13;52:54

6               because I see only Uber or Uber ATC employees. 13:52:59

 7         Q     Right.                                             13:52:59

 8               But if you look on the earlier e-mails, the        13;53;05

 9     other e-mails are redacted.                                  13;53:06

10         A.    Oh, okay. All right.                               13:53:10

11         Q.    So, for example, if you go to the page 12132. 13:53:17

12               Do you see that?

13         A.    12132, yes.                                        13;53;20

14         Q.    "Hey, Anthony, been trying to reach you a          13:53:23

15     while via text."                                             13;53;24

16         A.    Okay.                                              13;53;25

17         Q.    You were cc'd on this; right?                      13:53:27

18         A.    Yes.                                               13:53:27

19         Q.    What is this e-mail about?                         13;53;29

20               (Witness reviews document.)                        13;54;11

21         A.   I'm not 100 percent sure. Yeah, I'm not sure 13:54:28

22     who [sic] this is about.                                     13:54:30

23         Q.   It's hard to tell with the redactions, huh?         13;54;34

24         A.   It is.                                              13:54:35

25         Q.    Yeah, I agree with you.                            13:54:37

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1          A.    Yeah, I don't recall.                              13:54:47

2          Q.    And so just turning to the first page,             13:54:49

3      there's an e-mail from Mr. Levandowski, and you're on        13:54:52

4      the cc line.                                                 13:54:53

5          A.    Yeah.                                              13:54:53

6          Q.    The entire e-mail is redacted.                     13:54:58

7                What is Mr. Levandowski talking about in this 13:55:01

8      e-mail?                                                      13:55:02

 9         A.    I don't recall.                                    13:55:03

10         Q.    You don't recall this e-mail at all?               13:55:05

11         A.    I don't recall this e-mail.                        13:55:06

12         Q.    So it's possible that Mr. -- who knows what        13:55:08

13     Mr. Levandowski would be talking about?                      13:55:10

14         A.    Who knows.                                         13:55:11

15         Q.    Okay. Put that aside.                              13:55:13

16         A.    Okay.                                              13:55:14

17         Q.    Let's go back to your opening declaration,         13:55:31

18     which is Exhibit 151. And if you can look at                 13:55:41

19     paragraph 15, please.                                        13:55:45

20               Do you see that you refer to an Exhibit B          13:55:58

21     here?                                                        13:56:00

22         A.    Yes.                                               13:56:01

23         Q.    And what are you saying that Exhibit B is?         13:56:05

24         A.    Exhibit B is a file that lays out the X,Y and 13:56:28

25     rotation coordinates for each of the laser diodes on         13:56:35

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1                           while the final dimensions it would 13:56:40

2      be used for fiducial-based diode placement is not yet        13:56:53

3      defined for                                                  13:56:56

4          MR. JAFFE: Let's mark as Exhibit 155 a document          13:57:01

5      entitled, "Exhibit B."                                       13:57:03

6      BY MR. JAFFE:

7          Q.    It looks like you have it.                         13:57:06

8          A.    Yes.                                               13:57:06

 9         Q.    Did you bring your declaration with you?           13:57:08

10         A.    Yeah.                                              13:57:09

11         Q.    Why don't we look at your copy then, but           13:57:11

12     we'll just mark this for the record so we have a             13:57:14

13     complete record.                                             13:57:15

14         MR. JAFFE: Just for the record, I'm marking              13:57:19

15     Exhibit B as 155. And Mr. Haslim is looking at his           13:57:24

16     own copy.                                                    13:57:25

17               (Plaintiff's Exhibit 155 was marked.)              13:57:26

18     BY MR. JAFFE:                                                13:57:26

19         Q.    So on the top right-hand side, there's a           13:57:32

20     little picture of a transmit board; right?                   13:57:33

21         A.    Right.                                             13:57:33

22         Q.    And that's an image of one of the Fuji             13:57:37

23     transmit boards; correct?                                    13:57:38

24         A.    Correct.                                           13:57:38

25         Q.    And the table below, that includes some X,Y        13:57:44

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1      and theta values for each of the diodes on the                    13:57:50

2      transmit board depicted there?                                    13:57:53

3          A.     Yes.                                                   13:57:53

4          Q.     So what does                  refer to in this         13:57:58

5      chart?                                                            13:57:59

6          A.     In this chart, the term                   labels       13:58:06

7



                                                                         13:58:21

10         Q.     And why are you providing

                                                ?                        13:58:27

12         A.     I believe the person who made this file                13:58:34

13     provided

                                                      -- that's the      13:58:44

15     wrong term -- so that




                   And these dimensions never left the                   13:59:06

20     document.                                                         13:59:07

21         Q.     "These dimensions never left the document,"            13:59:11

22     what do you mean?                                                 13:59:12

23         A.     The dimensions labeled                    remain in    13:59:15

24     this document even as new information is being added              13:59:19

25                                                                       13:59:23

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1            Q.   So the X and Y data here shows --



                   right?                                                   13:59:35

4            A.   Yes.                                                      13:59:36

5            Q.   So the X and Y data for                        shows      13:59:39

6



                                                        right?              13:59:48

9            A.   Right.

10           Q.   Okay.     And you said the person who created             13:59:56

11     this document.                                                       13:59:57

12                Who are you referring to?                                 13:59:59

13           A.   This document would have been created by                  14:00:03

14     Gaetan Pennecot.                                                     14:00:05

15           Q.   And why would Mr. Pennecot include

                      in this document?                                     14:00:13

17           A.   Gaetan did the original



                                              And he was responsible        14:00:27

20     for

                                             This information would         14:00:36

22     then have been given to our electrical engineer, who                 14:00:38

23     did                                for this.                         14:00:40

24           Q    So that doesn't answer my question.                       14:00:43

25                Why is                                                    14:00:45

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1

                                                                        14:00:49

3          A.    I'm sorry. I don't think I was clear before. 14:00:53

4                When Gaetan designed the outline of this               14:00:56

5      board and specified




                                                                        14:01:17

11         Q.    So the original idea was

                                                                        14:01:22

13         A.    No.                                                    14:01:22

14         Q.    So then let me ask my question again then.             14:01:25

15               What is the point of including

                       -- in this chart?                                14:01:30

17         A.    This information could have been provided to           14:01:36

18     the electrical engineer so that

                                                                        14:01:43

20     And if he hasn't



                                                                        14:01:55

23         Q.    Why do you think he did that?                          14:01:57

24         A.    He needs to                                that's as   14:02:00

25     good as -- better than an outline of a board which is            14:02:03

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1      subject to change.                                                    14:02:04

2          Q.    At what point did the fiducial get                          14:02:09

3      introduced?                                                           14:02:10

4          A.    The fiducial was introduced somewhere during                14:02:14

5      the course of the electrical engineer laying out the                  14:02:17

6      circuit and defining all the pads for all the                         14:02:19

7      components that go on the circuit board.                              14:02:21

8          Q.    Just to rewind a second, what is the point of               14:02:25

 9                                                       again?              14:02:29

10         MR. KIM:      Objection; form.                                    14:02:32

11         THE WITNESS: I believe the point of




                                                                             14:02:52

16     BY MR. JAFFE                                                          14:02:52

17         Q.    I see.    Okay.                                             14:02:53

18               And the

                                                                             14:02:57

20         A.    We say



                                                                             14:03:06

23         Q.    And what are                                 used for?      14:03:11

24         A.    Those

                                                                             14:03:19

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1                                                                .         14:03:23

2          Q.    All right.   Again Exhibit B here, I want to              14:03:34

3      start with Board A.                                                 14:03:36

4                 What's labeled as                        those are       14:03:40

5      the X and Y data in terms of the absolute locations of              14:03:45

6      the diodes for Board A in the Fuji device; is that                  14:03:50

7      right?                                                              14:03:51

8          A.     Yes.                                                     14:03:52

 9         Q.    And is this current?      Did they change or is           14:03:57

10     this still the right data?                                          14:03:59

11         A.     To my knowledge, these are still the right               14:04:01

12     data.                                                               14:04:02

13         Q.    Has Uber changed

                in the last three months?                                  14:04:13

15         A.     Not to my knowledge.     Last I saw, we had a            14:04:19

16     version of this as early as December 2nd with the                   14:04:21

17     exact same X,Y coordinates.                                         14:04:26

18         Q.    So let's take -- we're still on Board A.            The   14:04:32

19     X value -- and we'll just use the fiducial one.           The X     14:04:40

20     value, that will tell us the horizontal distance from               14:04:44

21     the fiducial to the emitting point to each laser;                   14:04:49

22     right?    That particular one.

23         A.     Yes.   The fiducial section, if I heard you              14:04:53

24     correctly, the X coordinate gives you the left-right X              14:04:56

25     dimension relative to the fiducial to the laser.                    14:04:58

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1      There's two sections. One says                        and      14:05:01

2      one says                             I want to p int out       14:05:04

 3     that those reference two different locations on the            14:05:07

4      laser diode.                                                   14:05:10

5          Q.     Just to restate that.                               14:05:11

6                 For Al, for example, in the first row --            14:05:14

7          A.     Yes.

8          Q.     -- the X number is the horizontal distance          14:05:20

9      from the fiducial to the emitting point of each -- of          14:05:23

10     that laser?                                                    14:05:24

11         A.     I'm sorry. Could you specify which "X"              14:05:25

12     you're referring to?

13         Q.     Under the fiducial.                                 14:05:27

14                So here, just for Al, it's                          14:05:35

15         A.     Yes.                                                14:05:35

16         Q.     That one, that's the horizontal distance from 14:05:38

17     the fiducial to the emitting point of Al laser; right? 14:05:41

18         A.     Yes.                                                14:05:41

19         Q.     And again -- well, actually, not again.             14:05:45

20                What is the unit of measurement that we're          14:05:48

21     looking at here?                                               14:05:49

22         A.     These would be X,Y coordinates in the units         14:05:54

23     of milliliters,                                                14:05:55

24         Q.     And we are going to -- how many decimal             14:06:00

25     points in are we dealing with here?                            14:06:03

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1          A.    These are six decimal places.                      14:06:06

2          Q.    Is that pretty accurate?                           14:06:08

3          A.    It's an unnecessary number of decimals. This 14:06:10

4      goes to nanometers.                                          14:06:13

5          Q.    Yeah. So this is talking about aligning the        14:06:16

6      diodes to the nanometer; is that fair?                       14:06:18

7          A.    No.                                                14:06:18

8          Q.    No? I thought you said it goes to                  14:06:21

 9     nanometers.                                                  14:06:22

10         A.    It goes to nanometers, but I don't think           14:06:24

11     anybody was under the impression that we're actually         14:06:25

12     in a postion to get something to a nanometer scale.

13         Q.    But that's what this document is listing?          14:06:28

14         A.    This document lists the ideal dimension, yes, 14:06:32

15     down to the nanometer.                                       14:06:34

16         Q.    Got it.                                            14:06:35

17               We talked about X.                                 14:06:38

18               Y, that talks about the millimeters                14:06:41

19     difference from the fiducial to A1 on the -- in the          14:06:48

20     vertical axis; right?                                        14:06:50

21         A.    Right.                                             14:06:50

22         Q.

                                                                    14:07:03

24         MR. KIM: Objection; form.                                14:07:06

25         THE WITNESS:                                             14:07:09

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1




                                                                    14:07:36

8      BY MR. JAFFE:

 9           Q.   The theta column here, what does that tell        14:07:42

10     us?                                                          14:07:42

11           A.   That tells us, relative to some zero angle on 14:07:50

12     this board, which we can presume is either vertical or 14:07:55

13     horizontal, the ideal placement angle for the laser          14:08:00

14     diode on the board.                                          14:08:02

15           Q.   We're just talking about A again, Board A.        14:08:11

16                Which is the

                                                                    14:08:22

18           A.   As the light is projected out past the            14:08:26

19     sensor, the                                                  14:08:32

20           Q.   All right. Am I correct then that

                                               ?                    14:08:44

22           A.   Yes, that's correct.                              14:08:45

23           Q.   Okay. So is it fair to say that



                                                                    14:09:01

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1          A.    In this coordinate system, that's true.            14:09:04

2          Q.    Referring to Board A, the diodes go from --        14:09:15

3

                                                           ?        14:09:23

5          A.    Yes.                                               14:09:23

6          Q.    Okay.                                              14:09:27

7          MR. JAFFE: So what I'd like to do is mark as a           14:09:36

8      new exhibit Exhibit 156.                                     14:09:41

 9               (Plaintiff's Exhibit 156 was marked.)              14:10:07

10     BY MR. JAFFE:

11         Q.    I'm going to hand you a calculator as well.        14:10:10

12         A.    Okay.                                              14:10:11

13         Q.    So what we have here is a reproduction, if we 14:10:17

14     cut and paste correctly, which I think that we did, of 14:10:21

15     the data that's here for Board A in Exhibit B to your        14:10:27

16     declaration. And you can see on the right that I've          14:10:33

17     left open something called delta Y.                          14:10:36

18         A.    Yes.                                               14:10:37

19         Q.    Do you see that?                                   14:10:38

20         A.    Yes.                                               14:10:38

21         Q.    And do you understand what I'm trying to           14:10:41

22     refer to here by "delta Y"?                                  14:10:43

23         A.    Yes. I'll go ahead and identify what I             14:10:46

24     believe you intend by "delta Y."                             14:10:48

25         Q.    But before you do, I will tell you exactly         14:10:50

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1      what I'm intending.                                          14:10:51

2            A.   Okay.                                             14:10:52

3            Q.   Which is, the delta, as in the difference,        14:10:54

4      between the two Y components on each one.                    14:11:03

5            A.   And by that you mean the two adjacent             14:11:05

6      components?                                                  14:11:06

7            Q.   That's right.                                     14:11:07

8            A.   Okay.                                             14:11:08

 9           Q.   I can give you a pen, but I also have a           14:11:11

10     pencil if you would prefer.                                  14:11:13

11           A.   Perhaps a pencil is a good idea. Thanks.          14:11:27

12           Q.   Just for the record, using Exhibit 156,           14:11:32

13     please calculate the difference in the vertical              14:11:34

14     spacing between                                              14:11:39

15           A.   Okay. And what you'll see is that we              14:11:43

16     have --                                                      14:11:43

17           MR. KIM: I'm just going to object to form before       14:11:45

18     you go.                                                      14:11:46

19           THE WITNESS: What you see is we have a list of         14:11:50

20     empty boxes equal to the number of diodes. When we do 14:11:54

21     our deltas, we're going to have one less. So I can           14:11:57

22     shift this up or shift it down; makes no difference to 14:12:01

23     me.                                                          14:12:02

24     BY MR. JAFFE:                                                14:12:02

25           Q.   Why don't you leave A1, that can be the           14:12:03

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1      starting one, so that can be blank. And you can start 14:12:07

2      from the next one.

3          A.     Perfect. So I will calculate these.               14:12:11

4                 (Witness performs calculations.)                  14:12:11

5          A.     Okay.                                             14:16:45

6          Q.     Thank you. You're handing this to me for me       14:16:48

7      to look at. All right. I'm going to hand it back to          14:16:59

8      you.                                                         14:16:59

 9                Exhibit 156 now reflects you've penciled in       14:17:03

10     the delta Y here.                                            14:17:07

11                In looking at this completed table, would you 14:17:13

12     agree that the delta Y values

                                                                    14:17:24

14         MR. KIM: Objection; form.                                14:17:24

15            THE WITNESS: Yes, I would agree that the delta Y      14:17:31

16     values



                                                                    14:17:41

19     BY MR. JAFFE:                                                14:17:41

20         Q.     Okay. In other words,



                                                                    14:17:52

23         MR. KIM: Objection; form.                                14:17:55

24            THE WITNESS: It's true, the delta Y,

                                                                    14:18:01

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1                                                             --

2          THE REPORTER: I'm sorry, I'm sorry. It's

3      true . . .

4          THE WITNESS:




                                                                      14:18:24

8      BY MR. JAFFE:                                                  14:18:24

9          Q.    And as we talked about before, as the                14:18:30

10



                                    right?                            14:18:41

13         MR. KIM: Objection; form.                                  14:18:43

14         THE WITNESS: Yes, we agreed -- I agree that the            14:18:46

15



                                                                      14:19:01

18     BY MR. JAFFE:                                                  14:19:01

19         Q.    So referring to this                      , you      14:19:05

20     would agree that




                                                                      14:19:20

25         MR. KIM: Objection; form.                                  14:19:25

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1          THE WITNESS: Yes.                                        14:19:25

2      BY MR. JAFFE:

3          Q.     Okay. You can put that aside, please.             14:19:30

4                 We talked about Max Levandowski earlier. You 14:19:36

5      said he was on your team.                                    14:19:38

6          A.     Yes.                                              14:19:40

7          Q.     What does he do?                                  14:19:41

8          A.     He's a mechanical engineer. He designs the        14:19:47

 9     optical cavity that the lenses and the lasers and            14:19:52

10     detector boards attach to.                                   14:19:55

11         Q.     Is what is his LiDAR experience?                  14:19:58

12         A.     I am not aware of any LiDAR experience prior      14:20:01

13     to working for Otto and Uber.                                14:20:04

14         Q.     Did he know a lot about LiDAR when he             14:20:07

15     started?                                                     14:20:07

16         MR. KIM: Objection; form.                                14:20:08

17         THE WITNESS: I don't know.                               14:20:09

18     BY MR. JAFFE:                                                14:20:09

19         Q.     He works for you; right?                          14:20:10

20         A.     He works for me. He worked for Otto before I 14:20:14

21     joined.                                                      14:20:15

22         Q.     When you joined, did he -- was he                 14:20:18

23     sufficiently educated about how LiDAR works?                 14:20:21

24         MR. KIM: Objection; form.                                14:20:22

25         THE WITNESS: He seemed sufficiently educated as a 14:20:26

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1      mechanical engineer.                                         14:20:27

2      BY MR. JAFFE:                                                14:20:27

3          Q.    So that wasn't really my question.                 14:20:29

4          A.    Yes.                                               14:20:30

5          Q.    So --                                              14:20:31

6          A.    I didn't quiz him on his LiDAR expertise, but 14:20:35

7      at the same time, I'll grant you that I was not aware        14:20:38

8      of any LiDAR expertise in his background prior to            14:20:42

 9     Otto.                                                        14:20:43

10         Q.    Why -- well, actually, let me back up.             14:20:58

11               Do you know if Max Levandowski and Anthony         14:21:01

12     Levandowski are -- they're brothers; right?                  14:21:04

13         A.    That's my understanding.                           14:21:05

14         Q.    Do you know if they're close?                      14:21:07

15         MR. KIM: Objection; form.                                14:21:08

16         THE WITNESS: I don't know how close they are.            14:21:12

17     BY MR. JAFFE:                                                14:21:12

18         Q.    Do you know about any conversations that they 14:21:13

19     had regarding LiDAR?

20         MR. KIM: Same objection.                                 14:21:14

21         THE WITNESS: No.                                         14:21:15

22     BY MR. JAFFE:                                                14:21:15

23         Q.    And what does Max Levandowski -- excuse me -- 14:21:17

24     do at Otto today?                                            14:21:23

25         A.    At Uber today?                                     14:21:25

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1          Q.    (Nods head affirmatively.)                         14:21:25

2          A.    He continues to be the mechanical engineer         14:21:29

3      responsible for designing the optical cavity that            14:21:32

4      mounts the lenses, the laser transmit block and the          14:21:36

5      receiver boards.                                             14:21:37

6          Q.    Did he come up with the optical cavity design 14:21:41

7      for Fuji?                                                    14:21:42

8          A.    In as much as that responsibility refers           14:21:50

 9     to --                                                        14:21:50

10         MR. KIM: Objection; form.                                14:21:53

11         THE REPORTER: I'm sorry.                                 14:21:53

12         THE WITNESS: Inasmuch as that responsibility             14:21:55

13     refers to designing a mechanical housing, yes. He            14:22:01

14     designed that for Fuji.                                      14:22:02

15     BY MR. JAFFE:                                                14:22:02

16         Q.    Who came up with the optical cavity design         14:22:05

17     for Fuji?                                                    14:22:06

18         MR. KIM: Objection; form.                                14:22:11

19         THE WITNESS: The optical cavity design for Fuji          14:22:14

20     is related to the lens and the lens requirements. So         14:22:19

21     Gaetan plays a responsibility for that. As a                 14:22:23

22     mechanical element in terms of mounting and housing          14:22:27

23     those features, those components, Max Levandowski is         14:22:29

24     responsible for that aspect.                                 14:22:31

25     BY MR. JAFFE:                                                14:22:31

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1          Q.    So it's Mr. Pennecot and Mr. Max Levandowski       14:22:34

2      who came up with the optical cavity design for Fuji;         14:22:39

3      is that fair?                                                14:22:40

4          MR. KIM: Objection; form.                                14:22:40

5          THE WITNESS: My hesitancy is I'm trying to decide 14:22:51

6      in my mind whether the transmit and receive components 14:22:54

7      also play a part -- are considered part of the optical 14:23:00

8      cavity. I think they fairly should be considered part

 9     of the optical cavity.

10               So then I also add Will Treichler, Florin          14:23:05

11     Ignatescu contributing to the design of the                  14:23:09

12     optical cavity for the Fuji, or coming up with it.           14:23:13

13     I would claim some responsibility as well because            14:23:22

14     I'm looking at the designs that these engineers              14:23:25

15     are generating. I could have contributed some                14:23:28

16     aspect as well.                                              14:23:30

17     BY MR. JAFFE:                                                14:23:30

18         Q.    You could have or you did?                         14:23:31

19         A.    I'm sure I had some influence, yes.                14:23:35

20         Q.    Going back to Max Levandowski, do you              14:23:43

21     know -- he and Anthony, do they live together?               14:23:46

22         A.    I don't know.                                      14:23:48

23         Q.    Do you know how much time they spend together 14:23:52

24     outside of the office?                                       14:23:53

25         A.    I don't know that.                                 14:23:54

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1          Q.     Do you know how many conversations they may       14:23:56

2      have about LiDAR outside of the office?                      14:23:59

3          A.     I don't know that.                                14:24:00

4          Q.     Have you ever talked to Max Levandowski about 14:24:02

5      that?                                                        14:24:03

6          A.     About the number of conversations?                14:24:05

7          Q.     About his discussions with Anthony.               14:24:07

8          A.     No.                                               14:24:08

 9         Q.     Have you ever asked him?                          14:24:10

10         A.     Asked him what?                                   14:24:12

11         Q.     Max Levandowski, about his conversations with 14:24:17

12     Anthony.                                                     14:24:18

13         A.     Not to my recollection.                           14:24:20

14         Q.     When the 14,000 files allegation came up, did 14:24:25

15     you ever discuss those with Max Levandowski?                 14:24:28

16         A.     No, not specifically.                             14:24:29

17         Q.     Are you aware of any discussions with Max         14:24:34

18     Levandowski that relate to the subject matter of this        14:24:38

19     lawsuit?                                                     14:24:38

20         A.     I'm not aware of conversations they may have      14:24:41

21     had.                                                         14:24:42

22         Q.     Did you ever think to ask Max whether any of      14:24:46

23     the allegations are true?                                    14:24:47

24         A.     No.                                               14:24:47

25         Q.     Have you joked with Max Levandowski about the 14:24:52

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 1     14,000 files?                                                14:24:54

2          MR. KIM; Objection; form.                                14;24;54

 3         THE WITNESS: It's possible.                              14:24:58

4      BY MR. JAFFE:                                                14:24:58

5         •
I                                                                   14:25:03

 7         MR. KIM: Objection; form.                                14:25:05

 8         THE WITNESS:                                             14:25:07

 9

                                                                    14:25:22

11     BY MR. JAFFE:                                                14:25:22

12         Q.    You say alleged, but he's never denied that        14:25:28

13     he took them; right?                                         14;25:29

14         A.    Define "took."                                     14:25:31

15         Q.    Define "took"?                                     14:25:31

16         A. Yeah. Downloaded?                                     14;25;34

17         Q.    Downloaded, yes.                                   14:25:36

18         A.    Have I heard any claim that he didn't? But         14:25:38

19     as far as taking it to a computer off of Google's or         14:25:43

20     Waymo's campus, I have -- he hasn't talked about that. 14;25;47

21         Q.    Are you aware of any evidence to dispute that 14:25:49

22     he downloaded the files, put them on a PCB -- excuse         14:25:52

23     me -- not a PCB, a USB and took them from Goggle?            14;25;56

24         A.    No, I have no evidence to argue one way or         14:25:59

25     the other in that matter.                                    14:26:01

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1          Q.    So just to be clear, your testimony about it       14:26:04

2      being alleged, you have no basis to say whether he           14:26:06

3      actually did that or not; right?                             14:26:07

4          A.    Exactly my point --                                14:26:10

5          MR. KIM: Objection to form.

6          THE WITNESS: -- yes.                                     14:26:12

7      BY MR. JAFFE:                                                14:26:12

8          Q.    At the end of October 2017 -- we talked about 14:26:23

 9     this pivot to Fuji.                                          14:26:25

10         A.    Yes.                                               14:26:26

11         Q.    Actually . . . going back to your surreply         14:27:01

12     declaration, there's a discussion about the pivot to         14:27:08

13     Fuji. Here we are. End of paragraph 11.                      14:27:25

14               You said, "The LiDAR team's decision to            14:27:30

15     abandon the Spider project to work on Fuji was based         14:27:35

16     on the aforementioned design considerations and was          14:27:38

17     not at the instructions of Uber's legal team or due to 14:27:40

18     any legal issues."                                           14:27:41

19               Do you see that?                                   14:27:42

20         A.    I'm sorry. I'm in the wrong place. Is this         14:27:48

21     the supplemental?                                            14:27:49

22         Q.    152.                                               14:27:50

23         A.    152. End of paragraph 11?                          14:27:53

24         Q.    Paragraph 10. Excuse me.                           14:27:55

25               Do you see the sentence that I just read?          14:28:05

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1          A.     I see that, yes.                                  14:28:10

2          Q.     The "LiDAR team" right there, that includes       14:28:15

3      Anthony Levandowski; right?                                  14:28:17

4          MR. KIM: Objection; form.                                14:28:17

5          THE WITNESS: I wouldn't have considered him part         14:28:24

6      of the LiDAR team, but clearly he was informed of the        14:28:30

7      decision and we got his buyoff because it affected the 14:28:33

8      program.                                                     14:28:34

 9     BY MR. JAFFE:                                                14:28:34

10         Q.     So, again, I'm referring to what's in your        14:28:36

11     declaration. Your declaration says, "The LiDAR team's 14:28:39

12     decision."                                                   14:28:39

13                Is Mr. Levandowski part of the LiDAR team in      14:28:41

14     your declaration or not?                                     14:28:43

15         MR. KIM: Objection; form.                                14:28:46

16         THE WITNESS: No.                                         14:28:46

17     BY MR. JAFFE:                                                14:28:46

18         Q.     So when you said, "The LiDAR team's decision      14:28:51

19     to abandon the project," you're excluding                    14:28:54

20     Mr. Levandowski?                                             14:28:55

21         A.     I am.                                             14:28:56

22         Q.     Even though he had to actually make the           14:28:59

23     decision to pivot?                                           14:29:00

24         A.     I would say the LiDAR team proper made a          14:29:03

25     decision based on technical matters; whereas, Anthony        14:29:06

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1      agreed to it or allowed it perhaps based on business         14:29:12

2      considerations.                                              14:29:13

3          Q.    Do you know whether Uber legal provided any        14:29:17

4      input to Anthony that influenced his decision to agree 14:29:24

5      or disagree with your decision to pivot to Fuji?             14:29:28

6          MR. KIM: Objection; form.                                14:29:30

7          THE WITNESS: No, I cannot be aware of any                14:29:32

8      potential conversations between Anthony and legal            14:29:35

 9     department.                                                  14:29:36

10     BY MR. JAFFE:                                                14:29:36

11         Q.    So you have no idea whether Anthony's              14:29:39

12     approval of the pivot was at all influenced by legal         14:29:43

13     issues or Uber's legal team; right?                          14:29:46

14         MR. KIM: Objection; form.                                14:29:47

15         THE WITNESS: I have to agree that I don't have           14:29:49

16     such knowledge, yes.                                         14:29:57

17     BY MR. JAFFE:                                                14:29:57

18         Q.    What is your basis for saying that the             14:30:01

19     decision to pivot -- and I'm referring to the overall        14:30:03

20     decision -- was not at the instructions of Uber's            14:30:07

21     legal team or due to any legal issues?                       14:30:10

22         A.    So you're referring to the overall decision        14:30:17

23     to include Anthony, but when I wrote this and what my 14:30:20

24     intention was to explain the origination of the pivot. 14:30:25

25     The reason why we pivoted had no influence from Uber's 14:30:31

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1      legal team.                                                  14:30:32

2          Q.    Right. So I realize that.                          14:30:33

3                So what you're talking about here is your          14:30:35

4      recommendation that you should pivot, to Anthony;            14:30:39

5      right?                                                       14:30:39

6          A.    Yes.                                               14:30:39

7          Q.    So I want to refer to the decision as a whole 14:30:42

8      to pivot to Fuji.                                            14:30:43

 9               Are you with me?                                   14:30:45

10         A.    I am with you.                                     14:30:45

11         Q.    In terms of Uber's decision to pivot from          14:30:48

12     Spider to Fuji, do you have any basis to say it was          14:30:53

13     not done at the instructions of Uber's legal team or         14:30:57

14     due to any legal issues?                                     14:31:00

15         MR. KIM: Objection; form.                                14:31:00

16         THE WITNESS: I've got a really hard time granting 14:31:04

17     that. Because if we had already made the                     14:31:06

18     recommendation, how can I attribute that decision to a 14:31:10

19     legal team other than to simply allow it? I have a           14:31:16

20     really hard time granting you that statement.                14:31:18

21     BY MR. JAFFE:                                                14:31:18

22         Q.    You have no basis to testify whether there         14:31:22

23     was any legal involvement with Anthony and his               14:31:26

24     decision to agree with your recommendation?                  14:31:28

25         MR. KIM: Objection; form.                                14:31:30

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1          THE WITNESS: I agree with you.                           14:31:31

2      BY MR. JAFFE:                                                14:31:31

3          Q.    So in terms of the overall pivot, you,             14:31:34

4      sitting here today, can't say that there were no legal 14:31:38

5      issues or legal involvement in that overall decision?        14:31:42

6          MR. KIM: Objection; form.                                14:31:44

7          THE WITNESS: I'll agree with that.                       14:31:46

8      BY MR. JAFFE:                                                14:31:46

 9         Q.    Okay. Let's go to paragraph 11. And on             14:32:05

10     page 7, you say, "The transmit lens has a focal length 14:32:14

11     of 150 millimeters."                                         14:32:17

12         A.    Yes.                                               14:32:18

13         Q.    Which cavity are you referring to here?            14:32:22

14         A.    This would be true of either cavity.               14:32:25

15         Q.    And when you say "focal length," what do you       14:32:29

16     mean by that?                                                14:32:30

17         A.    I mean if you were to take a set of parallel       14:32:37

18     rays of light coming towards the outside surface of          14:32:42

19     the lens, those parallel rays would converge --              14:32:46

20     assuming that they're on the parallel to the axis of         14:32:50

21     the lens, would converge at a point on the central           14:32:55

22     axis of the lens that is 150 millimeters from some           14:33:02

23     point within the lens. And this is the focal length          14:33:08

24     specified in the Zemax software that Gaetan designed.        14:33:13

25         Q.    Would you agree that within any one cavity,        14:33:16

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1      the diode angles' and spacings are slightly different? 14:33:23

2          MR. KIM: Objection; form.                                14:33:25

3          THE WITNESS: Yeah, I'm not sure what -- if you           14:33:28

4      could be more specific. I mean, clearly we've shown          14:33:31

5      changes in the intended angles, so there are some with 14:33:35

6      differences, and now we're talking slight.                   14:33:38

7      BY MR. JAFFE:                                                14:33:38

8          Q.    So that's fine.                                    14:33:40

 9               Do you know what the virtual intersection          14:33:43

10     point is?                                                    14:33:45

11         MR. KIM: Objection; form.                                14:33:46

12         THE WITNESS: I'm not sure what that refers to.           14:33:49

13     BY MR. JAFFE:                                                14:33:49

14         Q.    So you don't know what that is? Let me             14:33:51

15     actually ask that a different way. Is that all right? 14:33:54

16         A.    Go ahead.                                          14:33:55

17         Q.    Have you ever heard the term "virtual              14:33:56

18     intersection point" before?                                  14:33:59

19         A.    I'm not aware of that as a classical or            14:34:04

20     standard lens terminology. But it does ring a bell           14:34:08

21     with the declaration by Greg Kintz.                          14:34:12

22         Q.    Outside of Mr. Kintz's declaration, are you        14:34:16

23     familiar with the term "virtual intersection point"?         14:34:19

24         A.    Not as it would necessarily apply as a             14:34:22

25     standard term, no.                                           14:34:23

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 1         MR. JAFFE: Which number are we at?                       14:34:23

2          THE REPORTER: I think we're on 156.

 3         MR. KIM: How long have you gone on the record?           14:35:02

4          THE REPORTER: We're on 157.

 5         THE VIDEOGRAPHER: Three hours and four minutes.

6          MR. KIM: We've got another hour. If there's a

 7     convenient time for a break.

 8         MR. JAFFE: I'll do this --                               14:35:04

 9         MR. KIM: You can ask your next --

10         MR. JAFFE: -- really quick and then we can take a 14:35:07

11     quick break.                                                 14:35:08

12                (Plaintiff's Exhibit 157 was marked.)             14:35:23

13     BY MR. JAFFE:

14         Q.     I've marked as Exhibit 157 a document with        14:35:26

15     the slip sheet labeled "Exhibit H." And then the             14:35:30

16     document underlying that says,                               14:35:33

17                Is this a document that you were referring to 14:35:36

18     before that Mr. Levandowski, Anthony Levandowski that        14:35:40

19     is, called you about and discussed?                          14:35:41

20         MR. KIM: Objection; form.                                14:35:52

21         THE WITNESS: No, this is not, to my recollection, 14:35:56

22     the same document. There does appear to be some              14:36:00

23     features in here, but for reasons I don't understand,        14:36:03

24     there seems to be pages I'm not familiar with.               14:36:07

25     BY MR. JAFFE:                                                14:36:07

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 1         Q.     So you're familiar with some pages of this        14:36:15

2      document, but not others; is that fair?                      14:36:18

 3         A.     I think so, yeah.                                 14:36:19

4          Q.     Let's go to page 10.                              14:36:20

 5         A.     Okay.                                             14:36:22

6          Q.     And, actually, before we get there, going         14:36:30

 7     back to the first page, it's dated May 16th, 2016.           14:36:33

 8                You worked at Otto at that time; right?           14:36:36

 9         A.     I believe I did, yes.                             14:36:38

10         Q.     And you had had conversations with                14:36:39

11     Mr. Boehmke by that time?                                    14:36:41

12         A.     Probably not.                                     14:36:43

13         Q.     Okay. But were you aware of Uber and Otto         14:36:46

14     having conversations at that time?                           14:36:50

15         A.     I don't think so.                                 14:36:51

16         Q.     So you weren't aware of the conversations, to 14:36:55

17     the extent that they were happening, between Uber and        14:36:58

18     Otto?                                                        14:36:59

19         A.     I don't recall if I had become aware of Uber      14:37:04

20     and Otto discussions at this early date in May.              14:37:07

21         Q.     So if you look at page 14.                        14:37:28

22         A.     Okay.                                             14:37:34

23         Q.     You see it says,                                  14:37:35

24         A.     Yes.                                              14:37:36

25         Q.     Does this refresh your recollection that Uber 14:37:39

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 1     and Otto were already talking at this time?                        14:37:43

2          A.     Yes. Then this would be indicative of their             14;37;48

 3     discussion.                                                        14:37:48

4          Q.     Okay. So going back to page 10.                         14:37:53

 5         A.     Yes.                                                    14;37;54

6          Q.     Do you see there's a s ction entit ed,

 7                                                                        14:38:04

 8         A.     Yes.                                                    14:38:06

 9                                                                        14;38:09

10         A.     No, I'm not familiar with this page.                    14:38:11

11         Q.     So you're -- well, you said you're not                  14:38:15

12     familiar with this page. I'm referring --                          14:38:16

13                Are you familiar with

14                                                                        14:38:22

15         A.     So I was not aware of this design, especially 14:38:41

16     with this date. No, I'm not familiar with this                     14;38;45

17     design, actually.                                                  14:38:46

18         Q.     Do you know what the                       referred to 14:38:48

19     here refers to?                                                    14:38:49

20         A.     To my knowledge, the term                      has      14;38:55

21     been applied to be synonymous, more or less, with an               14:38:59

22     optical cavity.                                                    14:39:00

23         Q.     Do you know whether Mr. Levandowski had any             14;39;06

24     input into this                                                    14:39:09

25         A.     I don't know.                                           14:39:09

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      Q_   In this concept here, you would agree that              14:39:18

  the PCBs are arranged along a straight-edge board?               14:39:25

      MR. KIM:    Objection; form.                                 14:39:26

      THE WITNESS:      No, that's -- this appears to be a         14:39:29

  schematic, and it doesn't tell me anything about the             14:39:32

  plan view of the board.                                          14:39:34

  BY MR. JAFFE:                                                    14:39:34

      Q.    Would you agree that the -- what apparently            14:39:41

  are the emitters are                                             14:39:44

      MR. KIM:    Objection; form.                                 14:39:48

      THE WITNESS:      Let me see.                                14:39:49

            (Witness reviews document.)

      THE WITNESS:      It's not clear if they are

            They look                         from what's          14:39:59

  clearly a simple type of PowerPoint graphic, but it's            14:40:06

  not clear if they say one degree native if they could            14:40:10

  actually achieve

                                                                   14:40:17

  BY MR. JAFFE:

      Q.    The last bullet says,

                                                                   14:40:23

            Do you see that?                                       14:40:24

      A.   I see that.                                             14:40:24

      Q.    What does                            refer to there?   14:40:27

      MR. KIM:    Objection; form.                                 14:40:28

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 1         THE WITNESS:     I can't be sure what was meant                 14:40:31

2      exactly; but given what I know, I would assume this                 14:40:35

 3     has to do with effective                                            14:40:40

4      BY MR. JAFFE:                                                       14:40:40

 5         Q.    We're talking about the Y delta again?                    14;40;43

 6         MR. KIM:     Objection; form.                                   14:40:43

 7         THE WITNESS: Not necessarily.                                   14:40:45

 8     BY MR. JAFFE:                                                       14:40:45

 9         Q.    You said, "Not necessarily."                              14:40:47

10               What do you mean by that?                                 14:40:48

11         A.    My   guess would have been angular spacing.               14:40:52

12         Q.    In the top part of this page, it talks about              14:41:06

13

14                                                                         14:41:12

15         A.    I   see that.                                             14:41:14

16         Q.    That's the                              right?            14:41:17

17         A.    Yes.                                                      14:41:19

18         Q                                                               14:41:24

19     this is different than the      Fuji   design; right?               14:41:27

20         MR. KIM:     Objection; form.                                   14:41:32

21         THE WITNESS:     There's not a lot       of   detail in here;   14:41:35

22     but it's not the    Fuji   design yet, that's for sure.             14:41:39

23     BY MR. JAFFE:                                                       14;41;39

24         Q.    And you helped start the Fuji project, and                14:41:41

25     you're not familiar with this Plan B at all; right?                 14:41:44


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1          A.     Right.                                            14:41:44

2          Q.     So to your knowledge, what's described here       14:41:48

3      as Plan B isn't the basis for the Fuji design?               14:41:52

4          MR. KIM: Objection; form.                                14:41:55

5             THE WITNESS: I am not aware of a link between         14:41:59

6      this Plan B in this document and the Fuji design.            14:42:04

7      BY MR. JAFFE:                                                14:42:04

8          Q.     And you would be in a position to know;           14:42:08

 9     right?                                                       14:42:09

10         MR. KIM: Objection; form.                                14:42:11

11            THE WITNESS: I would have to make that                14:42:13

12     presumption. And it's just a presumption.                    14:42:15

13     BY MR. JAFFE:                                                14:42:15

14         Q.     In your job, you would be in a position to        14:42:18

15     know that; right?                                            14:42:18

16         MR. KIM: Objection; form.                                14:42:25

17            THE WITNESS: I would expect to know that.             14:42:26

18         MR. JAFFE: Let's take a break.                           14:42:32

19            THE VIDEOGRAPHER: We are off the record at 2:42       14:42:36

20     p.m.                                                         14:42:36

21                (Recess taken.)                                   14:42:36

22            THE VIDEOGRAPHER: We are back on the record at        14:55:55

23     2:56 p.m.                                                    14:55:57

24     BY MR. JAFFE:                                                14:55:57

25         Q.     Have you discussed the subject matter of your 14:56:03

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1      testimony during any of the breaks today?                    14:56:05

2          A.    Nothing in terms of like what we said in this 14:56:10

3      testimony.                                                   14:56:11

4          Q.    What does that mean?                               14:56:13

5          A.    That means the legal team may have advised me 14:56:19

6      on procedural matters, general terms without                 14:56:23

7      referencing the actual content of our discussion.            14:56:26

8          Q.    What did they tell you?                            14:56:27

 9         MR. KIM: Objection.                                      14:56:27

10               Going to instruct you not to answer on the         14:56:31

11     grounds of attorney-client privilege.                        14:56:33

12     BY MR. JAFFE:                                                14:56:33

13         Q.    Did your legal team tell you how to testify        14:56:36

14     after these meetings?                                        14:56:37

15         MR. KIM: You can answer that yes or no.                  14:56:39

16         THE WITNESS: Could you be clear by what you mean         14:56:41

17     by "how to testify"?                                         14:56:42

18     BY MR. JAFFE:

19         Q.    I don't think I can be any clearer.                14:56:46

20         A.    Like what to say?                                  14:56:47

21         Q.    I'm trying to understand what the legal team       14:56:51

22     told you in terms of general terms, procedural               14:56:55

23     matters, which is what you said.                             14:56:57

24               What did they tell you?                            14:56:58

25         MR. KIM: Instruct you not to reveal any                  14:57:00

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1      privileged conversations.                                    14:57:11

2            THE WITNESS: Are you instructing me not to             14:57:13

3      answer?                                                      14:57:14

4            MR. KIM: You can answer his prior question yes or 14:57:17

5      no.                                                          14:57:17

6            THE WITNESS: If your question is, did they tell        14:57:24

7      me what to say, no. Did they tell me how to testify,         14:57:28

8      no.                                                          14:57:29

 9     BY MR. JAFFE:                                                14:57:29

10           Q.   When you said that they told you things about 14:57:31

11     general things and procedural considerations, what           14:57:34

12     general things did they tell you?                            14:57:37

13           MR. KIM: I'm going to instruct you not to answer       14:57:39

14     on the grounds of attorney-client privilege.                 14:57:40

15     BY MR. JAFFE:                                                14:57:40

16           Q.   What procedural -- what general terms about       14:57:42

17     your testimony did they tell you?                            14:57:45

18           A.   Let's see. We discussed how much time is          14:57:52

19     left, something called redirect.                             14:57:59

20           Q.   What did they talk to you about redirect?         14:58:01

21           MR. KIM: And I'm going to instruct you not to          14:58:05

22     reveal any attorney-client privileged conversations.         14:58:09

23     And I don't think you can answer that without doing          14:58:11

24     so. I'm going to instruct you not to answer.                 14:58:14

25     BY MR. JAFFE:                                                14:58:14

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1            Q.   You talked about redirect on a break? Yes or 14:58:21

2      no?                                                          14:58:21

3            A.   Yes, we talked about the term "redirect."         14:58:24

4            Q.   And what did you talk about redirect?             14:58:28

5            A.   That is a situation where, instead of you,        14:58:33

6      the lawyer on my side of the table is going to ask me        14:58:36

7      questions.                                                   14:58:36

8            Q.   And how did redirect come up in the context       14:58:39

 9     of your conversation?                                        14:58:40

10           A.   In the context of time remaining and that         14:58:45

11     redirect would occur after your allotted time has            14:58:49

12     ended, so it's going to take longer than I might             14:58:54

13     think.                                                       14:58:54

14           Q.   Did Uber's lawyers tell you that they were        14:58:58

15     going to do redirect questions?                              14:59:00

16           A.   Yes.                                              14:59:02

17           Q.   And did they tell you what those questions        14:59:04

18     were going to be about?                                      14:59:06

19           A.   No.                                               14:59:07

20           Q.   Did you talk at all about what sort of            14:59:11

21     redirect would happen?                                       14:59:13

22           A.   No.                                               14:59:16

23           Q.   What did you talk about about redirect?           14:59:19

24           A.   That they will ask me questions just like you 14:59:24

25     ask me questions and that it's going to take longer          14:59:27

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1      than the hour, approximately, that we have remaining,        14:59:30

2      so not to expect it to be over at that time.                 14:59:34

3          Q.    What else, in general terms, did you and your 14:59:36

4      lawyers talk about on the breaks?                            14:59:38

5          MR. KIM: I'm going to advise you not to reveal           14:59:46

6      any attorney-client privileged communications.               14:59:49

7          THE WITNESS: So I'm not a lawyer. I don't know           14:59:55

8      what is considered attorney-client privilege and what        14:59:58

 9     wouldn't be in that context of conversations, so I           15:00:01

10     need to be careful not to answer and disclose                15:00:03

11     something I'm not supposed to say.                           15:00:06

12         MR. KIM: Do you need to consult with me about a          15:00:09

13     privilege issue?                                             15:00:09

14         THE WITNESS: Yes, that would help.                       15:00:12

15         MR. KIM: Can we go off the record so he can              15:00:15

16     consult with me on a privilege issue before he answers 15:00:18

17     any further questions about what we discussed?               15:00:20

18         MR. JAFFE: I'll withdraw the question and I'll           15:00:22

19     ask a different question.                                    15:00:23

20     BY MR. JAFFE:                                                15:00:23

21         Q.    Tell me the substance of your private              15:00:26

22     conferences -- private conferences during the break          15:00:28

23     that you had with Uber's lawyers, all of it.                 15:00:32

24         MR. KIM: I'm going to object on the grounds of           15:00:36

25     privilege.                                                   15:00:37

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1          MR. JAFFE: Are you instructing him not to answer? 15:00:41

2          MR. KIM: Instruct him not to answer.                     15:00:42

3          MR. JAFFE: Okay. I think you know that's                 15:00:47

4      directly contrary to Judge Alsup's order.                    15:00:50

5          MR. KIM: Can you clarify that.                           15:00:53

6          MR. JAFFE: Judge Alsup's order says no private           15:00:56

7      conferences after testimony begins.                          15:00:58

8          MR. KIM: He's testified that we haven't had any          15:01:01

 9     private conferences about his testimony.                     15:01:03

10         MR. JAFFE: The record speaks for itself. You             15:01:06

11     instructed him not to answer. I'm going to move on.          15:01:09

12               This is going to be Exhibit 158. It's a            15:01:15

13     document entitled UBER00012240.                              15:01:19

14               (Plaintiff's Exhibit 158 was marked.)              15:01:37

15     BY MR. JAFFE:                                                15:01:37

16         Q.    This is an e-mail from earlier in March of         15:01:40

17     this year; right -- excuse me, April.                        15:01:47

18         A.    Thank you. Yes.                                    15:01:48

19         Q.    And on this e-mail is yourself, Anthony            15:01:53

20     Levandowski, Claire Delaunay and Eric Meyhofer; right? 15:01:57

21         A.    Yes.                                               15:01:59

22         Q.    What is Claire Delaunay's role at Uber?            15:02:06

23         A.    She's a software engineer or software              15:02:08

24     engineering manager.                                         15:02:10

25         Q.    And there's -- on the "To" line, it says,          15:02:13

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 1                                                                      15:02:15

2                Do you see that?                                       15:02:17

 3         A.    I see that.                                            15:02:19

4          Q.    Why does it say                            t ere?      15:02:23

 5         A.    I don't know.                                          15:02:23

6          Q.    And you said,           -- so referrin to the          15:02:28

 7     substance of the e-mail that you wrote, you said,                15:02:30

 8                                                                      15:02:32

 9               What are you referring to?                             15:02:33

10         A.    I referred to this web link. I can't                   15:02:42

11     remember right now what I was looking at.

12                                                                      15:02:54

13               This could be a LiDAR sensor, but clicking on 15:02:59

14     the web link would make it very clear what this was.             15:03:03

15         Q.                       that's Anthony Levandowski's        15:03:20

16     address; right?                                                  15:03:20

17         A.    I believe it is, yes.                                  15:03:20

18         Q.    So someone had in their address book Anthony           15:03:25

19     Levandowski's e-mail address, but the name was just              15:03:29

20                                                                      15:03:31

21         A. Apparently.                                               15:03:31

22         Q.    Did you notice that when you received this             15:03:36

23     e-mail?                                                          15:03:36

24         A.    No, I did not.                                         15:03:38

25         Q.    Are you aware of whether Mr. Levandowski               15:03:40

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 1     consulted for Uber?                                          15:03:45

2          A.      No. Consulted, no.                               15:03:48

 3            Q.   Okay. You can put that aside.                    15:04:04

4                  This has been previously marked as Exhibit       15:04:18

 5     60. So if you can go to 85 -- oh, this is the wrong          15:04:37

6      doc.                                                         15:04:37

 7                 Going back in time, there's an e-mail from -- 15:04:52

 8     Scott Hoehmke wrote,

 9                                                                  15:05:00

10                 Do you see that? It's on the last page.          15:05:03

11                 (Witness reviews document.)                      15:05:14

12         A.      Okay. I see that.                                15:05:16

13            Q.   Do you know what the "doc" being referred to     15:05:19

14     here is?                                                     15:05:20

15            MR. KIM: Objection; form.                             15:05:26

16         THE WITNESS: No. I don't know what the doc was.          15:05:35

17     BY MR. JAFFE:                                                15:05:35

18            Q.   And then in the next e-mail in time, you were 15:05:47

19     added to the thread.                                         15:05:54

20                 Do you see that?                                 15:05:55

21         A.      Yes.                                             15:05:58

22            Q.   Do you remember being added to this e-mail       15:06:01

23     thread?                                                      15:06:02

24         A.      Remember? This dates back pretty far. I          15:06:09

25     don't remember. About a year ago.                            15:06:11

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 1         Q.     But at this time, immediately when you were       15:06:20

2      involved, Mr. Boehmke and Mr. Levandowski were having        15:06:26

 3     LiDAR-related discussions; right?                            15:06:31

4          MR. KIM: Objection; form.                                15:06:38

 5         THE WITNESS: It's not -- it's not clear, when it         15:06:40

6      says,

 7             meant Scott and Anthony or Scott and s mebody        15:06:49

 8     else, so I don't know.                                       15:06:50

 9     BY MR. JAFFE:                                                15:06:50

10         Q.     Do you think that's ambiguous?                    15:06:52

11         A.      I think that's ambiguous.                        15:06:54

12         MR. JAFFE: You can set that aside.                       15:07:11

13                 We're on 158?                                    15:07:13

14         THE REPORTER: 159.                                       15:07:15

15         MR. JAFFE: Get it right one of these times.              15:07:18

16                (Plaintiff's Exhibit 159 was marked.)             15:07:35

17     BY MR. JAFFE:                                                15:07:35

18         Q.     In June of 2016, you were working at Otto;        15:07:39

19     right?                                                       15:07:39

20         A.      Yes.                                             15:07:41

21         Q.     And do you see, in the second e-mail, there's 15:07:43

22                           [sic]?                                 15:07:47

23                Do you see that?                                  15:07:50

24         A.      Yes.                                             15:07:50

25         Q.      What is that e-mail list?                        15:07:54

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1          A.    That should be the list of Otto LiDAR              15:07:59

2      development employees.                                       15:08:00

3          Q.    Who's on that -- well, Mr. Levandowski is on       15:08:01

4      that list; right?                                            15:08:02

5          A.    Okay.                                              15:08:03

6          Q.    I'm asking you.                                    15:08:03

7          A.    I don't know if he's on that list.                 15:08:05

8          Q.    Well, this e-mail indicates -- because he          15:08:08

 9     forwarded an e-mail to that list -- to Mr. Boehmke, it 15:08:11

10     indicates that he's on that list. You would agree            15:08:14

11     with that; right?                                            15:08:15

12               (Witness reviews document.)                        15:08:23

13         A.    Yeah, seems that way.                              15:08:28

14         Q.    So Mr. Levandowski is on the e-mail LISTSERV       15:08:34

15     for the LiDAR development team; right?                       15:08:36

16         A.    He may have been, yes.                             15:08:39

17         Q.    He was?                                            15:08:39

18         A.    Okay.                                              15:08:41

19         Q.    No, I'm asking you.                                15:08:42

20               He was; right?                                     15:08:42

21         A.    It appears from this e-mail chain, assuming        15:08:45

22     there's nothing deleted from it, that he would have          15:08:48

23     got it from the chain and continued it on.                   15:08:51

24         Q.    Let me ask you: Do you have any personal           15:08:54

25     knowledge whether Mr. Levandowski was on this e-mail         15:08:56

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1      list or not?                                                 15:08:57

2          A.    I don't recall if he was on the list or not.       15:09:00

3          Q.    Okay. So sitting here today, you have no           15:09:02

4      personal knowledge whether Mr. Levandowski was on the        15:09:04

5      laser-dev e-mail list; right?                                15:09:07

6          A.    Sitting here right now, I don't remember if        15:09:10

7      he was on the list.                                          15:09:11

8          Q.    Who else was on that list at this time that        15:09:14

 9     you remember?                                                15:09:15

10         A.    I would assume it was the other people             15:09:19

11     developing the LiDAR sensors.                                15:09:21

12         Q.    And who are those people?                          15:09:23

13         A.    It would be -- to my expectation, people like 15:09:28

14     Gaetan, Dan Gruver, Daniel Ratner. I don't know if           15:09:38

15     Radu was part of the company at the time. Mike               15:09:55

16     Karasoff. Probably Matt Palomar, Benjamin Becker.            15:10:00

17     That's all I can remember right now. Certainly also          15:10:22

18     could have involved Anthony Levandowski for                  15:10:25

19     informative purposes.                                        15:10:27

20         Q.    What about Max?                                    15:10:28

21         A.    I'm sorry. Of course, Max Levandowski as           15:10:30

22     well. Who else am I forgetting? Refer back to my             15:10:41

23     list.                                                        15:10:42

24         Q.    For the record, you're looking at Exhibit          15:10:45

25     153; right?                                                  15:10:46

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 1         A.    153.                                                 15;10;47

2                Probably would have included Florin                  15;10;59

 3     Ignatescu. I don't recall if Adam had joined by then. 15:11:08

4      Would have included Asheem Linaval, Tri Luong, Nancy           15:11:25

 5     Sun. I think that would be it. And like I said,                15:11:36

6      possibly Anthony. This is best of my recollection who 15:11:40

 7     should have been or could have been on that list.              15:11:42

 8         Q.    So Exhibit 159 here is an e-mail from                15:11:45

 9     Mr. Levandowski to Mr. Boehmke. And it says --                 15:11:47

10     Mr. Levandowski says,

11

12               Do you see that?                                     15:11:55

13         A.   I see that.                                           15:11:56

14         Q.    Do you know what that refers to?                     15:11:57

15

16                                                                    15:12:06

17         Q.    What does                        refer to, though?   15:12:10

18         A.   It's a wavelength of light for a laser diode. 15:12:14

19         Q.    So Mr. Levandowski is referring to a                 15:12:16

20     diode-based LiDAR design here; right?                          15:12:18

21         A.    Yes.                                                 15:12:20

22         Q.    And one of the parts of that design was going 15:12:22

23     to be Gaetan Pennecot's FAC lens; right?                       15:12:27

24         A.    Yes.                                                 15:12:27

25         Q.    And he was already working with Mr. Boehmke          15:12:34

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 1     on that design in June of 2016?                              15:12:38

2          A.     I'm sorry. You said Gaetan was working with       15:12:41

 3     Boehmke?                                                     15:12:41

4          Q.     Mr. Levandowski was working with Mr. Boehmke      15:12:43

 5     on that design in June of 2016; right?                       15:12:46

6          A.     It appears that Anthony Levandowski was           15:12:52

 7     informing Scott, but to say that Anthony was working         15:12:55

 8     on the design, is that an overstatement?                     15:12:58

 9         Q.     I'm saying Mr. Levandowski and Mr. Boehmke        15:13:00

10     were working together on the                                 15:13:04

11     in June 2016?                                                15:13:06

12         MR. KIM: Objection; form.                                15:13:07

13         THE WITNESS: I don't know that. And I wouldn't           15:13:08

14     assume that from this e-mail. As a matter of fact,           15:13:11

15     they had to be notified -- and Boehmke had to be             15:13:13

16     notified of this design, so it seems like "working on" 15:13:19

17     it would be a strong statement even for Scott at this        15:13:23

18     point.                                                       15:13:24

19     2Y MR. JAFFE:                                                15:13:24

20         Q.     Why would Mr. Levandowski forward this e-mail 15:13:27

21     to Mr. Boehmke about                                  that   15:13:33

22     Otto was working on?                                         15:13:36

23         MR. KIM: Objection; form.                                15:13:37

24         THE WITNESS: I'd have to -- I don't know. I              15:13:37

25     would have to guess.                                         15:13:38

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1      BY MR. JAFFE:                                                15:13:38

2          Q.    The only person that would know would be           15:13:40

3      Anthony; right?                                              15:13:40

4          A.    Anthony and/or Scott.                              15:13:42

5          Q.    But the only person who would know why             15:13:45

6      Anthony was sending this e-mail would be Anthony;            15:13:49

7      right?                                                       15:13:49

8          A.    Probably.                                          15:13:50

9          Q.    And do you know why Mr. Levandowski was            15:13:53

10     sending e-mails to Mr. Boehmke about

11                    in June of 2016?                              15:14:01

12         A.   No.                                                 15:14:02

13         Q.    Is it fair to say that Anthony Levandowski         15:14:10

14     was working with Uber on a diode-based design in June        15:14:15

15     of 2016 or no?                                               15:14:17

16         A.    I couldn't jump to that conclusion,                15:14:22

17         Q.    This e-mail would tend to indicate that he         15:14:25

18     was, though; right?                                          15:14:26

19         MR. KIM: Objection; form.                                15:14:27

20         THE WITNESS: I don't read it that way.                   15:14:29

21     BY MR. JAFFE:                                                15:14:29

22         Q.    How do you read it?                                15:14:31

23         A.   I read it as Anthony informing somebody at          15:14:35

24     Uber about work that was going on at Otto.                   15:14:39

25         Q.    And why would Anthony be doing that?               15:14:44

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 1         A.   I would have to jump to a guess. I don't            15:14:46

2      know.                                                        15:14:47

 3         Q.    Does it surprise you that he would be              15:14:51

4      forwarding information about Otto's own designs to           15:14:54

5      Uber in June of 2016?                                        15:14:57

6          A.   I don't know, At some point, we were working 15:15:04

7      with them as a potential supplier, but June -- is that 15:15:10

 8     too early? I don't know.                                     15:15:11

 9         Q.    So you don't know why Anthony is telling Uber 15:15:17

10     in June of 2016 about the confidential designs for a         15:15:23

11     diode-based device; right?                                   15:15:25

12         A.    Right.                                             15:15:25

13         MR. JAFFE: I think this was marked before, but my 15:15:46

14     version is not marked, so I'm just going to mark it          15:15:49

15     again.                                                       15:15:50

16         THE REPORTER: 16Q,                                       15:16:07

17               (Plaintiff's Exhibit 160 was marked.)              15:16:15

18     BY MR. JAFFE:                                                15:16:15

19         Q-    This is an e-mail dated June 16th, 2016. And 15:16:24

20     if we go back in time, the first e-mail is from              15:16:30

21     Mr. Levandowski to Scott Boehmke.                            15:16:33

22               Do you see that?                                   15:16:34

23         A,    Um-hum.                                            15:16:40

24         Q.    And he says,

25                                                                  15:16:46

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 1                                                                  15:16:47

2                Do you see that?                                   15:16:48

 3         A.    Yes.                                               15:16:48

4          Q.    Why did Mr. Levandowski send this e-mail to        15:16:51

 5     Uber at this time?                                           15:16:53

6          MR, KIM: Objection; form.                                15:16:57

 7         THE WITNESS: I would have to assume Anthony was          15:17:02

 8     asking Scott to prescribe angles for the LiDAR sensor        15:17:09

 9     Otto was developing.                                         15:17:10

10     BY MR. JAFFE:

11         Q.    Are these the angles that Scott -- are those       15:17:13

12     the angles that went into Fuji?                              15:17:16

13         A.   I don't think so. No.                               15:17:22

14         Q.    Are -- these angles that Mr. Boehmke wrote         15:17:25

15     back, are they related at all in the angles that ended 15:17:30

16     up in Fuji?                                                  15:17:31

17         MR. KIM: Objection; form.                                15:17:55

18               (Witness reviews document.)                        15:17:55

19         THE WITNESS: Are you asking if these are related         15:18:02

20     in any way to the angles in Fuji? They may have              15:18:06

21     similar origins, similar calculations behind them,           15:18:12

22     similar driving information behind them as what we           15:18:17

23     ended up with Fuji.                                          15:18:19

24     BY MR. JORDAN:

25         Q.    What do you mean by "driving information"?         15:18:21

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1          A.    Let's say, for example, there's a piece of         15:18:27

2      driving information -- there could be a desire to have 15:18:33

3      a first lowest laser beam angle come down from a             15:18:38

4      sensor that's mounted on a roof of a car and just miss 15:18:41

5      the hood of the car so that you can see the ground           15:18:45

6      directly in front of the vehicle. That sort of               15:18:48

7      information could be used over and over to derive            15:18:51

8      required angles like this.                                   15:18:54

 9         Q.    So other than those kind of basic underlying       15:18:56

10     requirements, is there any other relationship between        15:19:00

11     what Mr. Levandowski asks for and what's in the Fuji?        15:19:06

12         MR. KIM: Objection; form.                                15:19:11

13         THE WITNESS: Well, what's sticking out to me is          15:19:14

14     not a similarity, but a difference. I see angles that 15:19:17

15     have been constrained into groupings of flashlights or 15:19:24

16     optical cavities with specific sets of spacing. We           15:19:29

17     don't have that restriction on the Fuji, so it seems         15:19:35

18     they should be different.                                    15:19:37

19               Now, are there other calculations that Scott       15:19:40

20     did to determine these angles that could be applied          15:19:44

21     first to something like this and later on still              15:19:48

22     applied to something in Fuji? It's possible. But,            15:19:52

23     again, it seems challenging given these extra                15:19:57

24     constraints, like, for example, only two different           15:20:02

25     spacings for your flashlight (indicating).                   15:20:08

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1                So here in Section A, you want the beams to        15:20:17

2      point at -- under two scenarios. A, you have 64 beams 15:20:22

3      and you can place them individually. That's                  15:20:25

4      unconstrained. And so here's an early recomm- --             15:20:40

5      recommended set of angles, paragraph labeled "A" on          15:20:49

6      the final e-mail.                                            15:20:50

7      BY MR. JAFFE:                                                15:20:50

8          Q.    Did the angles here in Exhibit 160 form the        15:20:54

 9     basis for the beam spacing in the Fuji design?               15:20:57

10         MR. KIM: Objection; form.                                15:21:01

11         THE WITNESS: Not that I'm aware of. These angles 15:21:05

12     look different.                                              15:21:06

13     BY MR. JAFFE:                                                15:21:06

14         Q.    And what's described here in 160, these are        15:21:10

15     actually groups of uniform spacing; right?                   15:21:15

16         MR. KIM: Objection; form.                                15:21:16

17         THE WITNESS: No. You have sections where they're 15:21:20

18     not uniformly spaced.                                        15:21:22

19     BY MR. JAFFE:                                                15:21:22

20         Q.    So here we've got Mr. Boehmke, who comes up        15:21:31

21     with different zones of spacing; is that fair?               15:21:39

22         MR. KIM: Objection; form.                                15:21:44

23         THE WITNESS: I'd use the term "groupings," but           15:21:48

24     "zones" might be effective. It just depends what the         15:21:52

25     final pointing angle of the whole sensor is. But --          15:21:55

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1          THE REPORTER: "Sounds are fine"?

2          THE WITNESS: "Zones" are fine, as a term.                15:22:04

3      BY MR. JAFFE:                                                15:22:04

4          Q.    And this is even for Section A of his e-mail       15:22:08

5      where there's no restrictions on beam groupings;             15:22:11

6      right? He's still proposing different zones of beam          15:22:16

7      spacings; right?                                             15:22:17

8          MR. KIM: Objection; form.                                15:22:19

 9         THE WITNESS: He's not specifically calling out           15:22:21

10     the zones. There are certain areas that seem to              15:22:25

11     have -- be uniform spacing and other zones that have,        15:22:28

12     to use your term "zones," another area or set of             15:22:32

13     angles that have a different spacing for some number         15:22:35

14     of channels.                                                 15:22:38

15     BY MR. JAFFE:

16         Q.    So this isn't where the vertical spacing for       15:22:42

17     the Fuji board came from.                                    15:22:44

18               So where did the vertical spacing design in        15:22:49

19     Fuji come from?                                              15:22:51

20         MR. KIM: Objection; form.                                15:22:54

21         THE WITNESS: In our discussions so far, we've            15:22:57

22     used the term "vertical spacing" with two different          15:23:00

23     meanings. So I want to be clear to understand whether 15:23:02

24     you mean the linear vertical spacing between, say,           15:23:07

25     diodes on a board or if you mean vertical spacing as         15:23:11

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1      angled deltas between recommended --                         15:23:15

2          THE REPORTER: "Between recommended" --

3          THE WITNESS: Channel angles.                             15:23:19

4      BY MR. JAFFE:                                                15:23:19

5          Q.    I'm referring to the delta of the Y that we        15:23:22

6      talked about earlier.                                        15:23:23

7          A.    Oh. The delta of the Y -- as you                   15:23:29

8      mentioned -- you're asking where that came from in           15:23:32

 9     Fuji; right?                                                 15:23:33

10         Q.    Yes.                                               15:23:33

11         A.    So the delta in Y on a laser board would be        15:23:38

12     constrained by the lens design, that is its focal            15:23:46

13     length, its field curvature. It would be defined by          15:23:52

14     the desired outcome pointing of angles in the vertical 15:23:57

15     direction. It would be driven by how many boards you         15:24:03

16     chose to divide those angles among.                          15:24:06

17               And then, finally, through the optical             15:24:12

18     projection of the angle to the final field curvature         15:24:19

19     surface, you're going to end up with X and Y                 15:24:25

20     coordinates for that optical cavity.                         15:24:27

21               Let me add one more thing. If you're going         15:24:30

22     to tilt your optical cavity, it's going to affect the        15:24:35

23     angles relative to the lens and what we're calling the 15:24:40

24     delta Y dimensions on the board.                             15:24:45

25         Q.    Let me just ask the question directly then.        15:24:49

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1                Where did the idea to do

                               come from in the Fuji mid-range          15:24:56

3      transmit board design?                                           15:24:58

4          MR. KIM: Objection; form.                                    15:25:03

5          THE WITNESS: I think it's a mischaracterization              15:25:04

6      to call it -- the                         as something that      15:25:08

7      had an idea -- that had an origin as an idea. The                15:25:12

8      fact that

                                  is a side effect of the optics 15:25:21

10     in the optical cavity.                                           15:25:24

11     BY MR. JAFFE:                                                    15:25:24

12         Q.    So you can't tell me where it came from, who           15:25:26

13     came up with the idea?                                           15:25:28

14         A.    I'm trying to explain -- I don't think                 15:25:31

15     anybody had this idea to

                                                 on the laser board. 15:25:40

17     I believe that was a side effect that was unavoidable            15:25:46

18     when you take a set of vertical angles, especially if            15:25:51

19     they're nearly or equivalently spaced in terms of                15:25:56

20     angle, and project those onto a curved focal surface.            15:26:01

21         Q.    You said it's unavoidable.                             15:26:03

22               You worked at Velodyne; right?                         15:26:05

23         A.    Yes.                                                   15:26:05

24         Q.    You didn't do                                   at     15:26:09

25     Velodyne; right?                                                 15:26:11

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 1           MR. KIM: Objection; form.                                 15:26:12

 2       BY MR. JAFFE:                                                 15:26:12

 3           Q.    In terms of the X and Y positions of the            15:26:15

4        diodes?                                                       15:26:15

 5 1         A.    I'm not aware that they were

                   as a matter of fact-                                15:26:20

 7           Q.    You don't know?                                     15:26:22

 8           A.    I -- actually, if I had to guess, because it        15:26:25

 9       was never something we directly measured or                   15:26:27

10       considered, they probably are                                 15:26:31

11           Q.    And why do you say that?                            15:26:34

12           A.

                                                              M




                                                                       15:27:00

18           Q.    What do you mean, it's                       ?      15:27:02

19           A.    I would have to do the math or do a CAD             15:27:08

20       simulation, but I fully expect




ME-                                                                    15:27:24

24           Q.    Okay.   You worked at Velodyne; right?              15:27:28

25           A.    Yes.                                                15:27:28

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 1          Q.     And you worked on LiDAR at Velodyne?                 15:27:32

2           A.     Yes.                                                 15:27:32

3 I                                                                     15:27:35

4 1

I 1        II

II         •




                                                                        15:27:57

12          Q.     So I want to again go back to this idea of           15:28:20

13      where did the idea to do the                        design      15;28;23

14      in Fuji come from? You've said -- you've mentioned              15:28:26

15      the things -- the drivers, but I haven't heard who              15:28:29

16      came up with the idea, where it came from.                      15;28;32

17          A.     Again, you're referring, I believe, to a             15:28:34

18      linear vertical -- what we call delta Y; is that                15:28:37

19      correct?                                                        15:28:38

20          Q•     Yes.                                                 15;28:39

21          A.     I have to give you the same answer. It was           15:28:43

22      not a concept that drove the design. There was nobody 15:28:48

23      coming up with the idea to do that. The idea for the            15;28:54

24      vertical angles I would attribute to Scott Boehmke.             15:28:58

25      The lens design I would attribute to Gaetan Pennecot.           15:29:01

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 1     So what you end up with on the board at that point is            15:29:06

2      just derived from those pieces of information.                   15:29:10

 3         Q.     So talking about the angles, you said when            15:29:13

4      you were at Velodyne, you did constant angles.                   15:29:17

 5         A.     Yes.                                                  15:29:17

6          Q.      Why didn't you want to get

                                   when you were working at             15:29:26

8      Velodyne?                                                        15:29:27

 9         A.      I don't know.                                        15:29:28

10         Q.     You guys didn't come up with that?          You       15:29:31

11     didn't think of that idea?                                       15:29:33

12         A.     I don't think so.       I mean, I would -- at that    15:29:40

13     point,               had a very strong influence on this         15:29:43

14     is what your LiDAR is going to be, this is the angle             15:29:46

15     spacing.    So it's not something that I had ever                15:29:49

16     thought of,                                                      15:29:50

17         Q.      It not something that you guys considered,           15:29:54

18     which is you want                                       as you   15:29:59

19     go down the road?                                                15:30:00

20         A.                                                           15:30:00

21         Q.     Yes.                                                  15:30:01

22         A.     That was the design that Velodyne ended up            15:30:04

23     with --                                                          15:30:05

24         Q.     Sorry.                                                15:30:05

25         A.      -- still 32.

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 1           Q      Let me ask a different question.                    15:30:07

 2                  If you wanted to have a point on the road           15:30:09

 3     every 10 feet going out to 150 feet, is tha an idea              15:30:13

 4     that you guys came up with at Velodyne?                          15:30:17

 5           A.     That -- I don't recall that idea at Velodyne, 15:30:20

 6     no.                                                              15:30:20

 7           Q.     Even though you guys were designing LiDARs          15:30:24

 8     for self-driving cars?                                           15:30:26

 9           A.     We were designing LiDARs for mapping,               15:30:29

10     self-driving cars, robots. So, yes.                              15:30:34

11           Q.     And when you came to Otto, who came up with         15:30:40

12     the idea of wanting to get -- hit a point every 10               15:30:49

13     feet on the road for every 150 feet?            Or that concept, 15:30:53

14     where did that come from?                                        15:30:55

15           A.     The vertical angles and the concepts behind         15:31:01

16     them I believe, my understanding was, came through               15:31:04

17     Scott Boehmke.                                                   15:31:05

18           Q.     Anyone else?                                        15:31:06

19           A.     I'm not aware of anyone else.                       15:31:08

20           Q.     And you know that Scott Boehmke was talking         15:31:11

21     with Anthony Levandowski about LiDAR design when you             15:31:15

22     were joining; right?                                             15:31:16

23           A.     Shortly after I joined, we have e-mails that        15:31:18

24     show that they were talking about LiDAR, yes.                    15:31:21

25           Q.     And, in particular, the e-mail that we were         15:31:26

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 1     just looking at, for example, shows that                     15:31:30

2      Mr. Levandowski and Mr. Boehmke were talking about how 15:31:35

 3     to implement 64 beams and the angles for each of             15:31:39

4      those; right?                                                15:31:40

 5         A.    They were talking about that topic, yes.           15:31:45

6          Q.    And they were talking about that because           15:31:47

 7     Mr. Levandowski was working with Mr. Boehmke on the          15:31:50

 8     beam angles; right?                                          15:31:52

 9         A.    Well, you're making it sound like Anthony was 15:31:57

10     working on the beam angles. So I want to just be             15:32:01

11     clear. I don't know that he actually worked on beam          15:32:04

12     angles, but it does seem that he was asking Scott            15:32:07

13     Boehmke to design angles based on certain                    15:32:10

14     manufacturing restrictions.                                  15:32:12

15         Q.    And where do those manufacturing restrictions 15:32:14

16     come from?                                                   15:32:17

17         A.   It could have involved a discussion with            15:32:22

18     Anthony Levandowski, but it also included Dan Gruver         15:32:27

19     and myself. Maybe Gaetan Pennecot,, I'm not sure.            15:32:32

20         Q.    So going back to Mr. Levandowski's e-mail.         15:32:42

21         A.    Yes.                                               15:32:43

22         Q.    Gives Option A and Option B.                       15:32:48

23         A.    Yes.

24         Q.    Option A,

25                                                                  15:32:54

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 1         A.     Yes.                                              15:32:54

2          Q.      What kind of LiDAR design does that refer to? 15;33;00

 3         A.     I'm sorry?

4          MR. KIM: Objection; form.                                15:33:03

 5         THE WITNESS: I don't understand what you mean,           15;33;04

6      "what kind of LiDAR."                                        15:33:05

 7     BY MR. JAFFE:                                                15:33:05

 8         Q.     So he's describing -- tell me beam angles if      15:33:10

 9     we have the follow constraints:

10

11                 What kind of a LiDAR does that correspond to? 15:33:18

12         MR. KIM: Objection; form.                                15:33:18

13         THE WITNESS: That would correspond to a LiDAR            15;33;21

14     design where the beams can be individually placed            15:33:25

15     without regard to manufacturing different optical            15:33:27

16     cavities.                                                    15;33;29

17     BY MR. JAFFE:                                                15:33:29

18         Q.     So does -- Point A here, is that -- is that       15:33:31

19     consistent with the Fuji design?                             15:33:37

20         A.     Both Point A and Fuji lack some sort of           15;33;44

21     applied restraint on the spacing.                            15:33:48

22         Q.     Right.                                            15:33:49

23                So Fuji has 64 beams; right?                      15;33:50

24         A.      Fuji has 64 beams.                               15:33:54

25         Q.     And you can place the diodes individually to      15:33:57

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 1     adjust their beam angles; right?                             15:34:00

2          A.    Right.                                             15:34:00

 3         Q.    How did Mr. Boehmke get from the angles that       15:34:25

4      we're talking about here in Exhibit 160 to the angles        15:34:31

 5     that are in the Fuji design?                                 15:34:35

6          A.   I'm not familiar with his spreadsheet that          15:34:43

 7     calculates these angles. So I don't know how he went         15:34:47

 8     from this set of angles to the set of angles that            15:34:53

 9     ended up on the Fuji.                                        15:34:54

10         Q.    But your understanding is that he did go from 15:34:57

11     the angles that he generated here for Scenario A to          15:35:02

12     the Fuji design; is that right?                              15:35:04

13         A.   I will say only that he developed both sets         15:35:09

14     of angles and that this one predates the other one.          15:35:13

15     But I can't make any causal or development stepping          15:35:16

16     from one to the next.                                        15:35:18

17         Q.   I see.                                              15:35:18

18               So you're not aware of any relationship            15:35:20

19     between the angles that are described here in Exhibit        15:35:22

20     160 and what's in the Fuji design; is that right?            15:35:25

21         A.    They're different angles, so I don't know the 15:35:30

22     relationship other than what I mentioned before in           15:35:32

23     terms of drivers that affect this_

24                        which looks like it may have similar      15:35:41

25     driving requirements behind it                               15:35:43

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1            MR. JAFFE: I think this was marked previously as       15:36:18

2      Exhibit 62. Doesn't look like it has a sticker, so if 15:36:22

3      you want to mark it again as 62, please.                     15:36:25

4            THE REPORTER: You're saying 62?                        15:36:25

5            MR. JAFFE: Oh, it does have an exhibit number on       15:36:34

6      it. Excuse me.                                               15:36:36

7      BY MR. JAFFE:                                                15:36:39

8            Q.   We talked about this exhibit at your last         15:36:45

 9     deposition.                                                  15:36:46

10                Do you recall that?                               15:36:46

11           A.   I recall that.                                    15:36:47

12           Q.   I want to talk about a different part.            15:36:49

13                Do you see, in the optical cavity -- or           15:36:51

14     excuse me. Where is this? This isn't right.                  15:37:06

15                You can just put that one aside. I think          15:37:30

16     it's the wrong document.                                     15:37:31

17           MR. KIM: How much time have we gone on the             15:37:49

18     record?                                                      15:37:50

19           THE VIDEOGRAPHER: Three hours and 53 minutes on        15:37:53

20     the record.                                                  15:37:55

21           MR. KIM: Thank you.                                    15:37:56

22           MR. JAFFE: I think this is it. This was Exhibit        15:38:06

23     58.                                                          15:38:07

24     BY MR. JAFFE:                                                15:38:07

25           Q.   This is the e-mail that is attached as            15:38:29

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       Exhibit A to your first declaration.         And this is what   15:38:34

       you cite in support of the idea that Uber                       15:38:38

       independently came up with the idea of

                                                                       15:38:44

                 Do you see that?                                      15:38:45

           A.    I see this exhibit.                                   15:38:48

           Q.    And in particular, what you say here is -- if         15:38:54

       you look at the second -- well, it's the third page             15:38:57

       including the slip sheet, the first e-mail.                     15:39:01

10         A.    Um-hum.                                               15:39:02

11         Q.   It says,                                               15:39:05

12               Do you see that paragraph?                            15:39:07

13         A.    Just a moment.                                        15:39:08

14               (Witness reviews document.)                           15:39:08

15         A.    Sorry.    I'm there now.                              15:39:17

16         Q.    Do you see it there,                                  15:39:21

17         A.    Yes, I do.                                            15:39:22

18         Q.    And, again, to orient us, in early 905                15:39:26

19     nanometer discussions, you're referring to Fuji;                15:39:29

20     right?                                                          15:39:29

21         A.    Yes.                                                  15:39:29

22

23

24                                                                     15:39:37

25         MR. KIM:     Objection; form.                               15:39:40

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 1             THE WITNESS:                                             15:39:43

 2 1                                                                    15:39:46

31                                                                      15:39:47

4          BY MR. JAFFE:                                                15:39:47

51             ■
     1

     1                                                                  15:39:55

 8             MR. KIM: Objection; form.                                15:39:56

 9             THE WITNESS: No, I'm sorry. Could you be more            15:40:04

10         specific in your question. I'm confused.                     15:40:07

11         BY MR. JAFFE:                                                15:40:07

12             Q.     Because I'm short on time, I'll just skip         15:40:10

13         that.

14                    Here in this e-mail, these are early 905          15:40:13

15         nanometer discussions.                                       15:40:15

16             A.     Yes.

17             Q.     And you wrote,



■    I                                                                  15:40:23

20                    Do you see that?                                  15:40:25

21             A.     Yes.                                              15:40:25

22             Q.     So at the time of this e-mail, October 28th,      15:40:30

23         you had the idea of                                          15:40:35

24             A.     Yes.                                              15:40:35

25             Q.     So at this point, in October, you didn't          15:40:38

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       actually have the idea of

                                                                            15:40:44

 3         A.     True.                                                     15:40:45

4          Q-     So this is not evidence of -- this e-mail is              15:40:50

 5     not indicative of you coming up with the

                                                  •right?                   15:41:00

 7         MR. KIM:    Objection; form.                                     15:41:01

 8         THE WITNESS:      This is not indicative of the -- or            15:41:04

 9     this is not evidential to the

                                                                            15:41:12

11     EY MR. JAFFE:                                                        15:41:12

12         Q.     And what you were thinking on October 26th                15:41:14

13     [sic] is                                              1; right?      15:41:18

14         A.     Yes, on October 28th.                                     15:41:20

15         Q.     Okay.

16         MR. KIM:       Jordan, are you wrapping up?                      15:41:40

17         MR. JAFFE:      I only have a few more minutes, so I             15:41:43

18     think I'm wrapping up.                                               15:41:45

19         MR. KIM:       I think we've got one.                            15:41:47

20     BY MR. JAFFE:                                                        15:41:47

21         Q.     What documents are you aware of that would                15:42:04

22     show Anthony -- all of Anthony Levandowski's input                   15:42:08

23     into Uber and Otto's LiDAR designs?                                  15:42:12

24         MR. KIM:    Objection; form.                                     15:42:14

25         THE WITNESS:      I'm not aware of a list of documents           15:42:17

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1      or a source for documents to go to to document all of        15:42:20

2      his influence.                                               15:42:21

3      BY MR. JAFFE:                                                15:42:21

4          Q.    How would you find out about how                   15:42:25

5      Mr. Levandowski has influenced LiDAR design at Uber          15:42:30

6      and Otto?                                                    15:42:31

7          MR. KIM: Objection; form.                                15:42:41

8          THE WITNESS: That's difficult.                           15:42:42

 9     BY MR. JAFFE:                                                15:42:42

10         Q.    Why?                                               15:42:44

11         A.    When you're looking for all of something and       15:42:49

12     you need to miss nothing, that's not an easy problem         15:42:53

13     to solve. If you look at all the possible sources of         15:42:58

14     influence, I'm not sure they would all be documented.        15:43:01

15         Q.    How would you go about trying to find out as       15:43:04

16     much as you could about how Mr. Levandowski has had          15:43:08

17     input into Uber and Otto's LiDAR designs?                    15:43:13

18         MR. KIM: Objection; form.                                15:43:16

19         THE WITNESS: I suppose I would talk to the               15:43:18

20     various engineers that had LiDAR responsibilities.           15:43:21

21     BY MR. JAFFE:                                                15:43:21

22         Q.    Who?                                               15:43:22

23         A.    Shall we pick up --                                15:43:31

24         Q.    Would you talk to everyone on this list? Is        15:43:32

25     that the idea?                                               15:43:33

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1          A.    I suppose, yeah, if I'm trying not to miss         15:43:37

2      anything.                                                    15:43:37

3          Q.    Where would you look for documents?                15:43:41

4          A.    I suppose e-mail.                                  15:43:43

5          MR. KIM: Can we have the time on the record,             15:43:45

6      please.                                                      15:43:48

7          THE VIDEOGRAPHER: 3 hours and 59 minutes.                15:43:52

8          MR. KIM: Thanks.                                         15:43:53

 9         THE WITNESS: I said e-mail.                              15:43:55

10     BY MR. JAFFE:                                                15:43:55

11         Q.    Anything else?                                     15:43:56

12         A.    Not that occurs to me.                             15:43:59

13         Q.    So if you wanted to figure out as much as you 15:44:03

14     could about Mr. Levandowski's input into Uber and Otto 15:44:08

15     LiDAR, you would talk to everyone on the LiDAR team          15:44:11

16     and you would look at Mr. Levandowski's e-mail and           15:44:15

17     everyone else's e-mail; is that fair?                        15:44:17

18         MR. KIM: Objection; form.                                15:44:20

19         THE WITNESS: I wouldn't look at everybody's              15:44:23

20     e-mail. I would look at Anthony's e-mail because if          15:44:26

21     he's going to have an influence, I would expect it to        15:44:27

22     come from his account outward, and that's going to           15:44:28

23     limit the search.                                            15:44:29

24     BY MR. JAFFE:

25         Q.    Is there any -- is there any other source of       15:44:31

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1      documents that you would look at or data, anything?          15:44:34

2          MR. KIM: Objection; form.                                15:44:35

3          THE WITNESS: I don't know. I might look for              15:44:48

4      Google docs with his authorship.                             15:44:51

5      BY MR. JAFFE:                                                15:44:51

6          Q.    Anything else?                                     15:44:55

7          A.    No.                                                15:44:56

8          Q.    Okay.                                              15:44:56

 9         MR. JAFFE: Well, I think I have run out of time.         15:45:01

10         MR. KIM: Okay.                                           15:45:06

11         THE REPORTER: Do you want this as 161?                   15:45:20

12         MR. KIM: Yes.

13         THE REPORTER: Next number? Okay.

14         MR. JAFFE: I'm going to object --

15         THE REPORTER: Hang on. Let me just write this.

16         MR. KIM: Oh. 1061.

17         THE REPORTER: 161?

18         MR. KIM: You know, I think we're alternating --

19         MR. JAFFE: We have different blocks of exhibits.         15:45:31

20     So his exhibit numbers, they start at 1000; ours start 15:45:35

21     at zero. So I don't know what number you're at.              15:45:36

22         MR. KIM: Actually, can we start at 1060.                 15:45:39

23               (Defendants' Exhibit 1060 was marked.)             15:46:05

24                       REDIRECT EXAMINATION

25     BY MR. KIM:                                                  15:46:05

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1          Q.    Mr. --                                             15:46:07

2          MR. JAFFE: I'm just going to object as improper          15:46:10

3      redirect. And, again, this is improper kind of super         15:46:15

4      surreply evidence here.                                      15:46:18

5      BY MR. KIM:                                                  15:46:18

6          Q.    Mr. Haslim, you were asked earlier today           15:46:20

7      about angles and delta values for Fuji.                      15:46:25

8                Do you recall that?                                15:46:26

 9         MR. JAFFE: Objection; leading.                           15:46:26

10         THE WITNESS: Yes.                                        15:46:30

11     BY MR. KIM:                                                  15:46:30

12         Q.    Do you recognize the angles depicted on the        15:46:34

13     left-hand column of this document?                           15:46:38

14         A.    Yes.                                               15:46:49

15         Q.    And how do you recognize them?                     15:46:51

16         A.    These would be the pointing angles for the         15:46:58

17     laser dowels -- did I say dowels -- laser diodes on          15:47:03

18     the Transmit Board A. The angles have a --                   15:47:09

19         THE REPORTER: "Sign inversion"?

20         THE WITNESS: -- sign inversion applied to them.          15:47:13

21               And the angles are rounded down to two             15:47:16

22     decimal places, otherwise they appear to be the same         15:47:19

23     angles.                                                      15:47:20

24     BY MR. KIM:                                                  15:47:20

25         Q.    And just for the record, are you comparing         15:47:23

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1      these against --                                             15:47:24

2          A.     Comparing these against Exhibit B from my         15:47:36

3      original declaration.                                        15:47:40

4          Q.     Okay. And is that also what's been marked as 15:47:45

5      Exhibit 155 for this deposition?                             15:47:48

6          A.     Yes.                                              15:47:48

7          Q.     And then so these angles look consistent with 15:47:55

8      the angles in Deposition Exhibit 155?                        15:48:00

 9         A.     Yes.

10         MR. KIM: I'm just going to object to all this            15:48:06

11     testimony as improper addition of evidence, outside          15:48:09

12     the scope of redirect.                                       15:48:10

13     BY MR. KIM:                                                  15:48:10

14         Q.     Next, after "Angles," do you see the column       15:48:13

15     "Delta"?

16         A.     Yes.                                              15:48:14

17         Q.     What does that correspond to?

18         MR. JAFFE: Would you give me a running objection         15:48:18

19     to this document?                                            15:48:18

20         MR. KIM: Sure.                                           15:48:20

21         MR. JAFFE: Thank you.                                    15:48:20

22         THE REPORTER: What was your question? I didn't           15:48:20

23     get it.

24     BY MR. KIM:                                                  15:48:20

25         Q.     Do you see the numbers under the heading          15:48:30

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1      "Delta"?

2          A.     Yes.                                              15:48:34

3          Q.     Do you know what those correspond to?             15:48:36

4          A.     These are the subtractive difference between      15:48:45

5      two subsequent angles in the first list labeled              15:48:50

6      "Angles."                                                    15:48:51

7          Q.     And is there a term for that delta? Would         15:48:59

8      you just call it delta or the difference, or how would 15:49:02

 9     you describe that?                                           15:49:03

10         A.     I may have referred to this as channel            15:49:07

11     spacing.                                                     15:49:07

12         Q.     And does that reflect the channel spacing for 15:49:12

13     the Board A in the Fuji product -- or Fuji design?           15:49:19

14         A.     Yes.                                              15:49:20

15         Q.     And next to that column, do you see the           15:49:26

16     column listed under the heading "Distance between            15:49:28

17     diodes in millimeters"?                                      15:49:30

18         A.     Yes.                                              15:49:31

19         Q.     Do you know what's reflected in that column?      15:49:35

20         A.     I believe I do. I can use the calculator to       15:49:39

21     double check one or two of your numbers. Oh, boy.            15:49:59

22                (Pause in proceedings.)                           15:49:59

23                (Witness performs calculation.)

24         A.     Okay. This calculator does not do squares         15:50:22

25     apparently. Apologies. Okay. It appears that you're 15:51:37

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1      taking -- and we can do this for more angles if you          15:51:42

2      wish, but it looks like the diodes -- the distance           15:51:43

3      between diodes in millimeters is the straight line           15:51:48

4      distance between adjacent laser diodes on the Board A.       15:51:56

5          Q.    Could you describe generally how you               15:51:59

6      calculated that or determined that?                          15:52:01

7          A.    Yeah.    So                                        15:52:05

8                                                                   15:52:10

 9                                                                  15:52:16

10                                                                  15:52:22

11                                                                  15:52:25

12     I don't know if you need any more --                         15:52:29

13         Q.    Is there a name for that equation that you         15:52:31

14     just described?                                              15:52:32

15         A.                                                       15:52:36

16                                             or -- yeah.          15:52:41

17         Q.    And then going back to the channel spacing         15:52:45

18     under "delta" --                                             15:52:46

19               Is that the term you used?                         15:52:48

20         A.    Under "delta" -- channel spacing, yes.      This   15:52:55

21     is an angular spacing.                                       15:52:57

22         Q.    Does that reflect the accurate channel             15:52:59

23     spacing for the Fuji Board A?                                15:53:02

24         A.    These do appear to be the channel spacing.         15:53:07

25     In terms of accurate, these numbers are already              15:53:11

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1      rounded down to two decimal spaces of angle, so that's             15:53:18

2      the level of accuracy.

3          Q.    And do you see the numbers down in red --                15:53:20

4          A.    Yes.                                                     15:53:22

5          Q.    -- in that column?                                       15:53:22

6                Does that                                            ?   15:53:31

7          A.    Could you be more specific.                              15:53:33

8          Q.    Yeah.                                                    15:53:35

 9               Are any of those                             ?           15:53:38

10         A.    No.                                                      15:53:38

11         Q.    They're not?                                             15:53:40

12               What about between                     are those

                                                                          15:53:47

14         A.                   No,                                       15:53:49

15         Q.    Are we looking at the same thing?           Aren't       15:53:50

16     they 1.16 and --                                                   15:53:52

17         A.              .     I'm sorry.     Are you asking --         15:53:55

18         Q.

19         A.    -- channel spacing or distance between --

20         Q.    I'm asking channel spacing.

21         THE REPORTER:       Could you repeat that.

22         THE WITNESS:    I'm asking whether he was referring            15:54:04

23     to -- his question referred to the "Delta" column or               15:54:07

24     the "Distance between diodes."                                     15:54:09

25     BY MR. KIM:

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1          Q.    I'm asking under the "Delta" column.               15:54:11

2          A.    Okay. Well, no.

                                                                    15:54:19

4          Q. And

                                                                    15:54:23

6          A.    Yes.                                               15:54:23

7          Q.    In your opinion, are these

                                                                    15:54:34

 9         A.    No, not necessarily. You could argue that as 15:54:37

10

                                                                    15:54:42

12         Q.    And same question for the distance between         15:54:45

13     diodes reflected in -- under the column "Distance            15:54:50

14     between diodes.                                              15:54:53

15         A.    Yes.                                               15:54:54

16         Q.    Looking at Channels

                                                                    15:55:03

18         MR. JAFFE: Objection; leading.                           15:55:04

19         THE WITNESS: No                                          15:55:08

20     BY MR. KIM:                                                  15:55:08

21         Q. Now,

                                           ?                        15:55:15

23         A. They                                                  15:55:20

24         Q.    Do you have an understanding as to whether or 15:55:24

25     not that would still be described as                         15:55:27

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1                                                                    15:55:31

2          A.    That -- I would still consider that                 15:55:33

3                            . And we're referring to the            15:55:36

4      "Distance between diodes in millimeters."                     15:55:39

5          Q.    Okay. What about for the          board depicted on 15:55:45

6      this exhibit? Can you tell me if the angles listed in 15:55:52

7      Exhibit 1060 accurately reflect the angles of the             15:55:58

8      board for Fuji?                                               15:56:00

 9               (Witness reviews documents.)                        15:56:17

10         A.    Again, the angles you've listed under the           15:56:19

11     "Angles" column for Board       appear to be

                                                           with two 15:56:30

13     decimal place rounding.                                       15:56:32

14         Q.    And what about the channel spacing for the          15:56:36

15     board; does this Exhibit 1060 accurately depict the           15:56:42

16     channel spacing for the      board for Fuji?                  15:56:58

17               (Witness reviews documents.)                        15:56:58

18         A.    Just do this. This is faster.                       15:57:04

19               (Witness performs calculation.)

20         A.    I've only seen .01 error so far in the delta        15:58:14

21     values. That could be a rounding error, I suppose.            15:58:17

22         Q.    For which channel?                                  15:58:18

23         A.    Delta after     was listed

                                                                     15:58:29

25         Q.    But that could be due to the fact that              15:58:32

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 1    M are listed in -- to two decimal places?                       15:58:38

2          A.    To two decimal places. So if you have --             15:58:40

 3         MR. JAFFE: Objection; leading.                             15:58:42

4          THE WITNESS:     Okay. If this was simply a                15:58:47

 5     spreadsheet like these commonly are, it's quite                15:58:50

6      possible that the        is a more accurate difference         15:58:55

 7     between the angles in the "Angles" column, which have          15:58:59

 8     been rounded up or rounded down to two decimal places. 15:59:06

 9               (Witness performs calculation.)

10         THE WITNESS: Again, it looks like --

11         THE REPORTER: I'm sorry, can you repeat.

12         THE WITNESS: Again, it looks like delta for.               15:59:53

13     has a                                                          15:59:56

14     BY MR. KIM:

15         Q.    What do you get for' rounded to two                  16:00:02

16     decimal places?                                                16:00:03

17         A.    I thought I was gettin                So let me      16:00:07

18     double check here.                                             16:00:08

19               (Witness performs calculation.)

20         A.    Yeah, I'm getting'                                   16:00:16

21               Delta for ■ is off by             degrees.           16:00:43

22         Q.    What number do you get?                              16:00:44

23         A.                                                         16:00:46

24               (Witness performs calculation.)

25         Q     The rest of the numbers look accurate?               16:01:00

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1          A.    Yeah.                                                16:01:00

2          MR. JAFFE: Objection; leading.                             16:01:03

3      BY MR. KIM:                                                    16:01:03

4          Q.    Have you ever used the term                          16:01:08

5          A.    I'm familiar with the term from mathematics.         16:01:13

6          Q.    What does that term mean to you?                     16:01:17

7          A.    To me, especially in reference to a                  16:01:20

8      mathematical function, the term                     means that 16:01:25

9




                                                                      16:01:53

14         Q.    In your opinion, do -- the channel spacing           16:01:55

15     for Board A for Fuji, do they

                                                                      16:02:07

17         A.    Channel spacing related to the "Delta" column 16:02:10

18     we've labeled?                                                 16:02:11

19         Q.    Yes.                                                 16:02:12

20         A.    To my understanding, that is not                     16:02:30

21         Q.    Why is that?                                         16:02:31

22         A.    I see numbers that start at the "Delta"              16:02:34

23     column, the channel spacing we called it,



                                                                      16:02:49

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                                                                         16:02:51

           Q•     Same question for the distance between                 16:02:53

       diodes.                                                           16:02:54

                  Is that distance

                                     for Fuji?                           16:03:06

6          A.     No.   The linear distance is not




                                                                         16:03:26

10         Q.     Is that also true for the channel spacing for          16:03:32

11     Boardillfor Fuji?                                                 16:03:34

12         MR. JAFFE:     Objection; leading.                            16:03:40

13         THE WITNESS;     I see the same




                                                                         16:04:05

18     BY MR. KIM:

19         Q.     And   that's for Boardillfor Fuji?                     16:04:08

20         A.     For Board. on    this document, yes.                   16:04:10

21         Q-     What about for BoardEare          the     channel      16:04:15

22     spacings                                                          16:04:23

23         A.     No.



                                                                         16:04:36

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1          Q.    What about the distance between diodes for           16:04:39

2      Board    for Fuji?                                             16:04:41

3          A. Board         shows a similar behavior.




                                                                      16:05:01

7          Q.    Does this Exhibit 1060 accurately reflect the 16:05:04

8      angles for Diodes                                              16:05:09

 9     within two decimal points?                                     16:05:12

10               (Witness reviews documents.)                         16:05:48

11         A.    The angles in the "Angle" columns for

                                        accurately represent the      16:05:58

13     magnitude of the angles to a couple decimal places.            16:06:03

14     However, I note that there's a sign inversion. The             16:06:09

15     sign is flipped.                                               16:06:11

16         Q.    And why is there a sign inversion?                   16:06:15

17         A.    It looks like a mistake in this document.            16:06:21

18         Q.    You're talking about Exhibit 1060?                   16:06:24

19         A.    Yes.                                                 16:06:24

20         Q.    If the signs were inverted from how they're          16:06:34

21     depicted in 1060, can you tell me whether or not the           16:06:40

22     beam channels under the heading "Delta" accurately             16:06:44

23     reflect the -- the beam channels for

                               within two decimal places?             16:06:59

25               (Witness performs calculation.)

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           A.     The "Delta" column has a                  for           16:08:21

                                                                          16:08:23

           Q.     And what is the correct value?                          16:08:25

           A.           if I subtract the rounded values.                 16:08:29

                                                                          16:08:37

           Q.     Using those corrected numbers, do the beam              16:08:45

       channels                                             in Fuji?      16:08:52

           A.     No.




                                                                          16:09:06

12         THE REPORTER:    "As we said before" --

13         THE WITNESS:

                                                                          16:09:16

15     EY MR. KIM:                                                        16:09:16

16         Q.     And what about the distance between diodes              16:09:19

17     for Board. for Fuji; do they                                       16:09:24

18         MR. JAFFE:    Objection; leading.                              16:09:26

19         THE WITNESS:    No.



                                                                          16:09:41

22     BY MR. KIM:                                                        16:09:41

23         Q      What about Board ■ do you know if those                 16:09:49

24     would likely have

                                                                          16:09:59

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1          A.    I have not looked at those angles. Are you         16:10:08

2      asking me to calculate that?                                 16:10:10

3          Q.    Well, I'm wondering if you can -- referring        16:10:13

4      to Exhibit B, if there's anything you can tell me            16:10:18

5      about the diode angles and whet er they

                                                                    16:10:27

7          A.    Specifically you're asking whether the angles 16:10:31

8      change or the delta or channel spacing --                    16:10:35

9          Q.    Let's start with the delta.                        16:10:37

10         A.    Okay. I would have to go ahead and just            16:10:41

11     calculate those out, to calculate all the deltas. I'm 16:10:44

12     not sure I would expect anything different than I'm          16:10:48

13     seeing on the lower portion of                               16:10:53

14         Q.    Before you do that, let me ask you, are            16:11:02

15     Boards

                                                                    16:11:13

17         A.



                                                                    16:11:27

20         Q.    Why is that?                                       16:11:29

21         A.




                                                                    16:11:52

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1




                                                                    16:12:23

8          Q     Referring back to Exhibit 1060, earlier you        16:12:29

9      were asked about

                                                                    16:12:36

11               Do you recall that?                                16:12:37

12         A.    Yes.                                               16:12:37

13         Q.    For Board . in Fuji, does the distance             16:12:43

14     between

                                                                    16:12:55

16         A,    I'm sorry.     You've asked whether the distance   16:13:00

17     between the                                                  16:13:05

18         THE REPORTER:      I'm sorry, I can't -- what?           16:13:11

19         THE WITNESS: You've asked whether the two




                                                                    16:13:37

25     BY MR. KIM:

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1          Q•      Um-hum.    Let me ask it a different way.           16:13:45

2                  Does the




                                                                       16:14:10

6          MR. JAFFE:      Objection; form, leading.                   16:14:14

7          THE WITNESS:       There is a




                                                                       16:14:40

12     BY MR. KIM:                                                     16:14:40

13         Q.      Okay.   And earlier you were asked about the        16:14:47

14     term                          correct?                          16:14:48

15         A.      Yes.                                                16:14:50

16         Q•      And                        refers to what when      16:14:53

17     you're using the term?                                          16:14:56

18         A.      It depends on the context.        I have to be      16:14:59

19     careful to clarify.




                                                                       16:15:20

24            Q.   And how -- how do you use the term?                 16:15:23

25         A.      Most of the time we've been talking, at Uber,       16:15:31

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  about                        I would have assumed it just      16;15;36

  meant angle.                                                   16;15;37

      Q.     Angular spacing?                                    16;15;38

      A.     Angular spacing.                                    16:15:40

      MR. JAFFE:     Sorry.    Objection; leading to the last    16:15:58

  question.                                                      16;15;58

  BY MR. KIM:                                                    16:15:58

      Q.     Okay.   Can we go back to Exhibit 160.              16;16;04

             Take a look at the second page, bearing Bates       16;16;35

  stamp UBER00008496.                                            16:16:41

      A.     Yes.                                                16:16:41

      Q.     And do you see the values next to angles            16;16;49

                                                                 16;16;56

      A.     Yes.                                                16:16:57

      Q.     Do the deltas

                                                                 16;17;04

             (Witness performs calculation.)

      A.     Yes.                                                16:17:22

      Q.     And when you were asked about -- in the             16;17;25

  e-mail at the end of this document, under "A" --               16;17;33

      A.     Yes.                                                16:17:39

      Q.      -- where it says,

                                                                 16;17;46

      A.     Yes.                                                16;17;46

      Q.     And you were asked if that would describe           16:17:49

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1      Fuji.                                                        16:17:50

2                 Do you recall that?                               16:17:52

3          A.     I think so.                                       16:17:55

4          Q.     Would that also apply to Velodyne's LiDAR         16:17:59

5      too?                                                         16:18:00

6          MR. JAFFE: Objection; form, leading.                     16:18:02

7             THE WITNESS: Could you be more specific.              16:18:05

8      BY MR. KIM:                                                  16:18:06

 9         Q.     Does Velodyne have a LiDAR with 64 beams?         16:18:10

10         MR. JAFFE: Same objections.                              16:18:11

11            THE WITNESS: Yes, Velodyne has a LiDAR with 64        16:18:14

12     beams.                                                       16:18:15

13     BY MR. KIM:                                                  16:18:15

14         Q.     And can you place them individually?              16:18:17

15         MR. JAFFE: Same objections.                              16:18:21

16            THE WITNESS: Can? Within some limit, that they        16:18:25

17     don't crash into each other, but Velodyne 64 doesn't.        16:18:34

18     BY MR. KIM:                                                  16:18:34

19         Q.     Do you know one way or the other whether or       16:18:37

20     not A specifically refers to the Fuji design?                16:18:41

21         A.     I'm sorry. What do you mean?                      16:18:43

22         Q.     Do you know whether A was intended -- do you      16:18:46

23     know one way or the other whether A was intended to          16:18:49

24     refer to Fuji?                                               16:18:51

25         MR. JAFFE: Objection; form.                              16:18:52

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1          THE WITNESS: This does not refer to Fuji. It             16:19:00

2      could not refer to Fuji. And if you look at the              16:19:08

3      e-mail -- let me find this. Sorry.                           16:19:14

4                Perhaps Section B discussion -- it sounds to       16:19:22

5      me like this is discussing Spider, where we're talking 16:19:28

6      about groups of eight. The date would be consistent          16:19:33

7      with what we ultimately called Spider.                       16:19:41

8      BY MR. KIM:                                                  16:19:41

 9         Q.    Okay. So looking at UBER00008499, you              16:19:50

10     believe that what's described in A there that you were 16:19:53

11     asked about earlier actually refers to Spider and not        16:19:56

12     Fuji?                                                        16:19:58

13         A.     That's what it seems like to me, yes.             16:20:01

14         Q.     I would like to go back to your Exhibit B         16:20:11

15     from your original declaration.                              16:20:14

16               Do you see that column with the heading            16:20:32

17

18         A.     Yes. There's two.                                 16:20:36

19         Q.    Okay. Let's look at the leftmost column.           16:20:42

20         A.     Yes.                                              16:20:43

21         Q. Are

                on Fuji boards?                                     16:20:49

23         MR. JAFFE: Objection; form and leading.                  16:20:52

24         THE WITNESS: No. As I understand it, the                 16:20:55

25                                                                  16:21:01

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1                                                                   16:21:04

2      BY MR. KIM:                                                  16:21:04

3            Q.   Do you have an understanding as to why there      16:21:07

4      are              listed there?                               16:21:09

5            A.   Yeah. As I was discussing earlier, my             16:21:17

6      understanding is these coordinates referencing the           16:21:22

7                  were generated early in the development of       16:21:29

8      Fuji when                                                    16:21:33

 9     More specifically, these coordinates were given to the 16:21:37

10     electrical engineer before the electrical engineer had 16:21:39

11     laid out the circuits onto the board and added the           16:21:42

12     fiducial mark onto the board.                                16:21:45

13           Q.   Are there any plans at Uber to use

                                     on any transmit boards for     16:22:07

15     Fuji?                                                        16:22:08

16           A.   Not that I'm aware of.                            16:22:11

17           Q.   Okay. You can set that one aside.                 16:22:28

18                Actually, a couple follow-up questions on         16:22:46

19     Exhibit 155.                                                 16:22:48

20                I believe you were asked when this document       16:22:52

21     was created -- let me just ask it.                           16:22:56

22                Do you know when this document was created?       16:22:58

23           MR. JAFFE: Objection; form.                            16:23:01

24           THE WITNESS: Which version are you referring to?       16:23:03

25     BY MR. KIM:                                                  16:23:03

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1          Q.    Do you know if these numbers in Exhibit            16:23:08

2      155 -- if they are still accurate today for Fuji?            16:23:12

3          A.    To my knowledge, the numbers in this document 16:23:16

4      are still accurate to what we're placing on our laser        16:23:20

5      diode boards. We have not revised or changed the             16:23:25

6      design of our           laser boards --                      16:23:29

7          Q.    Since what time?                                   16:23:30

8          A.    -- or           for that matter.                   16:23:34

 9               Since they were first built.                       16:23:36

10         Q.    And when was that?                                 16:23:37

11         A.    Sometime in December the design was created        16:23:48

12     by the electrical engineer and sent out. Sometime in         16:23:51

13     mid January, we first placed laser diodes on this            16:24:00

14     board.                                                       16:24:00

15         Q.    Just to be clear, so --                            16:24:02

16         A.    Let me be specific. On Board A.                    16:24:05

17         Q.    Sure.                                              16:24:05

18               Okay. Document 155, this was not created for 16:24:13

19     the purposes of litigation; is that correct?                 16:24:15

20         A.    That's correct.                                    16:24:17

21         Q.    Was this created in the ordinary course of         16:24:20

22     business, to your knowledge?                                 16:24:21

23         A.    Yes.                                               16:24:22

24         Q.    So how does the information reflected in 155       16:24:38

25     relate to the beam parameters that you received from         16:24:45

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1      Scott Boehmke --                                             16:24:46

2          MR. JAFFE: Objection; leading, outside the scope. 16:24:51

3      BY MR. KIM:                                                  16:24:51

4          Q.    -- that you discussed in paragraph 18 of your 16:24:55

5      original declaration?                                        16:24:57

6          MR. JAFFE: Objection; outside the scope, improper 16:25:00

7      redirect.                                                    16:25:01

8          THE WITNESS: 155? 151?                                   16:25:20

 9     BY MR. KIM:

10         Q.    It's either 151 or 152.        It's 151.           16:25:26

11               (Witness reviews documents.)                       16:25:58

12         A.    Do you have a paragraph?                           16:25:59

13         Q.    Paragraph 18.                                      16:26:00

14         A.    Thank you. Okay. Okay. 18.                         16:26:08

15               (Witness reviews document.)                        16:26:19

16         A.    Okay.                                              16:26:20

17         Q.    And for the record, earlier today you were         16:26:22

18     asked about this paragraph.                                  16:26:25

19               Do you recall that?                                16:26:26

20         A.    Yes.                                               16:26:26

21         MR. JAFFE: Objection; leading.                           16:26:29

22     BY MR. KIM:                                                  16:26:29

23         Q.    And you were asked about whether there was         16:26:33

24     any evidence that the information you received from          16:26:38

25     Scott Boehmke referred to in this paragraph was              16:26:41

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1      actually used in Fuji, and you referred to CAD files.        16:26:45

2                What did you -- what CAD files are you             16:26:47

3      referring to?                                                16:26:47

4          MR. JAFFE: Objection; form and leading.                  16:26:51

5          THE WITNESS: I was referring --                          16:26:52

6          MR. JAFFE: Beyond the scope.                             16:26:55

7          THE WITNESS: I was referring to mechanical CAD           16:26:58

8      files in the SolidWorks software created by Gaetan           16:27:05

 9     that have the angles specified by Scott Boehmke that         16:27:14

10     end up terminating in a set of points for each laser         16:27:20

11     diode emitting point.                                        16:27:24

12               He then also included a CAD model of the           16:27:29

13     laser board outline that he developed that also had          16:27:33

14     those same emitting points on there. And then,               16:27:41

15     finally, you can see the theta angle matches the             16:27:46

16     prescribed angles that we got from Scott.                    16:27:50

17     BY MR. KIM:                                                  16:27:50

18         Q.    Can you explain step by step the process from 16:27:54

19     going from the angles that you received from Scott --        16:27:57

20         A. Okay.

21         Q.    -- to what ultimately ended up being the           16:28:02

22     diode placement angles reflected in Exhibit B of your        16:28:08

23     original declaration and marked as Exhibit 155 for           16:28:11

24     your deposition?                                             16:28:13

25         MR. JAFFE: Objection; form, leading. This is             16:28:15

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1      improper redirect, outside the scope. We're just             16:28:20

2      going to object to all this evidence; I think I've           16:28:24

3      made that clear.                                             16:28:25

4          THE WITNESS: My understanding of the process that 16:28:28

5      led to the coordinates we have in Exhibit 155,               16:28:32

6      starting with angles that Scott Boehmke provided, was        16:28:36

7      that Gaetan designed a lens in Zemax. We had decided         16:28:44

8      on 150 millimeter focal length, chosen material for          16:28:49

 9     the lens.                                                    16:28:50

10               From the lens optimization provided by the         16:28:52

11     Zemax software, we had the focal length behind the           16:28:59

12     lens to the beginning of a focal surface. And he had         16:29:05

13     a radius of curvature for the focal surface.                 16:29:10

14               From that information in Zemax, you can take       16:29:14

15     that into SolidWorks software, model up a curved             16:29:19

16     surface with the same radius of curvature as the focal 16:29:23

17     surface defined by Zemax. That could be -- he modeled 16:29:30

18     that at a location behind the lens with a consistent         16:29:36

19     focal length developed in Zemax.                             16:29:41

20               He then, as I understand it, created lines or 16:29:48

21     rays in the CAD geometry that reflected the vertical         16:29:52

22     angles specified by Scott Boehmke, one by one,               16:29:57

23     individually, for the      different beam angles for the 16:30:01

24             boards in the mid-range cavity.                      16:30:05

25               He extended those lines or rays until it           16:30:10

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1      intersected this curved focal surface. The point of                 16:30:17

2      intersection defined the location for the laser diodes 16:30:23

3      emitting surface. He then put that into his model,                  16:30:30

4      modeled a PCB behind that.                                          16:30:33

5                  In this case specifically, he had                       16:30:40

6      So he had                            where rays would               16:30:48

7      intersect a -- I guess you would call this a                        16:30:54

8      two-dimensional flat, curved focal surface.                         16:30:57

 9                 From that, he had designed this laser board             16:31:06

10     mechanical outline relative to that outline and                     16:31:10

11     relative to the mounting features that were included                16:31:13

12     in that design, including                           .   He had      16:31:16

13     locations for laser diodes on that board.                           16:31:21

14                 Individually, those models of the Laser                 16:31:28

15     Boards               were sent to the electrical                    16:31:32

16     engineer, Will Treichler, who then proceeded to lay                 16:31:38

17     out the circuit behind each of the laser diodes.                    16:31:41

18     BY MR. KIM:

19         Q.    And earlier I believe you mentioned Florin.               16:31:49

20                 What was Florin's role in all this?                     16:31:52

21         A.      Florin is another electrical engineer. He               16:31:55

22     used to work at Velodyne. I consider him a senior                   16:32:00

23     electrical engineer. So I asked him to design some                  16:32:02

24     candidate laser pulsing circuits. He designed that                  16:32:09

25     test board. And the circuits on there, he tested the                16:32:15

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 1     output, selected one as a preferred candidate and gave 16;32;21

2      that circuit design to Will Treichler so that Will               16:32:26

 3     could do the layout of allillichannels, basically                16:32:30

4      copying that one circuitillitimes.                               16:32:33

 5         Q.     You mentioned                 , that was work --      16:32:40

6      when did              start?                                     16:32:43

 7         A.     I don't know. It was -- it seemed to be               16:32:49

 8     under way by the time I already came to Otto. So I               16:32:54

 9     can't say when it started.                                       16;32:55

10         Q.     And you started at Otto when?                         16:32:56

11         A.     Early May 2016.                                       16:33:00

12         Q.     And             , what did that relate to?            16;33;06

13         MR. JAFFE: Objection; form.                                  16;33;09

14         THE WITNESS:                   referred to what appeared 16:33:15

15     to me to be a direct diode projection LiDAR sensor.              16:33:21

16     RY MR. KIM:                                                      16:33:21

17         Q.     And was                -- any of the work from        16:33:28

18                   incorporated into Fuji?                            16:33:31

19         A.     Yes. The PAC lens design that was designed            16:33:37

20     during that time frame, ultimately arrived from the              16:33:41

21     supplier, was available when we needed to decide                 16:33:45

22     whether to pivot to Fuji and has since become part of            16:33:50

23     the Fuji product.                                                16:33:52

24                Furthermore, I believe at that same time              16:33:56

25     frame, laser diodes had been purchased and we probably           16:34:00

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1      used those laser diodes as well.                             16:34:03

2          Q.    Were there any other components of Fuji that       16:34:11

3      were started prior to October 2016?                          16:34:14

4          MR. JAFFE: Objection; leading, form.                     16:34:17

5          THE WITNESS: I don't recall any -- any others.           16:34:25

6      BY MR. KIM:                                                  16:34:25

7          Q.    If we can turn to your supplemental                16:34:34

8      declaration. I believe that's No. 152. Turn to               16:34:56

 9     paragraph 7.                                                 16:34:57

10               Why didn't you mention Anthony Levandowski in 16:35:05

11     paragraph 7?                                                 16:35:07

12         MR. JAFFE: Objection; form.                              16:35:12

13         THE WITNESS: I don't see the point of mentioning         16:35:14

14     Anthony Levandowski in paragraph 7.                          16:35:18

15     BY MR. KIM:                                                  16:35:18

16         Q.    What was paragraph 7 intended to convey?           16:35:23

17         A.    Paragraph 7 conveys the design of Spider --        16:35:32

18     or some aspect of the design of Spider, specifically         16:35:38

19     the fiber laser.                                             16:35:39

20         Q.    Let's move to paragraph No. 13.                    16:35:57

21               Do you recall being asked whether or not the       16:36:11

22     figure depicted in paragraph 13 disclosed                    16:36:20

23         A.    Yes.                                               16:36:20

24         Q.    And you said it was implied.                       16:36:23

25               What did you mean by that?                         16:36:25

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1          MR. JAFFE: Objection; leading and form.                  16:36:28

2          THE WITNESS: What I was trying to convey was if a 16:36:32

3      person was familiar with this spreadsheet and what           16:36:36

4      these fields meant, that you would understand that



                                                                    16:36:55

7                So

                 And so this -- in my opinion, this documents       16:37:03

 9     at some point in time knowledge of our design intent         16:37:07

10     to have                                                      16:37:10

11     BY MR. KIM:                                                  16:37:10

12         Q.    And what document is this screen shot taken        16:37:17

13     from or excerpt taken from?                                  16:37:20

14         MR. JAFFE: Objection; leading.                           16:37:21

15         THE WITNESS: My understanding is this came from          16:37:23

16     the spreadsheet that Scott used to define the vertical 16:37:28

17     angles for the LiDAR designs, including Fuji.                16:37:32

18     BY MR. KIM:                                                  16:37:32

19         Q.    Is that the spreadsheet that you used to           16:37:36

20     determine the diode placement for Fuji?                      16:37:41

21         A.    Yes, that's my understanding.                      16:37:44

22         MR. KIM: Mark this.                                      16:38:52

23         MR. JAFFE: Are you marking a new exhibit on              16:38:55

24     redirect? Mr. Kim?                                           16:39:02

25         MR. KIM: Yes.                                            16:39:03

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1          MR. JAFFE: Are you trying to mark a new exhibit          16:39:05

2      on redirect?                                                 16:39:06

3          MR. KIM: This is an Exhibit I to Mr. Boehmke's           16:39:13

4      declaration.                                                 16:39:14

5          MR. JAFFE: You're not answering my question.             16:39:15

6                 Are you trying to introduce a new exhibit on      16:39:18

7      redirect?                                                    16:39:19

8          MR. KIM: I am.                                           16:39:20

 9         MR. JAFFE: Okay. We're going to object to this           16:39:22

10     exhibit as clearly outside the scope, and we're going        16:39:25

11     to move to strike all of this testimony. So I want to 16:39:27

12     make that clear for the record.

13                This is a court-ordered deposition because        16:39:30

14     you sandbagged us on surreply. And you're trying to          16:39:34

15     introduce more evidence.                                     16:39:35

16         MR. KIM: I'm just trying to confirm --

17         MR. JAFFE: That's egregious.                             16:39:35

18         MR. KIM: I'm asking him about the source of              16:39:39

19     what's depicted on page 8 of his supplemental                16:39:42

20     declaration, which you questioned him extensively on.        16:39:43

21         MR. JAFFE: I did not question him on this                16:39:49

22     exhibit.                                                     16:39:50

23         MR. KIM: You questioned him on the surreply. And 16:39:50

24     you've asked him for what document -- documentary            16:39:54

25     evidence exists to show that the beam parameters that        16:40:00

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1      he received from Mr. Boehmke were used to determine          16:40:04

2      the diode placement for the Fuji transmit boards.            16:40:09

3          MR. JAFFE: And now you're just coaching the              16:40:12

4      witness. So that's fine.                                     16:40:13

5                So we're going to object to all this               16:40:15

6      testimony.                                                   16:40:16

7          MR. KIM: Okay. So -- understood.                         16:40:20

8          MR. JAFFE: Do I have a running objection to this         16:40:23

 9     document?                                                    16:40:23

10         MR. KIM: Yes, you do.                                    16:40:25

11         MR. JAFFE: Okay.                                         16:40:25

12         MR. KIM: Can we mark that as Document 1061.              16:40:29

13         MR. JAFFE: This is completely improper.                  16:40:31

14               (Defendants' Exhibit 1061 was marked.)             16:40:49

15     BY MR. KIM:                                                  16:40:49

16         Q.    So, Mr. Haslim, what's been marked as 1061,        16:40:53

17     is that what's -- is this the source document for what 16:40:58

18     you excerpted in paragraph 13 of your surreply?              16:41:04

19         MR. JAFFE: Objection; leading and form. And              16:41:05

20     objection in addition to my running objection.               16:41:09

21         THE WITNESS: Yes. This is -- Figure 6 is                 16:41:31

22     excerpted from apparently the first page of this             16:41:36

23     spreadsheet.                                                 16:41:38

24     BY MR. KIM:                                                  16:41:38

25         Q.    And this is what you used to -- let me ask it 16:41:52

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1      a different way.                                             16:41:53

2                 Is this -- did you use this -- the                16:41:55

3      information in this document to arrive at what's             16:42:00

4      depicted in Document -- Exhibit 155 that we were             16:42:07

5      discussing earlier?                                          16:42:08

6            MR. JAFFE: Objection; leading and form.                16:42:11

7            THE WITNESS: Yes, to my knowledge, it appears          16:42:27

8      that this document, Exhibit 1061 -- that that                16:42:31

 9     information was used in the derivation of the                16:42:35

10     information in Exhibit 155.                                  16:42:39

11     BY MR. KIM:                                                  16:42:39

12           Q.   And how can you tell?                             16:42:43

13           MR. JAFFE: Same objections.                            16:42:44

14           THE WITNESS: Besides starting to become familiar       16:42:48

15     with these angles, what I would do is I would take the 16:42:53

16     angles in this first column, "Angle" column. I would         16:42:58

17     subtract 12, because the cavity was tilted 12 degrees. 16:43:06

18     Realize there's another sign inversion between these         16:43:10

19     two documents. And I think we can show -- if you want 16:43:14

20     I can do a handful of calculations. I think it will          16:43:18

21     show that this, therefore, is the source for angles          16:43:21

22     for                                                          16:43:23

23     BY MR. KIM:                                                  16:43:23

24           Q.   What calculations could you do?                   16:43:25

25           A.   Specifically, like I said, the first telltale 16:43:31

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1      would be looking at the angles, Exhibit 155 "Theta"                16:43:38

2      column and the "Angle" column in Exhibit 1061, noting              16:43:47

3      there would be a 12-degree offset and a sign shift                 16:43:52

4      between the angles -- the first          angles in Exhibit         16:43:56

5      1061 and the angles under "Theta" for                              16:44:05

6          Q.     Can you go ahead and do some calculations to            16:44:07

7      verify it.                                                         16:44:09

8          MR. JAFFE: Objection --                                        16:44:09

 9         THE WITNESS: Yes.                                              16:44:12

10         MR. JAFFE: -- form, leading. And still the                     16:44:18

11     objection -- same running objection that I mentioned               16:44:21

12     earlier.                                                           16:44:22

13                (Witness performs calculation.)

14         THE WITNESS: How many would you like me to do?                 16:45:01

15     I've done the first three angles specified by Scott.               16:45:05

16     And when I invert the sign, subtract 12 degrees, I get 16:45:10

17                                                         Knowing that   16:45:17

18     we decided to




                                                Again, we've seen         16:45:53

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1      this before, maybe it's a rounding error.                    16:45:57

2                 Do you want me to do any more?                    16:46:02

3          Q.     No, that's fine.                                  16:46:03

4                 Can you turn to page 11 of your supplemental      16:46:06

5      declaration.                                                 16:46:07

6          MR. JAFFE: How long are you planning to go,              16:46:14

7      Mr. Kim? Shall we take a break? We've been going an          16:46:18

8      hour.                                                        16:46:18

 9         MR. KIM: Should be wrapping up soon.                     16:46:21

10         THE WITNESS: What's the number? Is that 151?             16:46:23

11     BY MR. KIM:                                                  16:46:23

12         Q.     Yes -- 152.                                       16:46:29

13         A.     152?

14         Q.     Yes, 152.

15         A.     I got it.                                         16:46:32

16         Q.     Okay. Remember you were asked about --            16:46:34

17         A. Sorry. Paragraph?                                     16:46:35

18         Q.     Page 11.                                          16:46:36

19         A.     Page 11.                                          16:46:37

20         Q.     You were asked about the table depicted in        16:46:42

21     page 11.                                                     16:46:42

22                Do you recall that?                               16:46:43

23         A.     Yes.                                              16:46:44

24         Q.     And you were asked whether or not it was          16:46:46

25     modified with the letters                                    16:46:51

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1          A.    Yes.                                                   16:46:51

2          Q.    Was it modified in any other way other than            16:46:54

3      the addition of               -- the letters and colors          16:46:58

4      in the first column?                                             16:47:01

5          A.    No. I think . . . check the exact angles               16:47:07

6      again from Scott's exhibit. Go back up to the top.               16:47:24

7                (Witness reviews document.)

8          A.    Okay. These are the same angles as in                  16:47:46

 9     Scott's spreadsheet.                                             16:47:47

10         Q.    What was the source of what's depicted on              16:47:50

11     page 11 of your supplemental declaration?                        16:47:53

12         MR. JAFFE: Objection; form.                                  16:47:55

13         THE WITNESS: The source of the angle and the                 16:47:57

14     delta would have been directly from Scott's                      16:47:58

15     spreadsheet. The source of the                      could have   16:48:05

16     come from me telling whoever prepared this that            had   16:48:08

17                             . And it could also be                   16:48:11

18     determined independently by looking at Exhibit 155 and 16:48:18

19     looking at the theta board -- excuse me -- the theta             16:48:21

20     angles associated with Boards                       likewise for 16:48:26

21                                                                      16:48:27

22         Q.    Can you confirm whether or not those                   16:48:28

23     notations are accurate?                                          16:48:30

24         A.    Yes. So, again, going through the difference 16:48:37

25     between Exhibit 155, being that it has 12 degrees                16:48:41

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1      removed and a sign change, I can immediately --




                     should be consistent.                          16:49:00

5                I'm going to take the next angle down that's       16:49:03

6      labeled "A" in green.

                               in Exhibit 155.                      16:49:19

8                At this point, we've got our pattern               16:49:23

 9     The only board left is       so I'm not going to bore        16:49:27

10     you. The whole purpose of going to




                                                                    16:49:44

15               Do you want me to do it for                        16:49:48

16         Q.    Sure.                                              16:49:55

17         MR. JAFFE: Objection; form and leading.                  16:49:58

18         THE REPORTER: And at some point, I need to take a 16:49:58

19     break to send the transcript because I'm --

20         MR. KIM: Okay.

21         MR. JAFFE: Okay.

22         MR. KIM: Okay. Do you want to take a break now?

23         THE REPORTER: Yes, I really do.

24         MR. KIM: Let's take a break now.                         16:50:17

25         THE VIDEOGRAPHER: We are off the record at 4:50          16:50:19

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1      p.m.                                                         16:50:19

2                 (Recess taken.)

3             THE VIDEOGRAPHER: We are back on the record at        17:03:55

4      5:04 p.m.                                                    17:03:57

5      BY MR. KIM:                                                  17:03:57

6          Q.     Mr. Haslim, we were going over your               17:04:00

7      supplemental declaration.                                    17:04:03

8                 If you could turn to page 12 of that              17:04:09

 9     document.                                                    17:04:09

10         A.     Yes.                                              17:04:10

11         MR. JAFFE: I'm sorry. I just realized I left             17:04:13

12     something on the printer. Just give me 30 seconds,           17:04:17

13     less than 30 seconds.                                        17:04:19

14                (Pause in proceedings.)                           17:05:26

15                (Discussion off the record.)                      17:05:26

16         MR. KIM: Are we still on?                                17:05:36

17            THE VIDEOGRAPHER: Yes.                                17:05:37

18         MR. KIM: Okay.                                           17:05:38

19     BY MR. KIM:                                                  17:05:38

20         Q.     Mr. Haslim, we were discussing Depo Exhibit       17:05:42

21     152, which is your supplemental declaration.                 17:05:45

22                And you recall being asked about the chart on 17:05:48

23     page 12?                                                     17:05:50

24         A.     Yes.                                              17:05:51

25         Q.     And you were asked whether or not this chart      17:05:54

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1      references vertical spacing of the diodes.                   17:05:58

2                Do you recall that?                                17:06:00

3          MR. JAFFE: Objection; leading, form.                     17:06:01

4          THE WITNESS: Not exactly. I don't remember               17:06:03

5      exactly how I was asked.                                     17:06:05

6      BY MR. KIM:                                                  17:06:05

7          Q.    Let me just ask you: Does this reference           17:06:08

8      vertical spacing of diodes for the Fuji?                     17:06:13

 9         MR. JAFFE: Objection; form.                              17:06:15

10         THE WITNESS: The columns labeled "Current," to my 17:06:20

11     knowledge, represent the vertical channel angles of          17:06:26

12     the Fuji. So the difference between them could be            17:06:29

13     vertical spacing, if it's meant to imply a vertical          17:06:33

14     angle.                                                       17:06:35

15     BY MR. KIM:                                                  17:06:35

16         Q.    Okay. What are the numbers listed under the        17:06:37

17     heading "November 16"?                                       17:06:39

18         A.    Those are angles prescribed by Scott Boehmke       17:06:45

19     in a version of his spreadsheet dated November 16th.         17:06:51

20         Q.    And is that the same document we were looking 17:06:53

21     at earlier?                                                  17:06:54

22         A.    Yes. That would be Exhibit 1061.                   17:07:06

23         Q.    Are the numbers accurate? Are -- the numbers 17:07:10

24     in 152 accurately reflect what was in the November 16        17:07:16

25     document, which is labeled 1061?                             17:07:20

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1                (Witness reviews documents.)                         17:08:31

2          A.    Yes.   Page 12, columns for               laser      17:08:35

3      boards under the column "November 16" are accurately           17:08:38

4      representing the angles in Exhibit 1061.                       17:08:45

5          Q.    What about the numbers under the "Current"           17:08:46

6      heading; where are those from?                                 17:08:49

7          A.    Those are representative of what we're               17:08:53

8      actually building into the Fuji.        Those would be         17:08:57

 9     mirrored after a sign change in a 12 degree offset in          17:09:06

10     the theta angles listed on Exhibit 155 representing            17:09:13

11     the actual angles of the laser diodes and their                17:09:18

12     intended pointing angles.                                      17:09:20

13         Q.    And the numbers in the chart on page 12 of           17:09:23

14     Exhibit 152, your supplemental declaration, do they            17:09:27

15     appear to be accurate?                                         17:09:30

16         A.    152 is right in front of me.                         17:09:41

17               Repeat your question.                                17:09:42

18         Q.    Do -- the numbers under the "Current"                17:09:43

19     heading, are they accurate?                                    17:09:46

20         MR. JAFFE:   Objection; leading, form.                     17:09:49

21         THE WITNESS:    I feel like we went through an             17:09:55

22     exercise like this.    So when you say "accurate," do          17:10:13

23     you have a tolerance --                                        17:10:15

24         THE REPORTER:    "Tolerance bend"?

25         THE WITNESS:    -- tolerance bend on that one, or          17:10:20

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1      tolerance range?                                             17:10:21

2      BY MR. KIM:

3          Q.     Can you just describe where these numbers         17:10:23

4      come from generally?                                         17:10:25

5          A.     So generally, under the "Current" column,         17:10:28

6      these are -- would be the angles that we designed the        17:10:31

7      Fuji to.                                                     17:10:34

8          Q.     And how would you -- are these numbers from       17:10:40

 9     Document 155, or are they based on any numbers --            17:10:44

10         A.     These are reflected after the mathematical        17:10:53

11     offset and sign change. They're represented in               17:10:58

12     Exhibit 155 or, I should say, reflected in there.            17:11:03

13     They're also the angles -- to my understanding, these        17:11:07

14     are the angles that we used designing Fuji.                  17:11:11

15         Q.     Do you see the paragraph right above that         17:11:38

16     chart?                                                       17:11:43

17         A.     Yes.                                              17:11:43

18         Q.     Is that how -- does that accurately depict        17:11:47

19     how the numbers under the "Current" heading were             17:11:50

20     derived?                                                     17:11:51

21         MR. JAFFE: Objection; form, leading.                     17:11:54

22         THE WITNESS: I'm sorry. I don't understand what          17:11:55

23     you're asking.                                               17:11:57

24     BY MR. KIM:                                                  17:11:57

25         Q.     I'm just asking if you can explain how the        17:12:01

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1      numbers under the "Current" heading are extracted from 17:12:05

2      the numbers in Document 155.                                 17:12:11

3          A.    So the theta angles in Document 155 for            17:12:18

4      Boards             need a 12 degree additive offset          17:12:24

5      applied to them and a sign change to the answer in           17:12:27

6      order to represent the angles you see in the "Current" 17:12:30

7      column.                                                      17:12:31

8                The reason for the 12 degrees is that the          17:12:34

 9     medium-range cavity is tilted down by 12 degrees. And 17:12:39

10     as far as the sign change, I attribute that to simply        17:12:42

11     an arbitrary sign convention in the angles that place        17:12:48

12     the --                                                       17:12:48

13         THE REPORTER: "That place the" --

14         THE WITNESS: -- laser diodes on the board.               17:12:52

15     BY MR. KIM:

16         Q.    And is that described in the paragraph             17:12:57

17     immediately preceding the table?                             17:13:00

18         A.    Let me make sure they account for the sign         17:13:12

19     change.                                                      17:13:25

20               (Witness reviews documents.)                       17:13:25

21         A.    So the paragraph before the table that --          17:13:34

22     referring to in Exhibit 152 describes or accounts for        17:13:38

23     the 12 degree offset. But as I see it, it doesn't            17:13:46

24     explain the sign change.                                     17:13:49

25         Q.    So in that paragraph above, where it refers        17:13:55

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1      tol                   where does th t number co e from?      17:13:59

2            A.   Without explanation, it's implying the sign       17:14:06

3      change was being taken into consideration to arrive at       17:14:11

4      the                                                          17:14:15

5            Q.   And where does that number come from?             17;14;20

6            MR. JAFFE:   Objection; form, leading.                 17;14;22

7            THE WITNESS:    Which number?                          17:14:23

8      BY MR. KIM:                                                  17:14:23

9            Q.                                                     17:14:26

10           A.   Okay.   So the theta angle documented for         17:14:36

11     Laser Al in Exhibit 155 is                This is            17:14:49

12     explaining -- this is a direct one-to-one mapping with       17:14:52

13     the magnitude --                                             17:14:53

14           THE REPORTER:   "The magnitude" --

15           THE WITNESS:    -- magnitude of the number in          17:14:58

16     parentheses,           But the sign change is correcting     17:15:03

17     for the fact that angles under "Theta" in Exhibit 155        17:15:12

18     have an arbitrary sign flip.                                 17:15:17

19     2Y MR. KIM:                                                  17:15:17

20           Q.   So just looking at the number negative            17:15:28

21     for Diode Al, does that accurately reflect the               17:15:37

22     information for Al in Document 155 with the                  17:15:42

23     understanding that there's a sign flip and a negative        17:15:46

24     12 degree offset?                                            17:15:48

25           MR. JAFFE:   Objection; form, leading.                 17:15:50

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1          THE WITNESS: Yes.                                        17:15:51

2      BY MR. KIM:                                                  17:15:51

3          Q.    And what about the "Delta Degree" column;          17:15:56

4      what does that depict?                                       17:15:59

5          MR. JAFFE: Objection; form, leading.                     17:16:02

6          THE WITNESS: So the "Delta" column in 152 is             17:16:11

7      accounting for -- best way to explain it -- is showing 17:16:18

8      a discrepancy between the angles we designed the Fuji        17:16:24

9      to and the angles prescribed in Scott Boehmke's              17:16:29

10     November 16th file revision.                                 17:16:32

11     BY MR. KIM:                                                  17:16:32

12         Q.    So how did you calculate those numbers?            17:16:34

13         A.    The "Delta Degree" column is simply the            17:16:38

14     difference between numbers in the same row to the left 17:16:43

15     of it. That is to say, for instance, in

                     under the "November 16" column and a           17:16:53

17                      under the "Current" column for A1.          17:16:59

18               Those numbers are subtracted. The answer is        17:17:03

19     placed into the "Delta Degree" column. And this              17:17:07

20     process would be repeated for Boards                         17:17:12

21         Q.    Do you consider these to be small or large         17:17:16

22     discrepancies?                                               17:17:17

23         MR. JAFFE: Objection; form.                              17:17:21

24         THE WITNESS: That's a rather small angle, in my          17:17:25

25     opinion, but it is a discrepancy.                            17:17:28

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1      BY MR. KIM:                                                  17:17:28

2          Q.    And is there any conclusions you can draw          17:17:31

3      from the fact there is something that you consider to        17:17:36

4      be a small discrepancy?                                      17:17:39

5          MR. JAFFE: Objection; form, leading. Same                17:17:44

6      running objection that I've had on all this testimony        17:17:46

7      as improper redirect and against the court's order.          17:17:55

8          THE WITNESS: I don't have a definitive                   17:17:55

 9     understanding for this discrepancy. I have a                 17:18:03

10     suspicion, but I haven't verified it. So I still             17:18:08

11     don't know for sure why we accumulated this increase         17:18:12

12     in error. I believe, given the history of working            17:18:18

13     with Scott Boehmke and him coming to the office, that        17:18:21

14     there may have been a revision change while we were          17:18:27

15     working together that somehow maybe didn't get saved         17:18:31

16     into his spreadsheet.                                        17:18:32

17     BY MR. KIM:                                                  17:18:32

18         Q.    But do you have any doubt that the document        17:18:38

19     you referenced in your declaration and described as          17:18:42

20     the November 16 document, which today you confirm            17:18:48

21     referred to Deposition Exhibit 1061, was the basis for 17:18:54

22     the numbers in your Exhibit B, Document 155?                 17:19:01

23         MR. JAFFE: Objection; leading, form.                     17:19:02

24         THE WITNESS: I'm comfortable saying that I               17:19:11

25     remember Scott's spreadsheet defining the angles that        17:19:16

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1      we locked in for the Fuji design. Clearly, we're             17:19:21

2      showing up to a        degree discrepancy from his           17:19:29

3      document and this document (indicating).                     17:19:30

4                So I would say it's evidence that he was           17:19:39

5      working with us -- it supports the fact that he              17:19:42

6      was working with us, but still raises that                   17:19:45

7      question of that small angle change.                         17:19:48

8      BY MR. KIM:                                                  17:19:48

 9         Q.    After Scott provided you the November 16           17:19:56

10     document, did you work with Scott to further optimize        17:19:59

11     any of these beam angles?                                    17:20:02

12         MR. JAFFE: Objection; leading, form.                     17:20:05

13         THE WITNESS: Somewhere around November 16th, when 17:20:08

14     Scott was visiting with us, we locked down the angles        17:20:12

15     for the Fuji. We subsequently made one change to the         17:20:17

16     angles. When it came closer time to actually building 17:20:22

17     the Fuji, we made a design decision to shift the             17:20:27

18     angles for the               boards.                         17:20:32

19               Scott's original prescription had

                                                                    17:20:41

21     I felt that was wasteful. I believe his rationale            17:20:45

22     was to accommodate manufacturing tolerances. So I            17:20:52

23     made a guess at manufacturing tolerance that we              17:20:55

24     could hold comfortably and added an offset for the           17:20:59

25     lasers on              boards.                               17:21:05

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1                 Go ahead.                                         17:21:07

2      BY MR. KIM:                                                  17:21:07

3          Q.     Are the current beam angles for                   17:21:11

4      reflected in Exhibit 155 that we were looking at             17:21:14

5      earlier?                                                     17:21:15

6          A.     Yes.                                              17:21:27

7          Q.     Okay.                                             17:21:34

8          A.     Let me double check. Hold on. Sorry.              17:21:37

 9                (Witness performs calculation.)

10         A.     Okay. Yes. Angles in Exhibit 155 do appear        17:22:07

11     to be the accurate angles that we designed the Fuji to 17:22:12

12     and -- and started building Fuji to.                         17:22:15

13         Q.     Earlier you were asked about whether or not       17:22:23

14     Mr. Levandowski had input into the Fuji design.              17:22:30

15                Did Mr. Levandowski have any technical input      17:22:34

16     for the Fuji design?                                         17:22:36

17         MR. JAFFE: Objection; form, leading.                     17:22:38

18         THE WITNESS: To my recollection, the only                17:22:44

19     potentially technical input Anthony Levandowski had on 17:22:49

20     the Fuji design were telling us to make it as good as        17:22:55

21     the Velodyne or better. To under-regard any concerns         17:23:03

22     given to us from people in Pittsburgh regarding size         17:23:06

23     and weight, that that should not be a prioritized            17:23:09

24     requirement.                                                 17:23:10

25     BY MR. KIM:

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1          Q.    At the very beginning of your deposition you       17:23:19

2      were asked about whether you had communications with         17:23:22

3      Mr. Levandowski while you were at Tyto.                      17:23:23

4                Do you remember that?                              17:23:26

5          A.    Vaguely.                                           17:23:27

6          Q.    When you were asked whether or not he gave         17:23:32

7      you any confidential information, you said you thought 17:23:36

8      it was general information. What did you mean by             17:23:39

 9     that?                                                        17:23:40

10         A.    I believe information Anthony provided             17:23:50

11     regarding a                                         was      17:23:57

12     information that I've seen other places on the               17:24:02

13     Internet as white papers, as publicly-available              17:24:07

14     information in terms of architect or configuration for 17:24:11

15     a laser. I felt recommendations for vendors would be         17:24:19

16     information, again, publicly available by doing Google 17:24:23

17     search for components like that.                             17:24:26

18         Q.    And at the very start of your deposition you       17:24:32

19     were asked about 64 channels and the convenience of          17:24:34

20     two. Do you recall that line of questioning?                 17:24:37

21         A.    Wasn't it the power of two.                        17:24:40

22         Q.    Maybe it was the power of two.                     17:24:42

23         A.    Yeah.                                              17:24:43

24         Q.    What was the reason that Fuji had -- or the        17:24:53

25     Fuji design has 64 channels?                                 17:24:57

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1          A.    There could be multiple reasons such as            17:25:05

2      initial instructions to make a Velodyne 64, but              17:25:11

3      better. I considered possibly adding more angles to          17:25:16

4      it. Scott worked through the spreadsheet with me and         17:25:23

5      was showing me that if we did that, the horizontal           17:25:26

6      angle between subsequent shots of the same laser             17:25:30

7      channel was going to become wider, which would be a          17:25:33

8      detriment to the sensor, and suggested not increasing        17:25:37

 9     to a larger number like 80.                                  17:25:40

10               We've also discussed considerations that           17:25:44

11     there could be some convenience to people writing            17:25:49

12     software that takes the data from the sensor that            17:25:54

13     software had already been written for the Velodyne,          17:25:57

14     and there could be some aspect of convenience or             17:26:01

15     expediency to replace a sensor with one that had             17:26:05

16     identical, as much as possible, data format.                 17:26:10

17         MR. KIM: Okay. No further questions at this              17:26:14

18     time. Reserving the right for further redirect.              17:26:18

19         MR. JAFFE: Okay. Just again for the record, we           17:26:25

20     object to any redirect as well beyond the court              17:26:30

21     ordered deposition.                                          17:26:31

22               Uber was not given leave to file                   17:26:34

23     anything. So the time extent that Uber is                    17:26:36

24     planning on filing anything or submitting any of             17:26:39

25     that testimony, we are going to move to strike. I            17:26:42

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1      want to make that clear on the record before we              17:26:45

2      get going again.                                             17:26:47

3                       FURTHER CROSS-EXAMINATION

4      BY MR. JAFFE:

5          Q.    So Mr. Haslim, we talked for a long time           17:26:51

6      earlier today; right?                                        17:26:52

7          A.    Yes.                                               17:26:52

8          Q.    Do you stand by your testimony?                    17:26:54

 9         A.    To the best of my knowledge, yes.                  17:26:58

10         Q.    Is there anything that you said today that         17:27:00

11     was inaccurate?                                              17:27:02

12         A.    Not aware.                                         17:27:03

13         Q.    So everything that we talked about earlier         17:27:05

14     today, you stand by that testimony as true and               17:27:07

15     accurate; right?                                             17:27:09

16         MR. KIM: Objection; form.                                17:27:11

17         THE WITNESS: To the best of my knowledge, yes.           17:27:14

18     BY MR. JAFFE:                                                17:27:14

19         Q.    Counsel for Uber introduced a term called          17:27:18

20                                                                  17:27:19

21               Do you remember that?                              17:27:20

22         A.    Yes.                                               17:27:20

23         Q.    What is your understanding of the                  17:27:21

24     relationship between something that

                                                                    17:27:28

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1          A.    I would say that something that was                17:27:32

2

                                                                    17:27:37

4          Q.    And so what's your understanding of                17:27:39

5                    then?                                          17:27:41

6          A.    In the context of what we've discussed so          17:27:45

7      far,               suggests in the context of                17:27:49

8



                                                                    17:27:57

11         Q.    And what's your understanding of                   17:27:58

12                     again?                                       17:28:00

13         A.    My understanding of monotonically is a set of 17:28:06

14     values, or in the case of a




19         THE REPORTER: Excuse me.

20         THE WITNESS

                                                                    17:28:34

22     BY MR. JAFFE:

23         Q.    If something increases

                                 right?                             17:28:39

25         MR. KIM: Objection; form.                                17:28:40

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1          THE WITNESS: I wasn't sure. I don't recall the           17:28:43

2      strict definition of

                                                                    17:28:52

4      BY MR. JAFFE:                                                17:28:52

5          Q.    I see. So if we exclude zero change, if            17:28:55

6      something is

                                ; right?                            17:29:01

8          MR. KIM: Objection; form.                                17:29:04

 9         THE WITNESS: I believe so, yes.                          17:29:07

10     BY MR. JAFFE:                                                17:29:07

11         Q.    And if we go back and we look at -- I don't        17:29:12

12     have the number in front of me. It's the one where           17:29:14

13     you pencilled out all the changes.                           17:29:16

14         A.    The changes.                                       17:29:18

15         Q.    The changes, yeah.                                 17:29:18

16         A.    Let's see, this one; right?                        17:29:22

17         Q.    Not that one. The one that looks like this         17:29:25

18     (indicating). The Fuji data.                                 17:29:28

19         A.    Is that not the one I wrote for you?               17:29:31

20         Q.    Yes. It should be over there in that pile.         17:29:36

21     It's just going to be one sheet of paper.                    17:29:40

22         MR. KIM: Thank you.                                      17:29:42

23               (Witness reviews documents.)                       17:29:52

24         THE WITNESS: This one?                                   17:29:53

25     BY MR. JAFFE:                                                17:29:53

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              Q_     That's it.                                         17:29:54

           A.        Okay.                                              17:29:55

              Q.     Do you remember when we were talking about         17:29:56

       the delta Y column?                                              17:29:58

           A.        Yes.                                               17:29:58

           Q.        Does the delta Y column -- I guess we'll say,      17:30:03

                                     7                                  17:30:10

              MR. KIM:      Objection; form.                            17:30:14

           THE WITNESS:          Yes, it appears to

                                                                        17:30:17

11     BY MR. JAFFE:                                                    17:30:17

12         Q.        So the difference between

                             is immaterial to what we were talking      17:30:23

14     about in Exhibit 156; right?                                     17:30:25

15            MR. KIM:      Objection; form.                            17:30:26

16         THE WITNESS:          I can say that the delta Y column      17:30:31

17     appears to be

                              yes.                                      17:30:35

19     BY MR. JAFFE:                                                    17:30:35

20            Q.     You talked about                   with your       17:30:38

21     counsel.                                                         17:30:39

22                   Do you remember that?                              17:30:40

23         A.        Yes.                                               17:30:40

24            Q.     And you said that you reuse some of the parts      17:30:42

25     from                    in the Fuji design; is that right?       17:30:45

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 1         A.     Yes.                                              17:30:46

2          Q.     Is that common to reuse parts from old            17;30:49

 3     projects?                                                    17:30:50

4          MR. KIM: Objection; form.                                17:30:53

 5         THE WITNESS; Depends what you mean by "common."          17;30;57

6      Can it be done? Certainly. Is it done? I've seen it 17;31;01

 7     done, yeah.                                                  17:31:02

 8     BY MR. JAFFE:                                                17:31:02

 9         Q.     Is it something you've seen happen fairly         17:31:04

10     regularly?                                                   17:31:05

11         MR. KIM: Objection; form.                                17:31:06

12         THE WITNESS: Again, I don't want to try to               17:31:09

13     qualify the rate of currents, but I have seen it done        17;31;13

14     before.                                                      17:31:14

15     BY MR. JAFFE:                                                17:31:14

16         Q.     Let me ask it this way: Reusing parts from        17:31:15

17     old projects is not uncommon; right?                         17:31:18

18         MR. KIM: Objection; form.                                17:31:19

19         THE WITNESS; It's not very uncommon.                     17:31:21

20     BY MR. JAFFE:                                                17;31;21

21         Q.     And was              -- how would you describe    17:31:25

22     what happened with that project?                             17:31:27

23         A.      I would describe it as a LiDAR sensor            17;31;35

24     development that started probably before I joined            17:31:39

25     Otto, made some progress in designing an FAC lens,           17:31:46

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 1     probably purchasing a couple basic components for it.        17:31:50

2      And then got shelved, I would say, when we decided to        17:31:58

 3     go with the Spider design.                                   17:32:00

4          Q.    Would you say that you abandoned the LiDAR         17:32:02

 5     zero design?                                                 17:32:04

6          MR, KIM: Objection; form.                                17:32:14

 7         THE WITNESS: Not exactly, because it's semantics. 17:32:19

 8     I'll grant that.                                             17:32:22

 9               But even when we moved away from LiDAR             17:32:27

10     zero, Dan Gruver really wanted to do                         17:32:33

11     which reflects in what we're doing now is Fuji.              17:32:38

12     So we continued to have an employee looking at the           17:32:44

13     machine that would place the FAC lens, even though           17:32:50

14     we're working on Spider.                                     17:32:52

15     BY MR. JAFFE:                                                17:32:52

16         Q.    And you're talking about Mr. Pennecot?             17:32:54

17         A.    No. This was George Lagui. So he was               17:33:03

18     working on this machine.                                     17:33:04

19         Q.    So you didn't really abandoned                     17:33:07

20     then?                                                        17:33:07

21         MR. KIM: Objection; form.                                17:33:13

22         THE WITNESS: I'm not sure if I would say we              17:33:15

23     abandoned it or not. Definitely back shelved it. But 17:33:20

24     it seemed like potential valuable capability to have.        17:33:26

25     BY MR. JAFFE:                                                17:33:26

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 1         Q.    So I want to fast forward and talk about           17:33:31

2      Spider.                                                      17:33:32

 3         A.    Okay.                                              17:33:33

4          Q.    The Spider device, did you abandon that            17:33:37

 5     project in the same way that yo abandoned                    17:33:45

6          MR, KIM: Objection; form.                                17:33:46

 7         THE WITNESS: No.                                         17:33:47

 8     2Y MR. JAFFE:                                                17:33:47

 9         Q.    How are they different?                            17:33:49

10         A.    In the case of what we're calling                  17:33:53

11     we kept an employee working on this machine that could 17:33:56

12     someday be used to place FAC lenses. That project was 17:34:03

13     put on the shelf because what we thought was a more          17:34:07

14     expedient design was selected, not for any fault of          17:34:11

15     that approach.                                               17:34:12

16               So Spider, I feel like that could probably be 17:34:20

17     fairly said to have been abandoned because it was            17:34:23

18     rejected on its merit or lack thereof.                       17:34:27

19         Q.    You use some of the learnings from the Spider 17:34:30

20     design in Fuji? You agree with that; right?                  17:34:33

21         MR. KIM: Objection; form.                                17:34:34

22         THE WITNESS: Like what?                                  17:34:35

23     2Y MR. JAFFE:

24         Q.    I'm asking you.                                    17:34:37

25         MR. KIM: Objection; form.                                17:34:43

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 1         THE WITNESS: I got to think this through.                  17:34:45

2      We've got different laser source, different                    17:34:49

 3     detector, different physical arrangement,                      17:34:52

4      different lens arrangement, completely different               17:34:58

 5     motor, perhaps in a noncontact power transfer                  17:35:08

6      design work, that could have been leveraged from               17:35:12

 7     Spider into Fuji.                                              17:35:14

 8     BY MR. JAFFE:                                                  17:35:14

 9         Q.     In fact, Spider was de cribed as II; right?         17:35:17

10         A.     Yes.

11         Q.     And Fuji was described as III right?                17:35:20

12         A.     Yes.                                                17:35:22

13         Q.     And                                                 17:35:27

14         MR. KIM:      Objection; form.                             17:35:27

15         THE WITNESS: I call them                 with that in      17:35:31

16     mind.                                                          17:35:32

17     BY MR. JAFFE:                                                  17:35:32

18         Q.     Wouldn't you agree that you reused some of          17:35:35

19     the receptor designs that you had for Spider in Fuji?          17:35:41

20         MR. KIM:      Objection; form.                             17:35:43

21         THE WITNESS: No.                                           17:35:44

22     BY MR. JAFFE:                                                  17:35:44

23         Q.     You didn't consider reusing any of the              17:35:46

24     receptor, the APDs in Spider from Fuji?                        17:35:54

25         THE REPORTER: In Spider from Fuji.                         17:35:54

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1             THE WITNESS: No.                                      17:35:55

2      BY MR. JAFFE:

3          Q.     So Spider, you're never going to use it           17:36:02

4      again; right?                                                17:36:03

5          A.     I don't have any intention of reusing it          17:36:05

6      again right now.                                             17:36:06

7          Q.     That's not my question. My question is, Uber 17:36:09

8      is never going to use Spider; right?                         17:36:12

 9         A.     You're asking if the company is going to do       17:36:18

10     something in the future?                                     17:36:20

11         Q.     That's right.                                     17:36:20

12         A.     I don't know.                                     17:36:21

13         Q.     So sitting here today, you can't tell me          17:36:24

14     whether Uber is going to use Spider in the future?           17:36:27

15         A.     No. I can only tell you my intentions right       17:36:31

16     now.                                                         17:36:31

17         Q.     All right. You mentioned Fuji. Oh, I'm            17:36:47

18     sorry, going back to Spider.                                 17:36:50

19                Why save the parts if you're never going to       17:36:53

20     use it?                                                      17:36:54

21         A.     That's a good question.                           17:36:57

22         Q.     Why didn't you throw it away?                     17:37:00

23         A.     I don't know if we've thrown anything away.       17:37:03

24     I don't know. It should have, could have easily been         17:37:05

25     recycled, yeah.                                              17:37:07

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1          Q.    So you don't know why you kept it?                  17:37:10

2          A.    Just because we didn't throw it away, as far        17:37:13

3      as I know.                                                    17:37:14

4          Q.    So sitting here today, again, you can't tell        17:37:19

5      me why you kept the Spider; right?                            17:37:21

6          A.    Yes.                                                17:37:26

7          Q.    Okay. I want to ask about your supplemental         17:37:42

8      declaration that you went into detail with with your          17:37:46

 9     counsel. And let's start with page 11. And there's            17:38:07

10     Figures 8A and 8B here.                                       17:38:09

11               Do you see that?                                    17:38:10

12         A.    I see that.                                         17:38:11

13         Q.    And during your testimony by your counsel,          17:38:13

14     you said -- you referred to these                   and you   17:38:17

15     said whoever did these letters.                               17:38:21

16         A. Um-hum.

17         Q.    You didn't prepare 8A and 8B, did you?              17:38:28

18         A.    No.                                                 17:38:28

19         Q.    Who prepared 8A and 8B?                             17:38:31

20         A.    Counsel.                                            17:38:33

21         Q.    Who?                                                17:38:34

22         A.    Jackie Choy [sic], I believe.                       17:38:39

23         Q.    So Uber's lawyers prepared this and sent this 17:38:43

24     to you; is that right?                                        17:38:44

25         A.    Yes.                                                17:38:45

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1          Q.    And you signed it without actually checking        17:38:47

2      it was accurate?                                             17:38:49

3          A.    Whoa. I looked at these numbers.                   17:38:52

4          Q.    But you didn't check what you did today            17:38:54

5      before you signed this declaration, did you?                 17:38:59

6          A.    What do you mean? Identifying, double              17:39:02

7      checking the                                                 17:39:04

8          Q.    Yes.                                               17:39:04

 9         A.    I did check that.                                  17:39:06

10         Q.    So why today did you need to check it again?       17:39:09

11         A.    I like to be careful.                              17:39:11

12         Q.    You like to be careful?                            17:39:12

13         A.    Yeah. I want to be sure we can show the

                          that they matched.                        17:39:19

15         Q.    Did you know when you signed your declaration 17:39:22

16     whether these actually matched every single angle and        17:39:26

17     every single board?                                          17:39:27

18         A.    Yes, I believe I did.                              17:39:28

19         Q.    What do you mean you believe you did?              17:39:31

20         A.    To my recollection, I checked

                                               . And I checked the 17:39:42

22     initial          and knew that they would follow the         17:39:46

23     same pattern so I didn't check every single angle.           17:39:50

24         Q.    How many of these did you actually check           17:39:52

25     yourself before you signed your declaration?                 17:39:55

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1          A.    I remember at least checking the initial

                                                                    17:40:04

3          Q.    So you checked about six out of the 64; is         17:40:08

4      that fair?                                                   17:40:09

5          A.    Yeah.                                              17:40:09

6          Q.    And the rest are purely from counsel; you're       17:40:12

7      just relying on them?                                        17:40:14

8          A.    Not exactly.                                       17:40:16

 9         Q.    You didn't check.                                  17:40:19

10               How did you know it was accurate?                  17:40:21

11         A.    How would the pattern change?                      17:40:24

12         Q.    I don't know. It's your declaration.               17:40:26

13         A.    I understand. From my understanding, the           17:40:30

14     pattern is consistent in the letters. So once you            17:40:35

15     start the pattern properly, it's going to finish out         17:40:39

16     properly.                                                    17:40:40

17         Q.    Let's go to the next page, page 12.                17:40:42

18               Who prepared this table?                           17:40:44

19         A.    Counsel for Uber.                                  17:40:51

20         Q.    And you had to double check it here at your        17:40:54

21     deposition; you didn't know whether it was accurate          17:40:55

22     when you signed it, did you?                                 17:40:57

23         MR. KIM: Objection; form.                                17:40:58

24         THE WITNESS: I believe I checked that before as          17:41:00

25     well.                                                        17:41:01

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1      BY MR. JAFFE:                                                17:41:01

2          Q.     You did? How many?                                17:41:03

3          A.     I don't recall. Some.                             17:41:14

4          Q.     How many?                                         17:41:16

5          A.     I would have checked first sets of angles. I 17:41:25

6      don't know.                                                  17:41:25

7          Q.     I'm not asking what you would have done. I'm 17:41:28

8      asking what you did.                                         17:41:29

 9         A.     I don't remember what I did.                      17:41:30

10         Q.     You don't remember checking any of these, do      17:41:33

11     you?                                                         17:41:33

12            MR. KIM: Objection; form.                             17:41:34

13            THE WITNESS: That's not true.                         17:41:35

14     BY MR. JAFFE:                                                17:41:35

15         Q.     So you checked one?                               17:41:36

16            MR. KIM: Objection; form.                             17:41:38

17            THE WITNESS: I specifically was checking those        17:41:40

18     that had the       degree, and I was specifically            17:41:44

19     checking those that began the pattern as well.               17:41:47

20     BY MR. JAFFE:                                                17:41:47

21         Q.     So you checked probably, what, five or six?       17:41:50

22         A.     Should be at least six, was at least six.         17:41:54

23         Q.     At least six. You don't remember checking         17:41:56

24     anymore on this one?                                         17:41:59

25         A.     I don't remember checking more.                   17:42:00

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1          Q.     Let's go to the next page. There's another        17:42:03

2      chart, page 13.                                              17:42:04

3                 Who wrote this chart?                             17:42:06

4          A.     Same person who prepared the previous chart.      17:42:10

5          Q.     And how many angles did you check in this         17:42:14

6      one?                                                         17:42:15

7          A.     Again, I would -- I believe I checked maybe       17:42:20

8      six.                                                         17:42:20

 9         Q.     And how did you know that the data that           17:42:23

10     Uber's lawyers were relying on was accurate?                 17:42:27

11         A.     I would say there's a certain level of            17:42:40

12     expectation of accuracy when you're pulling data out         17:42:45

13     of a spreadsheet into another spreadsheet.                   17:42:47

14         Q.     You mean you were relying on Uber's lawyers       17:42:50

15     to give you accurate data?                                   17:42:52

16         MR. KIM: Objection; form.                                17:42:53

17            THE WITNESS: I was relying on Uber's lawyers to       17:42:58

18     do the obvious simple thing, cut and paste from a            17:43:01

19     spreadsheet, and not inject an errors by manually            17:43:05

20     changing numbers.                                            17:43:07

21     BY MR. JAFFE:                                                17:43:07

22         Q.     You see it says "Current" here?                   17:43:09

23         A.     Yes.                                              17:43:09

24         Q.     Where did Uber's lawyers get the numbers that 17:43:13

25     go in the "Current" column?                                  17:43:15

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1          A.     What is this document called? This would be       17:43:24

2      from Exhibit 155.                                            17:43:26

3          Q.     How do you know that?                             17:43:28

4          A.     Because she said so.                              17:43:30

5          Q.     Uber's lawyer told you that she derived these 17:43:35

6      numbers from Exhibit B?                                      17:43:37

7          MR. KIM: I'm going to object on grounds of               17:43:41

8      privilege and instruct you not to answer that.               17:43:45

 9     BY MR. JAFFE:                                                17:43:45

10         Q.     So again, I just want to ask, how do you know 17:43:50

11     the numbers that say "Current" here where they were          17:43:58

12     derived from? And wait for your counsel to object, if 17:44:02

13     he does.                                                     17:44:03

14         A.     I would inspect Exhibit 155 in the theta          17:44:14

15     column for these boards to find the angles that match. 17:44:22

16         THE REPORTER: To find the angles that . . .              17:44:22

17         MR. JAFFE: Excuse me.

18         THE WITNESS: To find the angles that match.

19     BY MR. JAFFE:

20         Q.     Mr. Haslim, I'm not asking what you would do. 17:44:26

21     I'm asking what happened.                                    17:44:28

22         A.     So as I said, I compared some number, maybe       17:44:34

23     six, of the angles under "Current" against the angles        17:44:41

24     listed under the theta column in Exhibit 155.                17:44:46

25         Q.     Where do the numbers from the "Current"           17:44:48

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1      column come from in your declaration?                        17:44:51

2          A.     They came from the spreadsheet that we're         17:44:59

3      printing out and calling Exhibit 155.                        17:45:02

4          Q.     And how do you know that? How did you know        17:45:05

5      that at the time?                                            17:45:05

6          A.     How did I know to look there as a source?         17:45:09

7          Q.     No. How did you know that the source of           17:45:11

8      these numbers were from that spreadsheet before you          17:45:14

 9     signed your declaration?                                     17:45:16

10         A.     So in the process of developing this              17:45:20

11     document, I was in communication with Uber's counsel.        17:45:24

12         Q.     So Uber's lawyers told you that these numbers 17:45:29

13     come from the "Current" number and they sent them to         17:45:32

14     you and that's the basis of your understanding that          17:45:34

15     these numbers actually are current?                          17:45:36

16         MR. KIM: I'm going to object on the grounds of           17:45:39

17     privilege and instruct you not to answer the question        17:45:42

18     to the extent it asks what Uber's lawyers told you.          17:45:48

19         THE WITNESS: I would refer to my discussion with         17:45:50

20     Uber's lawyer for the source of the information that         17:45:55

21     allows me to go back and check myself at least some of 17:45:59

22     the numbers with the belief that the other numbers in        17:46:02

23     between for every logical reason should be the correct 17:46:06

24     numbers.                                                     17:46:07

25     BY MR. JAFFE:                                                17:46:07

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1          Q.    But you didn't check that before you signed        17:46:09

2      your declaration; right?                                     17:46:11

3          MR. KIM: Objection; form.                                17:46:12

4          THE WITNESS: I did not recall checking all 32            17:46:20

5      angles in this table, or 64 as the case may be.              17:46:24

6      BY MR. JAFFE:                                                17:46:24

7          Q.    So you couldn't -- at the time you signed          17:46:28

8      this declaration, you couldn't say that what's in here 17:46:35

 9     actually does represent all the current angles because 17:46:39

10     you didn't check each one?                                   17:46:41

11         MR. KIM: Objection; form.                                17:46:42

12         THE WITNESS: I really believe without checking           17:46:44

13     every single one, I could have a very high reasonable        17:46:48

14     confidence that they are correct.                            17:46:50

15     BY MR. JAFFE:                                                17:46:50

16         Q.    Because you believe Uber's lawyers?                17:46:52

17         MR. KIM: Objection; form.                                17:46:55

18         THE WITNESS: Because I checked the beginning and         17:46:57

19     the end and have every reason to believe that a cut          17:47:02

20     and paste from one spreadsheet to another would be           17:47:05

21     without error.                                               17:47:05

22     BY MR. JAFFE:                                                17:47:05

23         Q.    But what spreadsheet did it come from?             17:47:09

24         A.    The spreadsheet that's printed out in Exhibit 17:47:13

25     155.                                                         17:47:13

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1          Q.    How do you know that?                              17:47:14

2          A.    By talking to the lawyer.                          17:47:16

3          Q.    So Uber's lawyer told you that he or she cut       17:47:20

4      and paste out of a spreadsheet and put it into this          17:47:23

5      chart?                                                       17:47:23

6          MR. KIM: Objection; calls for privileged                 17:47:26

7      information. Instruct you not to answer to the extent 17:47:29

8      it's asking you what Uber's lawyers told you.                17:47:31

 9         MR. JAFFE: This is waived.                               17:47:33

10     I mean, the only basis for him to say that this is           17:47:35

11     current is what a lawyer told him, so that's not a           17:47:39

12     proper privilege instruction.                                17:47:40

13         MR. KIM: He's already told you that it's based on 17:47:42

14     communications with his lawyers. You're not entitled         17:47:45

15     to know exactly what his lawyers told him.                   17:47:47

16         MR. JAFFE: I'm entitled to know exactly that.            17:47:49

17         MR. KIM: Disagree.                                       17:47:50

18     BY MR. JAFFE:                                                17:47:50

19         Q.    Mr. Haslim, what did Uber's lawyers tell you       17:47:56

20     was the source of the data in the "Current" column?          17:47:59

21         MR. KIM: Same objection with instruction not to          17:48:01

22     answer.                                                      17:48:02

23               You can answer that question generally if          17:48:08

24     you can without revealing the exact -- the                   17:48:12

25     specific communications that you've had with the             17:48:14

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1      lawyer. But I think you've already done that.                17:48:17

2                Can you rephrase the question to avoid asking 17:48:24

3      with him what Uber's lawyers told him?                       17:48:26

4      BY MR. JAFFE:                                                17:48:26

5          Q.    I'm asking him, what is the basis for his          17:48:30

6      knowledge, to the extent that he has any, about where        17:48:33

7      the data in the "Current" column in your declaration         17:48:36

8      came from?                                                   17:48:38

 9         A.    I'll have to say my knowledge of where the         17:48:42

10     data in the "Current" column came from would come from 17:48:47

11     inspecting where I believed it came from and finding a 17:48:51

12     reasonable match from some number of channels that           17:48:55

13     begin the pattern and end the pattern.                       17:48:57

14         Q.    How did you know to look in that document?         17:49:01

15         A.    Discussion with counsel.                           17:49:05

16         Q.    Okay. So let me start again. What was your         17:49:07

17     basis for understanding that what's in the "Current"         17:49:10

18     column actually reflects anything in Fuji?                   17:49:13

19         A.    Again, my basis for understanding what was         17:49:18

20     reflected in the "Current" column reflects what was          17:49:21

21     actually built in Fuji was to compare some subset of         17:49:26

22     the numbers at least to the angles in a document that        17:49:29

23     I know was used to build Fuji.                               17:49:33

24         Q.    So again, for the chart on page 13 here, you       17:49:37

25     didn't prepare that chart; right?                            17:49:39

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1          MR. KIM: Objection; form.                                17:49:42

2          THE WITNESS: I did not prepare this spreadsheet          17:49:44

3      chart.

4      BY MR. JAFFE:                                                17:49:45

5          Q.    It came to you fully formed with the current

6      column and the November 16th column already populated;

7      right?

8          A.    Yes.                                               17:49:52

 9         Q.    And you only checked a couple of the angles;       17:49:55

10     right?                                                       17:49:55

11         A.    I checked more than a couple, but I checked a 17:50:00

12     subset of the angles.                                        17:50:01

13         Q.    And what about the November 16th one, how          17:50:04

14     many of those did you check?                                 17:50:05

15         A.    I would have -- I don't remember exactly how       17:50:09

16     many I checked.                                              17:50:09

17         Q.    Do you remember checking any?                      17:50:11

18         A.    Yes.                                               17:50:12

19         Q.    More than one?                                     17:50:15

20         A.    Yeah. It would have been more than one, but        17:50:17

21     I don't remember exactly how many.                           17:50:19

22         Q.    What else in your declaration did you rely on 17:50:23

23     representations from counsel about?                          17:50:25

24         A.    Annotations in Figure 2B.                          17:50:45

25         Q.    That's relied on by counsel?                       17:50:48

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1          A.    Counsel created the annotations. I looked at 17:50:52

2      it, thought it looked correct.                               17:50:55

3          Q.    What about -- let's go to page 4.                  17:51:02

4          A.    Okay.                                              17:51:03

5          Q.    Do you see there's some large footnotes            17:51:06

6      there?                                                       17:51:07

7          A.    Yes.                                               17:51:07

8          Q.    Who provided those references?                     17:51:09

 9         A.    I did.                                             17:51:10

10         Q.    And where did you find them?                       17:51:12

11         A.    On the web.                                        17:51:13

12         Q.    So you went out and found each of those?           17:51:16

13         A.    Yes.                                               17:51:16

14         Q.    And the iXBlue one that you're referring to?       17:51:20

15         A.    IXBlue, yes.

16         Q.    IXBlue, excuse me.                                 17:51:23

17               Do you know when that specialty fiber web          17:51:27

18     page first was published?                                    17:51:29

19         A.    No.                                                17:51:29

20         Q.    Do you know if it was published before or          17:51:31

21     after you started designing

                                         ?                          17:51:39

23         A.    I don't know.                                      17:51:40

24         Q.    Again on page 5 looking at Figure 4, do you        17:51:43

25     know whether that website was posted before or after         17:51:46

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1      the conversation with Mr. Levandowski?                       17:51:47

2          A.     I don't know.                                     17:51:48

3          Q.     Is there anything else in the declaration in      17:51:54

4      which you're relying on representations from Uber's          17:51:59

5      lawyers?                                                     17:51:59

6          MR. KIM: Objection; form.                                17:52:01

7          THE WITNESS: Figure 6, I relied on Uber's lawyers 17:52:06

8      to excerpt this section from the spreadsheet.                17:52:09

 9     Figure 7A and 7B, I relied on Uber lawyer to put             17:52:20

10     down these files that were sourced by somebody               17:52:23

11     else.                                                        17:52:24

12     BY MR. JAFFE:                                                17:52:24

13         Q.     Who were they sourced by?                         17:52:26

14         A.     I'm fairly certainly they would be sourced by 17:52:29

15     Gaetan.                                                      17:52:29

16         Q.     So Gaetan provided these pictures?                17:52:31

17         A.     I believe so, yes.                                17:52:32

18         Q.     Did you talk to Gaetan about what you wanted      17:52:34

19     to provide, what you wanted him to put in here?              17:52:37

20         MR. KIM: Objection; form.                                17:52:39

21         THE WITNESS: No.                                         17:52:39

22     BY MR. JAFFE:                                                17:52:39

23         Q.     What was your understanding of what               17:52:41

24     Mr. Pennecot went out and looked for?                        17:52:44

25         A.     My understanding was these were documents         17:52:52

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1      that were already produced and were gathered for the         17:52:55

2      purpose of this declaration.                                 17:52:57

3          Q.    And it refers to                                   17:53:02

4                                                                   17:53:03

5          A.    Yes.                                               17:53:03

6          Q.    Has the FAC lens in Fuji always been               17:53:12

7                                                                   17:53:14

8          THE REPORTER:    I'm sorry, can you repeat that?         17:53:14

 9     BY MR. JAFFE:

10         Q.    Has the FAC lens in Fuji always been

11

12         A.    I've only known it to be                           17:53:19

13         Q.    So you've never seen a version of a FAC lens       17:53:23

14     that is                                                      17:53:24

15         A.    No, not to my knowledge.                           17:53:26

16         Q.    And would it surprise you if Uber -- go            17:53:29

17     ahead.                                                       17:53:29

18         A.    You left the question very general and I           17:53:32

19     answered too quickly.    I've never seen

20                                                                  17:53:41

21         Q.    What other design have you seen?                   17:53:47

22         A.

23                                                                  17:53:54

24         Q.    In terms of the custom FAC lens that includes      17:53:57

25     a cylindrical optical surface, have you ever seen one        17:54:01

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 1     of those?                                                         17:54:02

2          MR. KIM: Objection; form.                                     17:54:03

 3         THE WITNESS: Are you asking about anywhere?                   17:54:05

4      BY MR. JAFFE:                                                     17:54:05

 5         Q.     At Uber or Otto.                                       17:54:07

6          A.      If -- I don't know of seeing a cylindrical            17:54:12

 7     custom FAC lens at Otto.                                          17:54:14

 8         Q.     And you don't know whether Fuji ever had a             17:54:19

 9     cylindrical FAC lens ever?                                        17:54:22

10         A.     To my knowledge,

11

12                                                                       17;54;32

13         Q.      What about                    , are you familiar      17:54:34

14     with that?                                                        17:54:35

15         A.     I've seen the name                                     17:54:38

16         Q.      What is that?                                         17:54:39

17         A.     I believe it's the FAC lens.                           17:54:41

18         Q.     And do you know whether there are any                  17:54:43

19     versions of that design that had a cylindrical optical 17:54:46

20     surface?                                                          17:54:47

21         A.     I'm not aware. If there were, I'm not aware            17:54:50

22     of them. So we have to go back to Gaetan's design                 17:54:52

23     record to see if he started with a cylindrical design. 17:54:57

24         Q.     So we talked about some of the charts where            17:55:00

25     you said that you relied on Uber's counsel.                       17:55:04

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1                What about any of the text? Are any of the         17:55:05

2      numbers in here, do they come from Uber's counsel as         17:55:09

3      opposed to you?                                              17:55:10

4          A.    A large part of the text, perhaps the bulk of 17:55:17

5      the text in this declaration, came from Uber's               17:55:20

6      counselors.                                                  17:55:20

7          Q.    Okay. So they provided you basically all the 17:55:24

8      text in this draft; is that fair?                            17:55:26

 9         MR. KIM: Objection; form.                                17:55:28

10         THE WITNESS: It's a little too much to say "all," 17:55:30

11     but I could say more than half and that I was given an 17:55:33

12     opportunity to edit.                                         17:55:37

13     BY MR. JAFFE:                                                17:55:37

14         Q.    Okay. So I want to go back to my original          17:55:43

15     question which was, what part of the text are you            17:55:47

16     relying on representations from Uber's lawyers for           17:55:50

17     purposes of your declaration?                                17:55:52

18         A.    Since Uber's lawyers originated most of the        17:56:13

19     text, I relied on Uber's lawyers to originate most of        17:56:18

20     the text in here.                                            17:56:19

21         Q.    Meaning, most of the text you're relying on        17:56:26

22     on their representations; is that fair?                      17:56:29

23         A.    I'm relaying on their --                           17:56:30

24         MR. KIM: Objection; form.                                17:56:31

25         THE REPORTER: I'm relaying on their . . .

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1          THE WITNESS: I'm relying on their origination.           17:56:37

2      BY MR. JAFFE:                                                17:56:37

3          Q.    So for example, looking at page 13, there's a 17:56:43

4      chart comparing Spider and Fuji. Uber's lawyer came          17:56:49

5      up with that chart; right?                                   17:56:51

6          MR. KIM: Objection; form.                                17:56:52

7          THE WITNESS: Yes.                                        17:56:53

8      BY MR. JAFFE:                                                17:56:53

 9         Q.    The idea -- going back to page 8, the idea of 17:57:09

10     excerpting what's in Figure 6, was that -- did that          17:57:14

11     idea come from Uber's lawyers?                               17:57:17

12         MR. KIM: Objection; form. Also on grounds of             17:57:20

13     work product.                                                17:57:25

14         THE WITNESS: I presume it was.                           17:57:30

15     BY MR. JAFFE:                                                17:57:30

16         Q.    And going back to --                               17:57:42

17         MR. KIM: How long have we been going on the              17:57:57

18     record?                                                      17:57:58

19         THE VIDEOGRAPHER: The entire time?                       17:57:59

20         MR. KIM: Yes. Oh, just since the last break.             17:58:05

21         THE VIDEOGRAPHER: 54 minutes.                            17:58:07

22         MR. JAFFE: I'm referring to your original                17:58:32

23     declaration. Let's go to your original declaration,          17:58:32

24     please.

25         MR. KIM: I'm going to object to this whole line          17:58:34

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1      of questioning as outside the scope of recross.              17:58:39

2      BY MR. JAFFE:                                                17:58:39

3          Q.    Did Uber's lawyers, did they prepare your          17:58:42

4      original declaration as well?                                17:58:44

5          MR. KIM: Objection; form.                                17:58:45

6          THE WITNESS: I would say Uber's lawyers                  17:58:54

7      originated most of this declaration.                         17:58:58

8      BY MR. JAFFE:                                                17:58:58

 9         Q.    What percentage of the words in your original 17:59:00

10     declaration came from Uber's lawyers?                        17:59:03

11         MR. KIM: Objection; form.                                17:59:07

12         THE WITNESS: I don't know what the percentage is. 17:59:08

13     BY MR. JAFFE:                                                17:59:08

14         Q.    Over 80 percent?                                   17:59:10

15         MR. KIM: Objection; form, outside the scope.             17:59:14

16         THE WITNESS: Yeah, I'm not sure.                         17:59:18

17     I know I had some textural editing input to this             17:59:25

18     document, but I don't remember like percentagewise           17:59:26

19     on the words. It was less than half.                         17:59:31

20     BY MR. JAFFE:                                                17:59:31

21         Q.    But in terms of the drafting, they sent you a 17:59:34

22     full draft of your declaration?                              17:59:36

23         MR. KIM: Objection; form.                                17:59:38

24     BY MR. JAFFE:                                                17:59:38

25         Q.    Is that right?                                     17:59:39

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1          A.     Yes, I got --                                     17:59:44

2          MR. KIM: Outside the scope of redirect. Recross. 17:59:47

3          THE WITNESS: Yes. I got a more or less complete          17:59:51

4      draft from Uber's lawyers.                                   17:59:54

5      BY MR. JAFFE:                                                17:59:54

6          Q.     And I want to take you particularly to page       17:59:56

7      12 of your original declaration.                             18:00:00

8          A.     Okay.                                             18:00:03

 9         Q.     Do you see where you refer to                     18:00:06

10     Mr. Levandowski's input?                                     18:00:08

11         A.     Yes.                                              18:00:16

12         Q.     What did you do -- well, let me start this,       18:00:19

13     was this paragraph drafted by Uber's lawyers?                18:00:22

14         MR. KIM: Objection; form outside the scope.              18:00:26

15         THE WITNESS: I believe they wrote the first draft 18:00:32

16     of this.                                                     18:00:33

17     BY MR. JAFFE:                                                18:00:33

18         Q.     And what did you do to verify before signing      18:00:38

19     your declaration that what's here in paragraph 19 and        18:00:43

20     written by Uber's lawyers was true and accurate based        18:00:46

21     on your personal knowledge?                                  18:00:48

22         A.     I used my personal knowledge, my personal         18:00:55

23     experience, my recollection, read this, agreed. To my 18:01:02

24     knowledge, to the best of my knowledge, that the             18:01:04

25     statement in paragraph 19 was true.                          18:01:06

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1          Q.     So Uber's lawyers sent you paragraph 19. You 18:01:09

2      said looks good and you signed it?                           18:01:11

3          MR. KIM: Objection; form.                                18:01:12

4          THE WITNESS: They sent me 19. I may have made an 18:01:15

5      edit in it. I don't recall. And then gave that edit          18:01:21

6      back. Got a final draft, read through, and signed it. 18:01:25

7      BY MR. JAFFE:                                                18:01:25

8          Q.     What was the edit you gave to paragraph 19 to 18:01:27

 9     make it accurate?                                            18:01:28

10         MR. KIM: Objection; form.                                18:01:35

11         THE WITNESS: I may have suggested that we make a         18:01:39

12     strong statement as possible regarding the 14,000            18:01:44

13     files having not seen any evidence of that in the            18:01:48

14     development of this sensor.                                  18:01:49

15     BY MR. JAFFE:                                                18:01:49

16         Q.     Anything else?                                    18:01:51

17         A.     I don't recall.                                   18:01:55

18         Q.     So for purposes of the first sentence here        18:01:59

19     about Mr. Levandowski never had nor currently has any 18:02:03

20     design input, that was written wholesale by Uber's           18:02:08

21     lawyers?                                                     18:02:08

22         MR. KIM: Objection; form.                                18:02:10

23         THE WITNESS: I don't recall if I may have -- if I 18:02:13

24     had made any edits to this first sentence or not.            18:02:16

25     BY MR. JAFFE:                                                18:02:16

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1          Q.    And what did you do to verify -- well,             18:02:19

2      actually I think you already said this.                      18:02:21

3                You didn't do anything to verify that this         18:02:24

4      statement was accurate in paragraph 19 of your               18:02:27

5      declaration after it was provided to you by Uber's           18:02:30

6      lawyers; right?                                              18:02:31

7          MR. KIM: Objection; form.                                18:02:37

8          THE WITNESS: I did no investigation to verify            18:02:40

 9     that the statements made in paragraph 19 were                18:02:46

10     absolutely true.                                             18:02:49

11     BY MR. JAFFE:                                                18:02:49

12         Q.    Did you talk to Mr. Levandowski?                   18:02:52

13         A.    No.                                                18:02:52

14         Q.    Okay. All right. So what parts of your             18:03:03

15     original declaration are you relying on information          18:03:08

16     from Uber's lawyers?                                         18:03:11

17         A.    Can you be specific when you say relying on        18:03:21

18     the Uber's lawyers.                                          18:03:25

19         Q.    The basis for it being in your declaration is 18:03:28

20     something provided to you by counsel.                        18:03:32

21         MR. KIM: Objection; form.                                18:03:35

22         THE WITNESS: Again, this document was, in the            18:03:41

23     majority, sourced by lawyers for Uber.                       18:03:47

24     BY MR. JAFFE:                                                18:03:47

25         Q.    So you would say the majority of the document 18:03:49

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1      you're relying on information from counsel; is that          18:03:51

2      right?                                                       18:03:52

3          A.    For the majority of the document, I'm relying 18:03:58

4      on Uber's counsel to originate the document. I'm not         18:04:01

5      necessarily relying on them. If you're implying --           18:04:04

6          Q.    Let me --                                          18:04:04

7          MR. KIM: Let him finish.                                 18:04:06

8      BY MR. JAFFE:                                                18:04:06

 9         Q.    That's fine. Let me be more clear.                 18:04:10

10         MR. KIM: Wait. Are you cutting off the witness           18:04:11

11     here?                                                        18:04:12

12         MR. JAFFE: I think I'm trying to clarify. I'll           18:04:16

13     withdraw the prior question.                                 18:04:18

14     BY MR. JAFFE:

15         Q.    I want to understand what facts are in your        18:04:20

16     declaration that you relied on from counsel.                 18:04:24

17         A.    I'm still having a hard time understanding         18:04:27

18     when you say relying on counsel for facts, whether           18:04:31

19     you're implying I'm relying on Uber's counsel for the        18:04:35

20     veracity or whether I'm relying on Uber's counsel to         18:04:39

21     put that information into the declaration.                   18:04:41

22         Q.    That's fair. Let me help clarify this.             18:04:43

23               So what I'm trying to get at is, were you          18:04:48

24     relying on Uber's counsel for the basis of these             18:04:51

25     facts, that is, you don't have independent personal          18:04:52

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 1     knowledge of how they got into your declaration?             18:04:55

2          A.     You said independent personal knowledge of        18:05:01

 3     how they got into my --                                      18:05:04

4          Q.     Let me clarify again. Let me give an example 18:05:05

 5     and maybe that will help.                                    18:05:07

6                 So you said in paragraph 22 of your               18:05:10

 7     declaration, "Uber will not be ready to deploy any           18:05:13

 8     public vehicles with Fuji sensors for self-driving           18:05:16

 9     purposes

10                                                                  18:05:21

11                Do you see that?                                  18:05:22

12         A.     I see that.                                       18:05:23

13         Q.     Here's what I'm trying to get at: There's         18:05:25

14     two scenarios, one is you know that based on your work 18:05:30

15     and it's in your declaration. Two is, you don't know         18:05:34

16     that fact or you're not sure about that fact and would 18:05:38

17     need to verify it and Uber's lawyers tell it to you          18:05:43

18     and you put in your declaration anyway and the basis         18:05:45

19     of your declaration is them telling it to you. I'm           18:05:48

20     getting at the latter point.                                 18:05:50

21         A.     Is there maybe a third option?                    18:05:51

22         Q.     Perhaps there is. Feel free to clarify.           18:05:54

23         A.     Maybe option 3 they ask:

24

25                                                                  18:06:04

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 1         Q.     I see, okay_                                      18:06:07

2          A.     I answer and then that comes into the             18:06:10

 3     paragraph.                                                   18:06:10

4          Q.     I see. So you have personal knowledge as to, 18:06:14

 5     for example, you have personal nowledge th t the

6                                                is that fair?      18:06:22

 7         A.     That's fair.                                      18:06:23

 8         Q.     And the basis for that, what's in your            18:06:26

 9     declaration is your personal knowledge?                      18:06:28

10         A.     Yes.                                              18:06:28

11         Q.     Has the time line for Fuji changed since you      18:06:35

12     provided your original declaration?                          18:06:36

13         A.     I wouldn't say that the time line for Fuji        18:06:47

14     has changed significantly since this declaration.            18:06:50

15     That said, in all fairness, every engineering project        18:06:53

16     has time line change continually. So as time has             18:06:57

17     elapsed, it it's probably slipped a bit.                     18:07:01

18         Q.     What's the current target date to be able to      18:07:03

19     use Fuji on a car?                                           18:07:06

20         MR. KIM: Objection; form.                                18:07:07

21         THE WITNESS:

22                                                                  18:07:10

23     2Y MR. JAFFE:                                                18:07:10

24         Q.                                                       18:07:12

25         MR. KIM: Same objection.                                 18:07:14

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 1         THE WITNESS:                                             18:07:16

2                                                                   18:07:18

3      BY MR. JAFFE:                                                18:07:18

4

I

I

I

I

I          •                                     1




                                                                    18:08:08

15         MR. KIM: Objection; form.                                18:08:09

16         THE WITNESS:                                             18;08;16

17




                                                                    18:08:39

23     BY MR. JAFFE:                                                18:08:39

24         Q•

                                                                    18:08:44

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 1         MR. KIM:    Objection; form.                             18:08:45

2          THE WITNESS:                                             18:08:47

 3     BY MR. JAFFE:                                                18:08:47

4          Q.                                                       18:08:49

 5         MR. KIM:    Objection; form.                             18:08:50

6          THE WITNESS:                                             18:08:57

7

I

I                                                                   18:09:08

10     BY MR. JAFFE:                                                18:09:08

11



                                                                    18:09:19

14         MR. KIM:    Objection; form.                             18:09:20

15         THE WITNESS:                                             18:09:24

16




                                                                    18:09:45

21     BY MR. JAFFE:                                                18:09:45

22         Q.    So I hear you're being very careful with your      18:09:48

23     answers here.                                                18:09:48

24               My question is, when is Fuji going to be a         18:09:51

25     functioning LiDAR?                                           18:09:52

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 1         MR. KIM: Objection; form.                                18:09:53

2          THE WITNESS:                                             18:09:55

3                                                          1        18:09:57

 4     BY MR. JAFFE:                                                18:09:57

5          Q.

I                                                                   18:10:05

 7         MR. KIM: Objection; form.                                18:10:06

 8         THE WITNESS:                                             18:10:13

 9

                                                                    18:10:24

11     BY MR. JAFFE:                                                18:10:24

12         II



                                                                    18:10:33

15         MR. KIM:    Objection; form.                             18:10:33

16         THE WITNESS:                                             18:10:35

17                                                                  18:10:38

18     BY MR. JAFFE:                                                18:10:38

19         Q-     You're answering a different question.            18:10:41

20     That's fine. I'm just trying to get a different              18:10:44

21     question, which is, when is Fuji going to work?              18:10:47

22         MR. KIM: Objection; form.                                18:10:49

23         THE WITNESS;                                             18:10:50

24     BY MR. JAFFE:                                                18:10:50

25        N                                                         18:10:54

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 1         MR. KIM: Objection; form.                                18:10:55

2          THE WITNESS: Second, I want us to be clear on            18:10:59

 3     what you mean by "work." Because I can build a               18:11:02

4      prototype that displays most of the functionality and        18:11:06

 5     still not be something you can put on a car. So if           18:11:11

6      you want to clarify.                                         18:11:14

 7     BY MR. JAFFE:                                                18:11:14

 8         Q.     Let me just try and ask this one more time.       18:11:17

 9                When is Fuji going to be a working LiDAR?         18:11:20

10         MR. KIM: Objection; form.                                18:11:24

11         THE WITNESS:                                             18:11:31

12



                                                                    18:11:44

15     BY MR. JAFFE:                                                18:11:44

16




                                                                    18:11:54

19         MR. KIM:    Objection; form.                             18:11:55

20         THE WITNESS: I'm not sure.                               18:11:59

21     BY MR. JAFFE:                                                18:11:59

22

                                                                    18;12109

24         MR, KIM: Objection; form.                                18;12;13

25         THE WITNESS:                                             18:12:16

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 1                                                                  18:12:20

2                                                                   18:12:20

 3     BY MR. JAFFE:

4          Q.    Okay. Going back to your declaration here,         18:12:25

 5     we're looking at paragraph 18.                               18:12:26

6          MR, KIM: Jordan, how long do you plan on going?          18:12:30

 7     It's about 6:10. Been going over an hour since the           18:12:34

 8     last break.                                                  18:12:35

 9         MR. JAFFE: Just kind of keep going.                      18:12:37

10         MR. KIM: Yeah, well -- I think we should take a          18:12:40

11     break.                                                       18:12:40

12         MR. JAFFE: Why don't we do this quick question           18:12:44

13     and then we'll take a break.                                 18:12:45

14     BY MR. JAFFE:

15         Q.    Are you looking at paragraph 18 of your            18:12:47

16     original declaration?                                        18:12:49

17         A.    Yes.                                               18:12:51

18         Q.    So you referred to this in the redirect            18:12:55

19     testimony. You talked about the custom beam spacing          18:12:58

20     and angle summary Scott provided.                            18:13:01

21               Do you see that?                                   18:13:02

22         A.    Yes.                                               18:13:02

23         Q.    So at the bottom of the page -- and this is        18:13:07

24     what we talked about earlier today, you said my team         18:13:10

25     imported the data.                                           18:13:11

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1                Do you see that?                                    18:13:12

2          A.    Yes.                                                18:13:12

3          Q.    And based on what you talked about with             18:13:14

4      Mr. Kim, Uber's lawyer, it was Mr. Pennecot that              18:13:18

5      imported the data into Zemax; right?                          18:13:21

6          A.    Yes.                                                18:13:22

7          Q.    And it was Mr. Pennecot that then determined        18:13:25

8      the resultant emitting points of the laser diodes;            18:13:29

 9     right?                                                        18:13:29

10         A.    Yes.                                                18:13:29

11         Q.    And it was Mr. Pennecot that then exported it       18:13:33

12     into CAD software; right?                                     18:13:36

13         A.    Yes, that's my understanding.                       18:13:38

14         Q.    And so Mr. Pennecot was the one who actually        18:13:42

15     came up with                                                  18:13:47

16     based on Mr. Boehmke's beam angles; isn't that right?         18:13:51

17         A.    No, I don't think so.                               18:13:52

18         Q.    So what Mr. Pennecot exported into CAD              18:13:56

19     software, that wasn't                                    ?    18:14:04

20         A.    So if we go back carefully to transcripts,          18:14:07

21     what I should point out is, since this declaration, I         18:14:11

22     have more detailed information of exactly how                 18:14:14

23     Mr. Pennecot did his import.      To be accurate, I want      18:14:19

24     to say that there's an error in here that he brought          18:14:25

25     the angles into CAD software, brought the lens design         18:14:31

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1      and field curvature shape from Zemax into CAD                    18:14:37

2      software.                                                        18:14:37

3                 Now you're asking did Mr. Pennecot in fact            18:14:40

4      design the

                            Mr. Pennecot was dependent on               18:14:50

6      somebody else to tell him how many boards the angles             18:14:53

7      had to be divided among, and then Mr. Pennecot set the           18:14:58

8      positions of the laser diodes onto those boards.                 18:15:02

9          Q.     Who told Mr. Pennecot to use                          18:15:05

10         A.     I told Mr. Pennecot to use                    in      18:15:09

11     the optical cavity.                                              18:15:10

12         Q.     Who told him to use                   in total?       18:15:13

13         A.     I don't think anybody told him to use

                in total.                                               18:15:18

15         Q.     Who told him to put

            ?                                                           18:15:22

17         A.     Mr. Pennecot understood the reason we were            18:15:31

18     going to                 , so I'll -- with that said, I'm        18:15:35

19     not aware that anybody had to tell him to

                                                                        18:15:41

21         Q.     You don't know where Mr. Pennecot

                   from?                                                18:15:45

23         A.     No, I know exactly where he got it from.              18:15:48

24         Q.     Where did he get it from?                             18:15:49

25         A.     The need to                                           18:15:52

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1      If you're asking do I know from whom, no. I would say 18:15:57

2      that he could derive that himself.                                18:15:59

3          Q.    Okay. So -- but just to be clear,                       18:16:04

4      Mr. Pennecot -- you told him

                                                in the SolidWorks        18:16:13

6      CAD software, and you told him 64 channels and he                 18:16:16

7      created                                        is that fair?      18:16:21

8          A.    I didn't necessarily tell him 64 channels.              18:16:24

 9     He got the list of angles that Scott Boehmke had                  18:16:28

10     generated.                                                        18:16:29

11         Q.    So he knew that there were 64 channels;                 18:16:31

12     right?                                                            18:16:31

13         A.    Without me telling him.                                 18:16:33

14         Q.    So the sequence of events was there was Scott 18:16:36

15     Boehmke provided beam angles for 64 channels?                     18:16:40

16         A.    Yes.                                                    18:16:40

17         Q.    That went to Mr. Pennecot. He imported that             18:16:45

18     data into Zemax. And after he outputted into CAD                  18:16:50

19     software, the result was a design with

                                                            is that      18:17:01

21     right?                                                            18:17:02

22         A.    Can you read that back.                                 18:17:04

23               (Record read by reporter as follows:                    18:17:04

24               "Question: He imported that data into Zemax. 18:17:04

25               And after he outputted into CAD software, the

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1                result was a design with

                                                                     is that

3                right?")                                                      18:17:04

4           THE WITNESS: That's not quite right but it                         18:17:26

5      skipped the step of




                                                                               18:17:40

10     BY MR. JAFFE:                                                           18:17:40

11          Q.   But your testimony is that that

                    was already in this spreadsheet from                       18:17:46

13     Mr. Boehmke; right?    So you didn't need to tell him                   18:17:50

14     that?                                                                   18:17:51

15          A.   The spreadsheet from Boehmke shows the number                 18:17:56

16     of        was settled on.    But did he have a subset of                18:18:01

17     that, did he look at the whole thing, or did we tell                    18:18:04

18     him first?   I don't recall the timing.                                 18:18:07

19               I believe we were having a                                    18:18:09

20     walking-back-and-forth-between-desks conversation                       18:18:11

21     about                     I went to Gaetan.             I said,         18:18:14

22     we're thinking of

                                                           ?    He             18:18:20

24     checked the Zemax.    It looked okay.       So at that point,           18:18:24

25     you could say he knew at that point that we were going                  18:18:27

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1      to have                .                                     18:18:28

2          Q.     Is Mr. Pennecot -- is he on your team?            18:18:31

3          A.     Yes.                                              18:18:31

4          Q.     So in terms of -- you didn't mention              18:18:36

5      Mr. Pennecot's involvement in this design in your            18:18:39

6      original declaration, did you?                               18:18:40

7          A.     No.                                               18:18:41

8          Q.     Did you mention his involvement in your           18:18:43

 9     supplemental declaration either?                             18:18:45

10                (Witness reviews document.)                       18:19:58

11         A.     I don't recall his name in here and I don't       18:20:00

12     see his name in here either.                                 18:20:01

13         Q.     Why did you --

14         MR. KIM: I think we've gone for well over an hour 18:20:05

15     now. I think we talked about taking a break after            18:20:08

16     that last line of questioning.                               18:20:10

17     Can we take a break?                                         18:20:11

18         MR. JAFFE: Sure.                                         18:20:12

19            THE VIDEOGRAPHER: We are off the record at 6:20       18:20:14

20     p.m.                                                         18:20:15

21                (Recess taken.)                                   18:20:15

22            THE VIDEOGRAPHER: We are back on the record at        18:41:06

23     6:41 p.m.                                                    18:41:09

24     BY MR. JAFFE:                                                18:41:09

25         Q.     When we took a break, I was about to ask you      18:41:13

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1      why you didn't mention Mr. Pennecot's involvement in         18:41:18

2      coming up with the                                           18:41:24

3      for Fuji.                                                    18:41:26

4          A.    Why his name is not in the declaration? It         18:41:35

5      wasn't in the original declaration written by legal.         18:41:42

6      It didn't pop out to me that we should add it. I             18:41:47

7      suppose there might be other people's names left out         18:41:50

8      along the way, I'm not sure. But when I reference my         18:41:53

 9     team, I guess that would also include him too.               18:41:57

10         Q.    Was it Uber's lawyers' decision or your            18:41:59

11     decision to refer to Mr. Pennecot's work as done by          18:42:03

12     the LiDAR team?                                              18:42:04

13         A.    I think that was my decision.                      18:42:09

14         Q.    So you changed it to omit Mr. Pennecot's           18:42:11

15     name?                                                        18:42:12

16         MR. KIM: Objection; form.                                18:42:14

17         THE WITNESS: No. I mean, can we refer to -- find 18:42:18

18     this. My thinking at the time was it involved more           18:42:20

19     than one person.                                             18:42:21

20     BY MR. JAFFE:                                                18:42:21

21         Q.    Whose decision was it to not mention Mr.           18:42:24

22     Pennecot? Yours or Uber's lawyers?                           18:42:29

23         A.    That's a funny worded question to decide to        18:42:37

24     not include something that didn't come to mind. I            18:42:41

25     wouldn't . . . I wouldn't characterize it that way.          18:42:44

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1          Q.    Right. But we talked about the work that Mr. 18:42:47

2      Pennecot did.                                                18:42:48

3          A.    Yes.                                               18:42:48

4          Q.    He did most of the work that's described in        18:42:51

5      that paragraph; right?                                       18:42:51

6          A.    Yes.                                               18:42:51

7          Q.    And so whose decision was it to omit his           18:42:56

8      name?                                                        18:42:56

 9         MR. KIM: Objection; form.                                18:43:00

10         THE WITNESS: I believe it was my recommended text 18:43:02

11     to refer to my team because I believe . . . let me           18:43:08

12     find this. Of all the steps in there, it involved            18:43:11

13     more than one person. It was -- just seemed right.           18:43:17

14     BY MR. JAFFE:                                                18:43:17

15         Q.    Who else did you omit from your declaration        18:43:21

16     that had primary involvement in the LiDAR work that          18:43:25

17     you described?                                               18:43:25

18         MR. KIM: Objection; form.                                18:43:35

19         THE WITNESS: Now, we have to go through the work         18:43:38

20     and I need to see if we left anyone out.                     18:43:42

21     BY MR. JAFFE:                                                18:43:42

22         Q.    Let me ask you -- we're short on time. Your        18:43:46

23     counsel said he's going to cut me off.

24               Is there anyone, sitting here today without        18:43:49

25     reading the whole declaration again, that you recall         18:43:51

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1      leaving out even though they had a primary involvement 18:43:55

2      in what's described in your declaration?                     18:43:57

3          MR. KIM: Objection; form.                                18:44:00

4          THE WITNESS: I'm not aware of anyone being               18:44:03

5      intentionally left out, but I'm also not aware of            18:44:07

6      -- without going through this, it doesn't strike me as 18:44:11

7      anybody else who you would say is omitted.                   18:44:14

8      BY MR. JAFFE:                                                18:44:14

 9         Q.    Just Mr. Pennecot?                                 18:44:16

10         A.    Well, you see now I've got to go back. When        18:44:21

11     you said specifically Mr. Pennecot, then I've got to         18:44:26

12     double check, does that include Will Treichler, does         18:44:29

13     that include Scott Boehmke in that reference, does it        18:44:33

14     include Florin Ignatescu?                                    18:44:34

15         Q.    Well, you mentioned Scott Boehmke; right?

16         A.    His name does come up here. He plays a             18:44:40

17     larger roles in sourcing the angles.                         18:44:43

18         Q.    Sitting here today, Mr. Pennecot is the only       18:44:45

19     one that you can recall that you left out of your            18:44:48

20     declaration by name?                                         18:44:50

21         MR. KIM: Objection; form.                                18:44:51

22         THE WITNESS: I though I just explained. I think          18:44:51

23     there's also the chance that my team left out Will           18:44:56

24     Treichler, Florin Ignatescu, Scott Boehmke.                  18:45:23

25         THE REPORTER: Left out? Could you slow down.

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1      Who is it? "I think there's also the chance that my

2      team left out" . . .

3          THE WITNESS:    Will Treichler, Florin Ignatescu,

4      Scott Boehmke, although I wouldn't necessarily                  18:45:25

5      consider him on my team in that regard.             He was      18:45:28

6      already mentioned as the source of those angles so              18:45:32

7      that doesn't necessarily apply in that paragraph.               18:45:35

8      BY MR. JAFFE:                                                   18:45:35

 9         Q.    So why don't we make this a little more               18:45:38

10     specific.   In terms of what's described in paragraph           18:45:41

11     18, is there anyone else you omitted by name other              18:45:46

12     than Mr. Pennecot that had substantial involvement in           18:45:50

13     what's described here?                                          18:45:52

14         MR. KIM:    Objection; form.                                18:46:06

15               (Witness reviews document.)                           18:46:06

16         THE WITNESS:    No, I think it's probably fair to           18:46:09

17     say in the line 25 and 26 and the following page for            18:46:14

18     the ending of paragraph 18, Mr. Pennecot was the                18:46:18

19     primary one who was not named.                                  18:46:21

20     BY MR. JAFFE:                                                   18:46:21

21         Q.    I want to go back to your supplemental                18:46:23

22     declaration, 152.                                               18:46:26

23         A.    All right.                                            18:46:27

24         Q.    And in particular page 10 the end of                  18:46:30

25     paragraph 15.   You mentioned that Figure 7A and 7B in          18:46:39

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1      your supplemental declaration, those came from               18:46:41

2      Mr. Pennecot as well?                                        18:46:43

3          A.    My understanding is those files came from          18:46:48

4      Mr. Pennecot, yes.                                           18:46:49

5          Q.    And who provided the label

6                                                                   18:46:56

7          A.    I believe that was annotated by Uber legal.        18:46:59

8          Q.    Do you know for a fact that that is an             18:47:01

 9                                                                  18:47:04

10         A.    When this was being prepared, I saw a drawing 18:47:14

11     that defined this FAC lens and I saw the formula             18:47:20

12     attributed to the curved surface. It was an                  18:47:25

13                                                                  18:47:28

14         Q.    So you do know based on personal knowledge         18:47:32

15     that what's described here is

16               is that right?                                     18:47:37

17         A.    I have good reason to believe so barring the       18:47:40

18     possibility that somehow this three-dimensional CAD          18:47:43

19     image came from some prior or different version but          18:47:46

20     that's unlikely.                                             18:47:48

21         Q.    There are multiple versions of Uber's FAC          18:47:51

22     lenses; right?                                               18:47:52

23         MR. KIM: Objection; form.                                18:47:53

24         THE WITNESS: I don't know that.                          18:47:54

25     BY MR. JAFFE:                                                18:47:54

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 1         Q.    Are you aware of any other versions of FAC            18:47:56

2      lenses that Mr. Pennecot designed?                              18:47:58

 3         A.   I'm not aware of any other design than the             18:48:00

4      one that went into production at the injection molding 18:48:07

 5     house.                                                          18:48:08

6          Q.    And that was based on                      project;   18:48:12

 7     right?                                                          18:48:12

 8         A.    I believe so.                                         18:48:13

 9         Q.    How do you know that what's described here in 18:48:16

10     7.A and 7.5 is actually what's in the Fuji?                     18:48:21

11         A.   I don't have the firsthand knowledge to know           18:48:28

12     for sure that that was the case.                                18:48:30

13         Q.    So sitting here today, you can't tell me              18:48:32

14     whether what's described here is actually what's used           18:48:36

15     in the Fuji or not?                                             18:48:38

16         MR. KIM: Objection; form.                                   18:48:38

17         THE WITNESS: I would say I don't have firsthand             18:48:40

18     knowledge to know that these two files came from the            18:48:44

19     version that was actually fabricated. But there are             18:48:48

20     features in here that I recognize and I've talked to            18:48:52

21     Gaetan about to know are still valid representations.           18:48:57

22     BY MR. JAFFE:                                                   18:48:57

23         Q.    Understood. Okay. So let me back up then.             18:49:01

24     It's fair to say that you don't know whether the                18:49:03

25     source files that were used to create Figure 7.A and            18:49:10

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1      7.B in your declaration correspond to what's currently 18:49:14

2      in Fuji; right?                                              18:49:15

3          MR. KIM: Objection; form.                                18:49:17

4          THE WITNESS: Correct. I don't know that the              18:49:19

5      versions of these files correspond to what was               18:49:21

6      actually built.                                              18:49:23

7          MR. JAFFE: I think we're at another exhibit here. 18:49:27

8      I think we're at 160.

 9         THE REPORTER: I think we're at 161.                      18:49:33

10         MR. JAFFE: I believe you.

11         MR. KIM: So you're introducing a new exhibit.            18:49:36

12         MR. JAFFE: Yes. I was raised by your redirect.           18:49:40

13               (Plaintiff's Exhibit 161 was marked.)              18:49:53

14     BY MR. JAFFE:                                                18:49:53

15         Q.    Is this the document that formed the basis         18:49:55

16     for what's in your declaration?                              18:49:57

17         A.    This looks like the document that was shown        18:50:04

18     to me when my declaration was being prepared. So I           18:50:10

19     have reasonable assumption that this imagine was             18:50:15

20     extracted into the declaration.                              18:50:17

21         Q.    And do you see where there's a diagram here        18:50:21

22     in the middle and then it says

23                                                                  18:50:25

24         A.    Yeah.                                              18:50:25

25         Q.    So this is a                                       18:50:29

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1      right?                                                       18:50:30

2          MR. KIM: Objection; form.                                18:50:31

3          THE WITNESS: Only it isn't.                              18:50:32

4      BY MR. JAFFE:                                                18:50:32

5          Q.    Oh, I see. So the document is wrong?               18:50:34

6          A.    Yeah.                                              18:50:34

7          Q.    Okay. And so when it says

8                here on the bottom, th t's also wr ng?             18:50:42

 9         A.    Yes.                                               18:50:42

10         Q.    So even though this document says                  18:50:46

11                                                                  18:50:50

12         A.    True.                                              18:50:51

13         Q.    And what is your basis for that belief?            18:50:53

14         A.    The formula below the lower citing of              18:50:57

15

16

17

18                                                                  18:51:21

19         Q.    Why is this labeled with

20                                                                  18:51:26

21         MR. KIM: Objection; form.                                18:51:27

22         THE WITNESS: I don't know why this was labeled           18:51:29

23

24                                                                  18:51:35

25     BY MR. JAFFE:                                                18:51:35

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1          Q.    Who labeled it                                         18:51:38

2          A.    I believe Gaetan labeled it                            18:51:40

3                                                                       18:51:41

4          Q.    Why did he do that?                                    18:51:42

5          MR. KIM:    Objection; form.                                 18:51:43

6          THE WITNESS:    I don't know.                                18:51:44

7      BY MR. JAFFE:                                                    18:51:44

8          Q.

 9                                                                      18:51:53

10         A.    I don't know if some version of it beforehand          18:51:55

11     had a cylindrical surface or not.                                18:51:59

12         Q.    Why didn't you mention in your declaration             18:52:01

13     that the diagram that formed the basis for you saying            18:52:06

14     that there's                                 actually said the   18:52:10

15     opposite?                                                        18:52:11

16         MR. KIM:    Objection; form.                                 18:52:14

17         THE WITNESS:    I don't know.       I didn't think that      18:52:16

18     was necessary.                                                   18:52:17

19     BY MR. JAFFE:                                                    18:52:17

20         Q.    Why didn't you attach the document that                18:52:21

21     formed the basis of these diagrams?                              18:52:26

22         A.    I don't know.    Didn't know that was                  18:52:28

23     necessary.                                                       18:52:28

24         Q.    Okay.   Would you dispute that at one time             18:52:36

25     Uber was -- and Otto were working on a FAC lens with a           18:52:42

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1                                                                   18:52:44

2          MR. KIM: Objection; form.                                18:52:46

3          THE WITNESS: I would want to ask the person who          18:52:49

4      did the work.                                                18:52:50

5      BY MR. JAFFE:                                                18:52:50

6          Q.    You would ask Mr. Pennecot?                        18:52:51

7          A.    I would ask Mr. Pennecot.                          18:52:53

8          Q.    Why didn't you mention in paragraph 15 here        18:52:55

 9     that you got this information from Mr. Pennecot?             18:52:59

10         A.    Because the paragraph is describing the            18:53:20

11     design of the Fuji sensor and does not make a                18:53:23

12     discussion of its origin or history.                         18:53:26

13         Q.    But it's discussing the FAC lens and its           18:53:28

14     properties right here at the end of paragraph 15;            18:53:31

15     isn't it?                                                    18:53:32

16         A.    Yeah.                                              18:53:32

17         Q.    And that's information that you got from           18:53:34

18     Mr. Pennecot; is that right?                                 18:53:36

19         A.    That was information that was sourced from         18:53:38

20     Mr. Pennecot.                                                18:53:39

21         Q.    So why didn't you mention that you got the         18:53:41

22     information from Mr. Pennecot?                               18:53:43

23         MR. KIM: Objection; form.                                18:53:44

24         THE WITNESS: The design is described in a file           18:53:47

25     that belongs to Uber.                                        18:53:51

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1      BY MR. JAFFE:                                                18:53:51

2          Q.    So what's described here in terms of the           18:53:53

3      properties -- as to the properties of the FAC lens,          18:53:59

4      that's not based on your personal knowledge, that's          18:54:02

5      based on representations from Mr. Pennecot                   18:54:03

6      communicated to you through Uber's lawyers; is that          18:54:06

7      right?                                                       18:54:07

8          MR. KIM: Objection; form. And to the extent it           18:54:11

 9     calls for privileged conversations that you may have         18:54:15

10     had with any Uber lawyers.                                   18:54:18

11         THE WITNESS: I would say the properties defined          18:54:24

12     in here were communicated to me through this document        18:54:27

13     that Mr. Pennecot created.                                   18:54:32

14     BY MR. JAFFE:                                                18:54:32

15         Q.    Right. But what I'm asking is what's               18:54:35

16     described here in your declaration, your basis for           18:54:39

17     saying that is based on information communicated to          18:54:45

18     you from Mr. Pennecot through Uber's lawyers not based 18:54:49

19     on your personal knowledge?                                  18:54:50

20         MR. KIM: Objection; form. And again to the               18:54:52

21     extent that it calls for privileged communications           18:54:55

22     from Uber lawyers.                                           18:54:58

23         THE WITNESS: Some of the information in paragraph 18:55:01

24     15 I know, from talking with Gaetan specifically             18:55:05

25     directly, some I know just from firsthand knowledge.         18:55:10

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1      Specifically the same -- this is a true and accurate               18:55:17

2      Zemax simulation of the beam regarding Figure . . .                18:55:24

3      albeit with now what I'm now seeing as a numbering                 18:55:31

4      error, was transmitted to me through Uber's lawyers.               18:55:40

5      BY MR. JAFFE:                                                      18:55:40

6            Q.   What facts in paragraph 15 are you relying on           18:55:45

7      information from Mr. Pennecot?                                     18:55:47

8                 (Witness reviews document.)                             18:56:21

 9           A.   I had a discussion with him to make sure it             18:56:24

10     was                                                                18:56:26

11           Q.   What did he tell you?                                   18:56:27

12           A.   He told me that it was.                                 18:56:30

13           THE REPORTER:    Excuse me.                          ?       18:56:30

14           THE WITNESS:    I had a discussion with Gaetan to            18:56:40

15     establish that it was                                              18:56:43

16           MR. JAFFE:   One word.                                       18:56:45

17           THE REPORTER:    Thank you.    Just making sure.             18:56:45

18           THE WITNESS:    He told me that it was.        I asked him   18:56:54

19     about the formula and the term                                     18:57:01

20     He told me that was a mistake.                                     18:57:03

21     BY MR. JAFFE:                                                      18:57:03

22           Q.   Did you discuss anything else?                          18:57:06

23           A.   I asked him about the formula that has the              18:57:12

24

25                                                                        18:57:23

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1                                                                   18:57:26

2                                                                   18:57:30

3                                                                   18:57:35

4                                                                   18:57:39

5          Q.    Anything else?                                     18:57:42

6          A.    No.                                                18:57:42

7          Q.    You didn't mention the basis -- you didn't         18:57:47

8      mention that you were relying on Mr. Pennecot in             18:57:50

 9     paragraph 15, did you?                                       18:57:52

10         A.    No, I don't think I mentioned that.                18:58:00

11         Q.    You leave him out again?                           18:58:02

12         MR. KIM: Objection; form.                                18:58:05

13         THE WITNESS: I did not add his name to the               18:58:07

14     paragraph.                                                   18:58:08

15     BY MR. JAFFE:                                                18:58:08

16         Q.    Okay. We mentioned -- we talked about before 18:58:28

17     vertical spacing.                                            18:58:33

18               Do you remember that?                              18:58:35

19         A.    Yes.                                               18:58:35

20         Q.    And you testified that you had a number of         18:58:41

21     different understandings of what vertical spacing was; 18:58:45

22     is that right?                                               18:58:45

23         A.    I discussed that there were two possible           18:58:49

24     interpretations of the word. And I think in our              18:58:52

25     discussion together, you and I, that I was asking for        18:58:55

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1      some clarification and mentioning the difference. But 18:58:58

2      then you were clarifying as well that in the terms D,Y 18:59:02

3      we were talking about a vertical spacing that was            18:59:04

4      linear.                                                      18:59:05

5          Q.    Right. So the delta of the Y axis; right?          18:59:10

6          A. Right.

7          Q.    You've heard vertical spacing referred to          18:59:12

8      refer to the delta of the Y axis; right?                     18:59:16

 9         MR. KIM: Objection; form.                                18:59:17

10         THE WITNESS: Here. I've heard of it here. I              18:59:19

11     don't think I remember having that reference --              18:59:20

12     hearing that reference before our deposition today.          18:59:25

13     BY MR. JAFFE:                                                18:59:25

14         Q.    But calculating the Y delta between laser          18:59:30

15     diodes, that's something that you're familiar with;          18:59:35

16     right?                                                       18:59:36

17         MR. KIM: Objection; form.                                18:59:37

18         THE WITNESS: It was a simple calculation.                18:59:40

19     BY MR. JAFFE:                                                18:59:40

20         Q.    So let's look at Exhibit 160.                      18:59:43

21         A.    Yes.                                               18:59:44

22         Q.    Just to orient ourselves. When is the first        18:59:47

23     time you saw this slide?                                     18:59:49

24         A.    I don't recall if I've seen this before            18:59:58

25     today.                                                       18:59:59

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1          Q.    Did you see this slide before Uber's lawyers       19:00:03

2      started asking you about it today?                           19:00:06

3          A.    I don't recall if I've seen it before Uber's       19:00:11

4      asked me about it today.                                     19:00:13

5          Q.    You're not sure, though?                           19:00:15

6          A.    It's possible I saw it during prep last            19:00:23

7      night.                                                       19:00:23

8          Q.    I see. So it's possible that you saw this          19:00:27

 9     document last night; you're not sure?                        19:00:32

10         A.    Yeah, I'm not sure.                                19:00:33

11         Q.    Did Uber's lawyer tell you that he was going       19:00:38

12     to ask you questions about this document last night?         19:00:42

13         MR. KIM: You can answer that yes or no. Caution          19:00:53

14     you not to reveal any privileged communications.             19:00:57

15         THE WITNESS: I don't recall if he told me he was         19:01:03

16     going to ask me about these last night or not.               19:01:08

17     BY MR. JAFFE:                                                19:01:08

18         Q.    And did you have an understanding when Uber's 19:01:14

19     lawyers mentioned that they were going to do redirect        19:01:17

20     on a break today that he was going to be asking you          19:01:19

21     about what's in Exhibit 1060?                                19:01:22

22         A.    No.                                                19:01:22

23         Q.    You didn't have any understanding?                 19:01:25

24         A.    No.                                                19:01:25

25         Q.    Did you prepare Exhibit 1060?                      19:01:30

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1          A.    No.                                                19:01:31

2          Q.    And you weren't involved in coming up with         19:01:37

3      these angles or the deltas in here; right?                   19:01:39

4          A.    No.                                                19:01:42

5          Q.    And as you found when you were checking them, 19:01:44

6      it's not accurate for two of the three boards; right?        19:01:47

7          MR. KIM: Objection; form.                                19:01:49

8          THE WITNESS: Right.                                      19:01:52

 9         THE REPORTER: Is that a "right"?                         19:01:55

10         THE WITNESS: Right.                                      19:01:57

11     BY MR. JAFFE:                                                19:01:57

12         Q.    Do you know where the source data came from        19:01:59

13     for this board -- or for Exhibit 1060?                       19:02:03

14         A.    I believe in the redirect, I checked these         19:02:11

15     angles against the angles in the other exhibit.              19:02:17

16         Q.    So my question is a little bit different           19:02:20

17     which is, do you know where the data came from in            19:02:22

18     Exhibit 1060?                                                19:02:24

19         MR. KIM: Objection; form.                                19:02:26

20         THE WITNESS: I don't have firsthand knowledge of         19:02:28

21     where they came from other than to say I don't know          19:02:31

22     where else it could have come from.                          19:02:33

23     BY MR. JAFFE:                                                19:02:33

24         Q.    But you said they weren't accurate?                19:02:36

25         MR. KIM: Objection; form.                                19:02:37

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1          THE WITNESS:    I clarified these numbers have been          19:02:38

2      rounded to two decimal places.

3      BY MR. JAFFE:                                                    19:02:38

4          Q.    And then one of them has a sign problem too?           19:02:43

5          A.    Right.                                                 19:02:43

6          Q.    So these weren't carried one to one from any           19:02:47

7      sort of source document; right?                                  19:02:50

8          MR. KIM:    Objection; form.                                 19:02:54

 9         THE WITNESS:   Doesn't seem to.                              19:02:55

10     BY MR. JAFFE:                                                    19:02:55

11         Q.    Let me just state it another way.                      19:02:57

12               Exhibit 1060 does not accurately reflect the           19:03:01

13     diode placement on the Fuji design Board             ;           19:03:05

14     right?                                                           19:03:06

15         MR. KIM:    Objection; form.                                 19:03:12

16         THE WITNESS:    Exhibit 1060 does not accurately             19:03:14

17     represent the angle of the diodes on Board          because      19:03:18

18     of the sign error or inconsistency with the other two            19:03:23

19     boards.   Boards          have been rounded down to two          19:03:28

20     decimal places.    And now we're just haggling over how          19:03:33

21     to accurate is accurate.                                         19:03:34

22     BY MR. JAFFE:                                                    19:03:34

23         Q.    Well, I'm just asking for your opinion.                19:03:37

24               In your opinion, is Exhibit 1060 accurate or           19:03:41

25     not, yes or no?                                                  19:03:43

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1          A.    In my opinion, the inconsistency in the angle 19:03:50

2      makes it somewhat inaccurate. But the deviations in          19:03:55

3      the second decimal place being off by one digit              19:03:59

4      doesn't cause me concern.                                    19:04:01

5          Q.    It doesn't you cause you concern, but it's         19:04:03

6      not accurate?                                                19:04:04

7          MR. KIM: Objection; form.                                19:04:12

8          THE WITNESS: I don't know that it's not accurate         19:04:19

 9     based on the second decimal place being off by one           19:04:23

10     digit. Because if you operate this in a spreadsheet,         19:04:26

11     these numbers might actually be more accurate than           19:04:29

12     simply subtracting the rounded numbers.                      19:04:32

13     BY MR. JAFFE:                                                19:04:32

14         Q.    But you don't know where the data came from        19:04:35

15     that actually generated this? They could actually be         19:04:38

16     inaccurate numbers in wherever this data came from;          19:04:41

17     right?                                                       19:04:42

18         MR. KIM: Objection; form.                                19:04:43

19         THE WITNESS: I don't believe that's the case.            19:04:45

20     BY MR. JAFFE:                                                19:04:45

21         Q.    But you don't know that's the case?                19:04:47

22         A.    Did I not -- I believe I did, compare these        19:04:52

23     angles to the angles in -- what is it, 155? Since            19:04:58

24     we're using exhibits. Where is this damn document?           19:05:04

25               So I've got Exhibit 155 here. I don't know         19:05:12

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1      from firsthand where this came from or that it's             19:05:16

2      actually the right numbers used on the Fuji other than 19:05:19

3      to establish some level of trust with document               19:05:23

4      production and collection and labeling as exhibits.          19:05:28

5      If these numbers are good and they compare within a          19:05:32

6      single digit on the second decimal place, I have to          19:05:37

7      believe there's few other places that it could have          19:05:40

8      come from.                                                   19:05:41

 9         Q.     You're assuming that it came from Exhibit         19:05:43

10     155?                                                         19:05:44

11         A.     I'm assuming it came from Exhibit 155.            19:05:47

12         Q.     But you have no personal knowledge on where       19:05:51

13     the numbers in Exhibit 160 [sic] came from?                  19:05:57

14         MR. KIM: Objection; form.                                19:05:58

15            THE WITNESS: I don't like the way you're painting 19:06:00

16     this.                                                        19:06:00

17                If the numbers match, it's quite logical          19:06:03

18     to assume that they are accurately representing              19:06:06

19     the numbers in 155; but no, I don't have firsthand           19:06:10

20     knowledge of how the data was entered into this              19:06:13

21     document.                                                    19:06:14

22     BY MR. JAFFE:                                                19:06:14

23         Q.     But the numbers don't match; right?               19:06:17

24         MR. KIM: Objection; form.                                19:06:18

25            THE WITNESS: You say the numbers don't match, but 19:06:26

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  the magnitudes do match.                                        19:06:28

  BY MR. JAFFE:                                                   19:06:28

      Q.     Right. But the delta, for example in column          19:06:30

 Illirou found three differences in the delta in the              19:06:33

  column from what's in Exhibit'. right?                          19:06:34

      A.     Yes.                                                 19:06:34

      Q.     And for -- sorry. Not Exhibit"' PCBM                 19:06:40

             And for PCB. they're all wrong b cause of            19:06:45

  the sign conversion; right?                                     19:06:47

      A.     It's casting a greater degree of uncertainty         19:06:56

  in this than I believe there really is. First off, I            19:06:59

  probably need to clarify.                have sign changes      19:07:05

  relative to this doc. We've already established this            19:07:09

  document has a sign change relative to what's actually 19:07:12

  on the board and that's understood.

                                                        Does      19:07:20

  that make it inaccurate? I don't personally believe             19:07:24

  it does.                                                        19:07:26

      Q.     Well, this doesn't reflect what is actually          19:07:28

  in the Fuji device; right? That's what I'm trying to            19:07:33

  get at here.                                                    19:07:34

      MR. KIM: Objection; form.                                   19:07:46

      THE WITNESS: I would have to know why the sign              19;07:51

  change was applied to                                  If       19:07:56

  there's a discrepancy, then yeah, then I can say that           19:07:58

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1      as a whole taken with no prior knowledge that this            19:08:02

2      document does not completely represent accurately what        19:08:06

3      goes into Boards                  together as a whole.        19:08:09

4      BY MR. JAFFE:                                                 19:08:09

5          Q.    Let me ask the question again.                      19:08:11

6                Sitting here today, you cannot -- sitting           19:08:14

7      here today, Exhibit 1060 does not accurately represent        19:08:18

8      what is in Fuji?   Yes or no.                                 19:08:20

 9         MR. KIM:    Objection; form.                              19:08:26

10         THE WITNESS:   Yes, but only in the strictest             19:08:29

11     meaning of accuracy.                                          19:08:33

12     BY MR. JAFFE:                                                 19:08:33

13         Q.    What does that mean?                                19:08:35

14         A.    That means the magnitudes in here match but         19:08:41

15     the sign change has not been consistently applied.       If   19:08:45

16     I had to use this data and no other data to build a           19:08:49

17     Fuji, then I would have a problem in the strict sense.        19:08:53

18         Q.    I see.   Okay.                                      19:08:54

19               So Exhibit 1060 has some inaccuracies and           19:09:00

20     problems, but it's generally accurate; is that right?         19:09:05

21         A.    I'm more comfortable saying that, yes.              19:09:07

22         Q.    So you couldn't build Fuji looking at Exhibit       19:09:10

23     1060; right?    Using this data?                              19:09:12

24         A.    Right.                                              19:09:12

25         Q.    And it wouldn't be fair to try and build a          19:09:16

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1      Fuji using just this data; right?                            19:09:18

2          MR. KIM: Objection; form.                                19:09:20

3          THE WITNESS: It would not render a correct Fuji          19:09:24

4      based on this data only by itself.                           19:09:27

5      BY MR. JAFFE:                                                19:09:27

6          Q.    Now, I want to go back to paragraph 19 of          19:09:34

7      your declaration, your original declaration, the             19:09:40

8      sentence about Mr. Levandowski.                              19:09:42

 9         A.    Okay.                                              19:09:53

10         Q.    We talked about this before and you testified 19:09:56

11     that you did no investigation to confirm the sentence        19:10:01

12     in paragraph -- the first sentence in paragraph 19;          19:10:04

13     right?                                                       19:10:04

14         A.    Right.                                             19:10:04

15         Q.    And I just want to make sure that it's clear. 19:10:09

16               When you said you did no investigation, did        19:10:11

17     you do anything to confirm this statement before you         19:10:14

18     signed your declaration?                                     19:10:16

19         MR. KIM: Objection; form.                                19:10:21

20         THE WITNESS: I refer to my recollection of how           19:10:23

21     the Fuji was developed, remembered no evidence of            19:10:28

22     Anthony coming in and controlling or designing those         19:10:31

23     aspects of the Fuji.                                         19:10:33

24     BY MR. JAFFE:                                                19:10:33

25         Q.    Did you talk to anyone to confirm this             19:10:35

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1      statement?                                                   19:10:36

2          A.    No.                                                19:10:38

3          Q.    Did you look at any documents to confirm this 19:10:41

4      statement?                                                   19:10:41

5          A.    No.                                                19:10:44

6          Q.    Did you talk to anyone else on the LiDAR           19:10:46

7      team?                                                        19:10:47

8          A.    No.                                                19:10:50

 9         Q.    Okay. Other than consulting your memory, did 19:10:58

10     you do anything to confirm the first sentence of             19:11:00

11     paragraph 19 of your original declaration?                   19:11:02

12         A.    No, not that I recall.                             19:11:12

13         Q.    Okay. Let's --                                     19:11:13

14         MR. KIM: So we've gone 30 minutes on the record.         19:11:18

15               We're going to conclude this deposition            19:11:23

16     as we discussed at the break on the grounds that             19:11:27

17     we've given you more time than we took on                    19:11:32

18     redirect, and he's now gone close to seven hours             19:11:35

19     on the record.                                               19:11:36

20         MR. JAFFE: I understand your position.                   19:11:39

21         THE VIDEOGRAPHER: This is the end of today's             19:11:44

22     deposition of Mr. James Haslim.                              19:11:46

23               We are off the record at 7:11 p.m.                 19:11:50

24               The total number of media used was six and it 19:11:53

25     will be retained by Veritext. Thank you.                     19:11:56

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1                  (whereupon, the deposition was concluded at
2                  7:11 p.m.)
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8                                                   JAMES HASLIM
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